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No.    Bates Number      Date         Time       Author/Sent                          Recipient(s)                         CC                                  BCC                                 Place    Mode of         Subjects Discussed
       (as applicable)                                                                                                                                                                                      Communication

1      UBER00076756      5/20/2015    3:47 AM    Google Calendar [calendar-           Jeff Holden                                                                                                           Calendar File   Accepted calendar invitation for 5/20/2015 call
                                                 notification@google.com]                                                                                                                                                   with Anthony Levandowski from 6:30-7:00pm.


2      UBER00076758      5/20/2015    3:47 AM    SF 4th-Toronto (5)                   Jeff Holden                          SF 4th-Toronto (5)                                                               Calendar File   Calendar invitation for 5/20/2015 call with
                                                 [uber.com_3634333636383031353730@                                         [uber.com_3634333636383031353730                                                                 Anthony Levandowski from 6:30-7:00pm.
                                                 resource.calendar.google.com]                                             @resource.calendar.google.com]

3      UBER00076759      5/20/2015    3:47 AM    Google Calendar [calendar-           Jeff Holden; Anthony Levandowski                                                                                      Calendar File   Calendar invitation for 5/20/2015 call with
                                                 notification@google.com]                                                                                                                                                   Anthony Levandowski from 6:30-7:00pm.
4      UBER00076761      5/20/2015    3:47 AM    Jeff Holden                          Jeff Holden; Anthony Levandowski     SF 4th-Toronto (5)                                                               Calendar File   Calendar invitation for 5/20/2015 call with
                                                                                                                           [uber.com_3634333636383031353730                                                                 Anthony Levandowski from 6:30-7:00pm.
                                                                                                                           @resource.calendar.google.com]
5      UBER00076762      5/20/2015    5:04 AM    Google Calendar [calendar-           Jeff Holden                                                                                                           Calendar File   Accepted calendar invitation for 5/20/2015 call
                                                 notification@google.com]                                                                                                                                                   with Anthony Levandowski from 6:30-7:00pm.
6      UBER00076764      5/20/2015    5:04 AM    Anthony Levandowski                  Jeff Holden; Anthony Levandowski                                                                                      Calendar File   Calendar invitation for 5/20/2015 call with
                                                                                                                                                                                                                            Anthony Levandowski from 6:30-7:00pm.
7                        9/23/2015                                                    Jeff Holden                                                                                                           Meeting         Scheduled 9/23/2015 meeting with Anthony
                                                                                                                                                                                                                            Levandowski.
8      UBER00076743      10/3/2015    8:55 PM    Google Calendar [calendar-           Cameron Poetzscher                                                                                                    Calendar File   Accepted calendar invitation for 10/6/2015
                                                 notification@google.com]                                                                                                                                                   meeting with Anthony Levandowski from
                                                                                                                                                                                                                            11:00am-12:00pm.
9      UBER00076744      10/3/2015    8:55 PM    Nina Qi                              Cameron Poetzscher; Nina Qi                                                                                           Calendar File   Calendar invitation for 10/6/2015 meeting with
                                                                                                                                                                                                                            Anthony Levandowski from 11:00am-12:00pm.
10     UBER00076754      10/5/2015    5:15 PM    Google Calendar [calendar-           Cameron Poetzscher                                                                                                    Calendar File   Accepted calendar invitation for 10/6/2015
                                                 notification@google.com]                                                                                                                                                   meeting with Anthony Levandowski from
                                                                                                                                                                                                                            11:00am-12:00pm.

11     UBER00076755      10/5/2015    5:15 PM    SF 4th-Boston (10)                   Cameron Poetzscher                   SF 4th-Boston (10)                                                               Calendar File   Calendar invitation for 10/6/2015 meeting with
                                                 [uber.com_2d31353631343031373531@                                         [uber.com_2d31353631343031373531                                                                 Anthony Levandowski from 11:00am-12:00pm.
                                                 resource.calendar.google.com]                                             @resource.calendar.google.com]

12     UBER00076750      10/5/2015    5:17 PM    Google Calendar [calendar-           Cameron Poetzscher                                                                                                    Calendar File   Declined calendar invitation for 10/6/2015
                                                 notification@google.com]                                                                                                                                                   meeting with Anthony Levandowski from
                                                                                                                                                                                                                            11:00am-12:00pm.
13     UBER00076751      10/5/2015    5:17 PM    Linh Le                              Cameron Poetzscher; Linh Le                                                                                           Calendar File   Calendar invitation for 10/6/2015 meeting with
                                                                                                                                                                                                                            Anthony Levandowski from 11:00am-12:00pm.


14     UBER00076749      10/6/2015    9:34 PM    Google Calendar [calendar-           Cameron Poetzscher                                                                                                    Calendar File   Calendar invitation discussing 10/6/2015 call
                                                 notification@google.com]                                                                                                                                                   with Anthony Levandowski.
15     UBER00068878      10/12/2015   10:49 PM   Google Calendar [calendar-           Brian McClendon                                                                                                       Calendar File   Calendar invitation for 10/12/2015 meeting at
                                                 notification@google.com]                                                                                                                                                   4:00-4:30pm following 10/12/2015 call between
                                                                                                                                                                                                                            Cameron Poetzscher and Anthony Levandowski
                                                                                                                                                                                                                            regarding potential deal for purchase of lasers.


16     UBER00076745      10/13/2015   1:17 AM    Google Calendar [calendar-           Cameron Poetzscher                                                                                                    Calendar File   Accepted calendar invitation for 10/27/2015
                                                 notification@google.com]                                                                                                                                                   phone call with Anthony Levandowski at 2:30-
                                                                                                                                                                                                                            3:00pm.
17     UBER00076746      10/13/2015   1:17 AM    Nina Qi                              Cameron Poetzscher; Nina Qi                                                                                           Calendar File   Calendar invitation for 10/27/2015 phone call
                                                                                                                                                                                                                            with Anthony Levandowski at 2:30-3:00pm.

18     UBER00076747      10/13/2015   5:06 PM    Google Calendar [calendar-           Cameron Poetzscher                                                                                                    Calendar File   Accepted calendar invitation for 10/13/2015
                                                 notification@google.com]                                                                                                                                                   phone call with Anthony Levandowski at 2:30-
                                                                                                                                                                                                                            3:00pm.
19     UBER00076748      10/13/2015   5:06 PM    Nina Qi                              Cameron Poetzscher; Nina Qi                                                                                           Calendar File   Accepted calendar invitation for 10/13/2015
                                                                                                                                                                                                                            phone call with Anthony Levandowski at 2:30-
                                                                                                                                                                                                                            3:00pm.
20     UBER00076752      11/6/2015    10:16 PM   Google Calendar [calendar-           Cameron Poetzscher                                                                                                    Calendar File   Accepted calendar invitation for 11/9/2015 call
                                                 notification@google.com]                                                                                                                                                   with Anthony Levandowski and Lior Ron from
                                                                                                                                                                                                                            11:00am-11:30am.

21     UBER00076753      11/6/2015    10:16 PM   Nina Qi                              Cameron Poetzscher; Nina Qi                                                                                           Calendar File   Calendar invitation for 11/9/2015 call with
                                                                                                                                                                                                                            Anthony Levandowski and Lior Ron from
                                                                                                                                                                                                                            11:00am-11:30am.




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      (as applicable)                                                                                                                                                                                                    Communication

22    UBER00086697      11/16/2015              Google Calendar [calendar-            Brian McClendon                                                                                              San Francisco         Calendar File   Calendar invitation for 11/16/2015 in-person
                                                notification@google.com]                                                                                                                                                                 meeting with Nina Qi and Cameron Poetzscher
                                                                                                                                                                                                                                         regarding LiDAR supplier deal at 3:00-4:00pm.


23    RON0000082        11/21/2015   10 53 AM   Anthony Levandowski                   Lior Ron; Anthony Levandowski                                                                                                      Text Messages   Text messages with Anthony Levandowski
      RON0000083                                                                                                                                                                                                                         regarding LiDAR news article.



24    UBER00068858      12/3/2015    12:50 AM   Google Calendar [calendar-            Brian McClendon                                                                                                                    Calendar File   Calendar invitation for 12/2/2015 in-person
                                                notification@google.com]                                                                                                                                                                 meeting regarding potential purchase of lasers
                                                                                                                                                                                                                                         and consulting services with Anthony
                                                                                                                                                                                                                                         Levandowski from 5:00-5:30pm.
25    UBER00086696      12/4/2015               Google Calendar [calendar-            Brian McClendon                                                                                              San Francisco         Calendar File   Calendar invitation for 12/4/2015 in-person
                                                notification@google.com]                                                                                                                                                                 meeting with Nina Qi and Cameron Poetzscher
                                                                                                                                                                                                                                         regarding LiDAR supplier deal at 3:00-4:00pm.


26    UBER00068899      12/7/2015    11:49 PM   Google Calendar [calendar-            Brian McClendon; Nina Qi                                                                                                           Calendar File   Calendar invitation to hold time for 12/11/15
                                                notification@google.com]                                                                                                                                                                 meeting with Anthony Levandowski and Lior Ron
                                                                                                                                                                                                                                         from 9:00-10:00pm.
27    UBER00068900      12/7/2015    11:49 PM   Cameron Poetzscher                    Brian McClendon; Nina Qi; Cameron                                                                                                  Calendar File   Calendar invitation to hold time for 12/11/15
                                                                                      Poetzscher                                                                                                                                         meeting with Anthony Levandowski and Lior Ron
                                                                                                                                                                                                                                         from 9:00-10:00pm.
28    UBER00076739      12/7/2015    11:59 PM   Google Calendar [calendar-            Cameron Poetzscher                                                                                                                 Calendar File   Accepted calendar invitation to hold time for
                                                notification@google.com]                                                                                                                                                                 12/11/15 meeting with Anthony Levandowski
                                                                                                                                                                                                                                         and Lior Ron from 1:00-2:00pm.
29    UBER00076740      12/7/2015    11:59 PM   Nina Qi                               Cameron Poetzscher                                                                                                                 Calendar File   Calendar invitation to hold time for 12/11/15
                                                                                                                                                                                                                                         meeting with Anthony Levandowski and Lior Ron
                                                                                                                                                                                                                                         from 1:00-2:00pm.

30    UBER00076741      12/8/2015    6:24 PM    Google Calendar [calendar-            Cameron Poetzscher                                                                                                                 Calendar File   Declined calendar invitation to hold time for
                                                notification@google.com]                                                                                                                                                                 12/11/15 meeting with Anthony Levandowski
                                                                                                                                                                                                                                         and Lior Ron from 1:00-2:00pm.

31    UBER00076742      12/8/2015    6:24 PM    Emil Michael                          Cameron Poetzscher; Emil Michael                                                                                                   Calendar File   Calendar invitation to hold time for 12/11/15
                                                                                                                                                                                                                                         meeting with Anthony Levandowski and Lior Ron
                                                                                                                                                                                                                                         from 1:00-2:00pm.
32    UBER00068851      12/11/2015   8:50 PM    Google Calendar [calendar-            Brian McClendon                                                                                              1455 Market Street,   Calendar File   Calendar invitation for 12/11/2015 meeting
                                                notification@google.com]                                                                                                                           San Francisco                         regarding potential purchase of lasers with
                                                                                                                                                                                                                                         Anthony Levandowksi and Lior Ron from 1:00-
                                                                                                                                                                                                                                         2:00pm.
33    RON0000248        12/20/2015   12 12 AM   Anthony Levandowski                   Lior Ron; Anthony Levandowski                                                                                                      Text Messages   Text messages with Anthony Levandowski
      RON0000249                                                                                                                                                                                                                         regarding LiDAR journal article.
      RON0000250
      RON0000254
      RON0000255
34    UBER00068835      12/20/2015   5:46 AM    Jeff Holden                           Brian McClendon                          Cameron Poetzscher                                                                        E-Mail          Email regarding scheduled 12/20/2015 meeting
                                                                                                                                                                                                                                         with Anthony Levandowksi and Travis Kalanick.

35    UBER00068834      12/21/2015   9:16 PM    Brian McClendon                       Mayrose Munar; Jeff Holden; Cameron                                                                                                E-Mail          Email discussion regarding 12/22/2015 meeting
                                                                                      Poetzscher; Emily Maher                                                                                                                            with Travis Kalanick regarding Anthony
                                                                                                                                                                                                                                         Levandowski and company.
36    UBER00068827      1/4/2016     7:20 PM    Brian McClendon                       Jeff Holden                                                                                                                        E-Mail          Email discussion regarding invitation to
                                                                                                                                                                                                                                         Cameron Poetzscher for 1/4/2016 meeting with
                                                                                                                                                                                                                                         Anthony Levandowksi from 5:00-6:30pm.
37    UBER00060662      1/5/2016     1:31 AM    Google Calendar [calendar-            Travis Kalanick; Brian McClendon; Jeff   Travis Kalanick; Jeff Holden; Brian                                 1455 Market Street,   Calendar File   Calendar invitation for 1/4/2016 meeting with
                                                notification@google.com]              Holden; Cameron Poetzscher; Michele      McClendon; Cameron Poetzscher                                       San Francisco                         Anthony Levandowksi from 5:00-6:30pm.
                                                                                      Wiecha
38    UBER00069077      1/5/2016     7:19 PM    Google Calendar [calendar-            Brian McClendon; Travis Kalanick                                                                             1455 Market Street,   Calendar File   Calendar invitation for 1/5/2016 meeting with
                                                notification@google.com]                                                                                                                           San Francisco                         Anthony Levandowski from 1:00-2:30am.
39    UBER00069078      1/5/2016     7:19 PM    Jeff Holden                           Brian McClendon; Travis Kalanick                                                                             1455 Market Street,   Calendar File   Calendar invitation for 1/5/2016 meeting with
                                                                                                                                                                                                   San Francisco                         Anthony Levandowski from 1:00-2:30am.




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      (as applicable)                                                                                                                                                                                                 Communication

40    UBER00074986      1/5/2016    10:09 PM   Cameron Poetzscher                  Jeff Holden; Anthony Levandowski         Brian McClendon; Michele Wiecha;                                                          E-Mail            Email regarding LiDAR goals and milestones.
                                                                                                                            Nina Qi
41    UBER00074988      1/5/2016    10:04 PM   Jeff Holden                         Anthony Levandowski                      Cameron Poetzscher; Brian                                                                 E-Mail            Email regarding LiDAR goals and milestones,
                                                                                                                            McClendon; Michele Wiecha                                                                                   and referencing 1/4/2016 in-person meeting
                                                                                                                                                                                                                                        between Jeff Holden and.Anthony Levandowski.

42    UBER00075078      1/5/2016    10:52 PM   Jeff Holden                         Cameron Poetzscher                       Anthony Levandowski;Brian                                                                 E-Mail            Email regarding LiDAR goals and milestones.
                                                                                                                            McClendon; Michele Wiecha; Nina Qi
43    UBER00075082      1/5/2016    10:04 PM   Jeff Holden                         Anthony Levandowski                      Cameron Poetzscher; Brian                                                                 E-Mail            Email regarding LiDAR goals and milestones.
                                                                                                                            McClendon; Michele Wiecha
44    UBER00060320      1/8/2016    7:45 PM    John Bares                                                                                                                                                             Spreadsheet       Email regarding use of other sensors in rabbit
                                                                                                                                                                                                                                        ears concept.
45                      1/12/2016              Anthony Levandowski                 John Bares                                                                                                                         Phone Call        Phone call regarding LiDAR milestones for mid-
                                                                                                                                                                                                                                        range and long-range LiDAR systems. Based
                                                                                                                                                                                                                                        on independent recollection from John Bares,
                                                                                                                                                                                                                                        phone call could have started at 5:00, 6:00, or
                                                                                                                                                                                                                                        7:00pm.
46    UBER00060329      1/12/2016              John Bares                                                                                                                                                             Meeting (notes)   Notes from 1/12/2016 phone call with Anthony
                                                                                                                                                                                                                                        Levandowski.
47    UBER00060650      1/13/2016   7:02 AM    Cameron Poetzscher                  Emil Michael; Jeff Holden; Brian                                                                                                   E-Mail            Email regarding 1/13/2016 meeting and
                                                                                   McClendon; Nina Qi; Travis Kalanick                                                                                                                  scheduled meetings during 1/14/2016-1/17/2016
                                                                                                                                                                                                                                        with Anthony Levandowski. Meetings with
                                                                                                                                                                                                                                        Anthony Levandowski during 1/13/2016-
                                                                                                                                                                                                                                        1/17/2016 period supported by independent
                                                                                                                                                                                                                                        recollection from John Bares.
48    UBER00060649      1/14/2016   12:36 AM   Cameron Poetzscher                  Travis Kalanick; Emil Michael; Jeff                                                                                                E-Mail            Email regarding meeting with Anthony
                                                                                   Holden; Brian McClendon; Nina Qi                                                                                                                     Levandowski to discuss milestones for lasers
                                                                                                                                                                                                                                        and data.
49    UBER00068746      1/15/2016   5:15 PM    Cameron Poetzscher                  Nina Qi; John Bares; Brian McClendon                                                                                               E-Mail            Email regarding 1/15/2016 call between Nina Qi
                                                                                                                                                                                                                                        and Anthony Levandowski.
50    UBER00068745      1/16/2016   12:01 AM   Google Calendar [calendar-          Brian McClendon                                                                                                                    Calendar File     Calendar invitation for 1/15/2016 meeting with
                                               notification@google.com]                                                                                                                                                                 Anthony Levandowski from 4:30-5:30pm.

51    UBER00060329      1/18/2016              John Bares                                                                                                                                                             Meeting (notes)   Notes from 1/18/2016 meeting with Anthony
                                                                                                                                                                                                                                        Levandowski; Brian McClendon; Cameron
                                                                                                                                                                                                                                        Poetzscher; and Nina Qi. Based on
                                                                                                                                                                                                                                        independent recollection from John Bares,
                                                                                                                                                                                                                                        Anthony Levandowski was likely in person for
                                                                                                                                                                                                                                        meeting and John Bares joined by phone.

52    UBER00068725      1/18/2016   3:09 PM    John Bares                          Brian McClendon                                                                                                                    E-Mail            Email regarding meeting with Anthony
                                                                                                                                                                                                                                        Levandowski about something related to a ladar
                                                                                                                                                                                                                                        company.
53    UBER00068729      1/18/2016   3:07 PM    John Bares                          Brian McClendon                                                                                                                    E-Mail            Email regarding meeting with Anthony
                                                                                                                                                                                                                                        Levandowski about something related to a ladar
                                                                                                                                                                                                                                        company.
54    UBER00068719      1/19/2016   11:19 PM   Google Calendar [calendar-          Brian McClendon                                                                                              1455 Market Street,   Calendar File     Calendar invitation for 1/19/2016 meeting with
                                               notification@google.com]                                                                                                                         San Francisco                           Anthony Levandowski from 6:30-7:00pm. Brian
                                                                                                                                                                                                                                        McClendon joined meeting over Zoom.
55    UBER00060329      1/19/2016              John Bares                                                                                                                                                             Meeting (notes)   Notes from 1/19/2016 meeting with Bryan
                                                                                                                                                                                                                                        Salesky; Lior Ron; Anthony Levandowski; Brian
                                                                                                                                                                                                                                        McClendon; Cameron Poetzscher; and Jeff
                                                                                                                                                                                                                                        Holden.
56    UBER00062774      1/20/2016   2:21 PM    John Bares                          Cameron Poetzscher; Emil Michael;                                                                                                  E-Mail            Email discussing 1/20/2016 meeting with
                                                                                   Brian McClendon; Travis Kalanick; Jeff                                                                                                               Anthony Levandowski.
                                                                                   Holden; Nina Qi
57    UBER00060329      1/20/2016              John Bares                                                                                                                                                             Meeting (notes)   Notes from 1/20/2016 meeting with Lior Ron;
                                                                                                                                                                                                                                        Anthony Levandowski; Brian McClendon;
                                                                                                                                                                                                                                        Cameron Poetzscher; and Jeff Holden.
58    UBER00065998      1/20/2016   7:21 PM    John Bares                          Cameron Poetzscher; Emil Michael         Brian McClendon; Travis Kalanick; Jeff                                                    E-Mail            Email regarding experience of Anthony
                                                                                                                            Holden; Nina Qi                                                                                             Levandowski and team with mid and long range
                                                                                                                                                                                                                                        lasers.




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59    UBER00063569      1/20/2016   5:27 AM    Cameron Poetzscher                    Emil Michael                          Travis Kalanick; Jeff Holden; Brian                                             E-Mail               Email regarding laser IP and laser purchases by
                                                                                                                           McClendon; Nina Qi                                                                                   trucking company.
60    UBER00063587      1/20/2016   3:27 PM    Cameron Poetzscher                    Emil Michael                          Travis Kalanick; Jeff Holden; Brian                                             E-Mail               Email regarding valuation and meeting with
                                                                                                                           McClendon; Nina Qi                                                                                   Anthony Levandowski attaching draft term sheet.


61    UBER00063591      1/20/2016   3:27 PM    Nina Qi                                                                                                                                                     Attachment           Attachment regarding LiDAR tech (draft term
                                                                                                                                                                                                                                sheet).
62    UBER00062774      1/20/2016   7:21 PM    John Bares                            Cameron Poetzscher; Emil Michael      Brian McClendon; Travis Kalanick; Jeff                                          E-Mail               Email regarding experience of Anthony
                                                                                                                           Holden; Nina Qi                                                                                      Levandowski and team with mid and long range
                                                                                                                                                                                                                                lasers.
63    UBER00068702      1/20/2016   5:27 AM    Cameron Poetzscher                    Emil Michael                          Travis Kalanick; Jeff Holden; Brian                                             E-Mail               Email regarding laser IP and laser purchases by
                                                                                                                           McClendon; Nina Qi                                                                                   trucking company.
64    UBER00069005      1/20/2016   3:27 PM    Nina Qi                                                                                                                                                     Document             Document regarding laser specifications.
65    UBER00069043      1/20/2016   10:18 PM   Nina Qi                                                                                                                                                     Document             Document regarding laser specifications.

66    UBER00060329      1/24/2016              John Bares                                                                                                                                                  Meeting (notes)      Notes from 1/24/2016 meeting with Anthony
                                                                                                                                                                                                                                Levandowski; Lior Ron; Nina Qi; and Cameron
                                                                                                                                                                                                                                Poetzscher.

67    RON0000279        1/24/2016   9:48 AM    Anthony Levandowski                   Lior Ron; Anthony Levandowski                                                                                         Text Messages        Text messages with Anthony Levandowski
      RON0000280                                                                                                                                                                                                                regarding laser discussion.

68    UBER00061237      1/24/2016   10:47 PM   Cameron Poetzscher                    Emil Michael; Jeff Holden; Travis     Nina Qi; John Bares                                                             E-Mail               Email regarding technical milestones.
                                                                                     Kalanick
69    UBER00061340      1/24/2016   3:29 PM    Cameron Poetzscher                    Emil Michael; Jeff Holden             Travis Kalanick; Brian McClendon; Nina                                          E-Mail               Email regarding milestones and meeting with
                                                                                                                           Qi; John Bares; Kirsten Thompson                                                                     Anthony Levandowski.


70    UBER00061443      1/24/2016   9:32 PM    Emil Michael                          Jeff Holden; Cameron Poetzscher       Travis Kalanick; Brian McClendon; Nina                                          E-Mail               Email regarding milestones and meeting with
                                                                                                                           Qi; John Bares; Kirsten Thompson                                                                     Anthony Levandowski.

71    UBER00066830      1/24/2016   9:32 PM    Emil Michael                          Jeff Holden; Cameron Poetzscher       Travis Kalanick; Brian McClendon; Nina                                          E-Mail               Email regarding meeting with NewCo regarding
                                                                                                                           Qi; John Bares; Kirsten Thompson                                                                     milestones.


72    UBER00060665      1/25/2016   3:14 PM    John Bares                            Travis Kalanick; Cameron Poetzscher   Emil Michael; Jeff Holden; Nina Qi                                              E-Mail               Email discussing 1/24/2016 meeting with
                                                                                                                                                                                                                                Anthony Levandowski and Cameron Poetzscher;
                                                                                                                                                                                                                                and 1/25/2016 phone call with Anthony
                                                                                                                                                                                                                                Levandowski and Travis Kalanick.
73    UBER00060329      1/25/2016              John Bares                                                                                                                                                  Meeting (notes)      Notes from 1/25/2016 meeting with Anthony
                                                                                                                                                                                                                                Levandowski; Lior Ron; Nina Qi; and Cameron
                                                                                                                                                                                                                                Poetzscher.
74    UBER00060677      1/25/2016   3:13 PM    Cameron Poetzscher                    Emil Michael; Brian McClendon         Jeff Holden; Travis Kalanick; Nina Qi;                                          E-Mail               Email regarding laser IP and laser purchases by
                                                                                                                           John Bares                                                                                           trucking company.
75    UBER00060814      1/25/2016   9:32 AM    Travis Kalanick                       Cameron Poetzscher                    Emil Michael; Jeff Holden; Nina Qi;                                             E-Mail               Email regarding NewCo terms.
                                                                                                                           John Bares
76    UBER00071482      1/25/2016   3:14 PM    John Bares                            Travis Kalanick; Cameron Poetzscher   Emil Michael; Jeff Holden; Nina Qi                                              E-Mail               Email regarding meeting with Anthony
                                                                                                                                                                                                                                Levandowski and scaling of autonomous
                                                                                                                                                                                                                                vehicles.
77    UBER00063640      1/27/2016   12:54 AM   Cameron Poetzscher                    Travis Kalanick; Emil Michael; Jeff   Nina Qi                                                                         E-Mail               Email discussing 1/26/16 and 1/27/2016
                                                                                     Holden                                                                                                                                     meetings with Anthony Levandowski, Cameron
                                                                                                                                                                                                                                Poetzscher, and Lior Ron.
78    UBER00060329      2/8/2016               John Bares                                                                                                                                                  Phone Call (notes)   Notes from 2/8/2016 call with Anthony
                                                                                                                                                                                                                                Levandowski; Lior Ron; Nina Qi; and Cameron
                                                                                                                                                                                                                                Poetzscher.
79                      2/11/2016              Anthony Levandowski                   Dan Gruver                                                                                                            One-on-one           Conversation regarding LiDAR design, tools, and
                                                                                                                                                                                                           conversation         techniques.
80    RON0013201        2/12/2016   6 53 PM    Adam Bentley                          Nina Qi                               Andrew Glickman; Christiam Lymn; Paul                                           Email                Email reflecting discussion with Anthony
                                                                                                                           Sieben; Lior Ron; Cameron Poetzscher;                                                                Levandowksi regarding lasers.
                                                                                                                           Jamie Leigh; Todd Hamblet; Aaron Melville;
                                                                                                                           Julie Xu; Andrew Dolak


81    UBER00076358      2/22/2016   10:50 PM   Anthony Levandowski                   Dan Gruver                                                                                                            E-Mail               Email regarding laser specifications.




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No.   Bates Number      Date        Time       Author/Sent                         Recipient(s)                         CC                                       BCC                            Place                 Mode of              Subjects Discussed
      (as applicable)                                                                                                                                                                                                 Communication

82    UBER00076359      2/22/2016   10:50 PM                                                                                                                                                                          Attachment           Attachment regarding laser specifications.

83    UBER00076666      2/22/2016   10:50 PM   Anthony Levandowski                 Dan Gruver                                                                                                                         E-Mail               Email regarding long range laser specifications.


84    UBER00076667      2/22/2016   10:50 PM                                                                                                                                                                          Attachment           Attachment spreadsheet regarding long range
                                                                                                                                                                                                                                           laser specifications.
85    UBER00017007      2/23/2016   1:50 AM                                                                                                                                                                           Document             Document regarding laser specifications.
86    UBER00060329      2/26/2016              John Bares                                                                                                                                                             Phone Call (notes)   Notes from 2/26/2016 meeting with Anthony
                                                                                                                                                                                                                                           Levandowski; Lior Ron; Cameron Poetzcher;
                                                                                                                                                                                                                                           and Nina Qi .
87    UBER00076054      2/29/2016   1:48 AM    Google Calendar [calendar-          Lior Ron                                                                                                                           Calendar File        Accepted calendar invitation for 3/4/2016 video
                                               notification@google.com]                                                                                                                                                                    call related meeting with optics/laser Stanford
                                                                                                                                                                                                                                           Ph.D., Adam Backer.
88    UBER00076055      2/29/2016   1:48 AM    Anthony Levandowski                 Lior Ron; Anthony Levandowski                                                                                                      Calendar File        Confirmed calendar invitation for 3/4/2016 video
                                                                                                                                                                                                                                           call related meeting with optics/laser Stanford
                                                                                                                                                                                                                                           Ph.D., Adam Backer.
89    UBER00076053      2/29/2016   1:57 AM    Anthony Levandowski                 Lior Ron                                                                                                                           E-Mail               Email communication regarding upcoming
                                                                                                                                                                                                                                           meeting with laser optics Stanford Ph.D., Adam
                                                                                                                                                                                                                                           Backer.
90    UBER00076675      2/29/2016   1:47 AM    Anthony Levandowski                 Dan Gruver                                                                                                                         E-Mail               Email regarding third party vendor FiconTEC.

91                      2/29/2016              Anthony Levandowski                 George Lagui                                                                                                 Cowper Street, Palo Meeting                New hire meeting, including discussion of lens
                                                                                                                                                                                                Alto                                       placement.

92                      3/2/2016               Anthony Levandowski                 Dan Ratner; Max Levandowski                                                                                  Cowper Street, Palo Meeting                New hire meeting, including discussion of lasers.
                                                                                                                                                                                                Alto
93    UBER00076056      3/4/2016    7:03 PM    Google Calendar [calendar-          Lior Ron                                                                                                                           Calendar File        Declined calendar invitation for 3/4/2016 video
                                               notification@google.com]                                                                                                                                                                    call related meeting with optics/laser Stanford
                                                                                                                                                                                                                                           Ph.D., Adam Backer.
94    UBER00076055      3/4/2016    7:03 PM    Anthony Levandowski                 Lior Ron; Anthony Levandowski                                                                                                      Calendar File        Confirmed calendar invitation for 3/4/2016 video
                                                                                                                                                                                                                                           call related meeting with optics/laser Stanford
                                                                                                                                                                                                                                           Ph.D., Adam Backer.
95    UBER00301131      3/4/2016    7 30 PM    Anthony Levandowski                 Don Burnette; Anthony Levandowski                                                                                                  Text Messages        Text messages with Anthony Levandowski
      UBER00301132                                                                                                                                                                                                                         regarding laser.
      UBER00301133
      UBER00301134
      UBER00301135
      UBER00301136
      UBER00301137
      UBER00301138
      UBER00301139

96    UBER00060329      3/4/2016               John Bares                                                                                                                                                             Phone Call (notes)   Notes from 3/4/2016 meeting with Anthony
                                                                                                                                                                                                                                           Levandowski; Lior Ron; Cameron Poetzcher;
                                                                                                                                                                                                                                           and Nina Qi.
97    UBER00076694      3/5/2016    7:44 AM    Anthony Levandowski                 Claire Delaunay                                                                                                                    E-Mail               Email discussion re: LiDAR reader.
98    UBER00076251      3/5/2016    7:44 AM    Anthony Levandowski                 Claire Delaunay                                                                                                                    E-Mail               Email regarding Tyto LiDAR reader.

99    UBER00076608      3/5/2016    7:44 AM    Anthony Levandowski                 Claire Delaunay                                                                                                                    E-Mail               Email regarding Tyto LiDAR reader.
100   UBER00076413      3/6/2016    8:43 PM    Anthony Levandowski                 Rhian Morgan                         Eric Berdinis; Lior Ron; Claire                                                               E-Mail               Email discussion of LiDAR-related
                                                                                                                        Delaunay; Soren Juelsgaard                                                                                         responsibilities for prospective employees.
101   UBER00076415      3/6/2016    8:49 PM    Anthony Levandowski                 Rhian Morgan                         Eric Berdinis; Lior Ron; Claire                                                               E-Mail               Email discussion of LiDAR-related
                                                                                                                        Delaunay; Soren Juelsgaard                                                                                         responsibilities for prospective employees.
102   UBER00076093      3/8/2016    8:37 PM    Anthony Levandowski                 Eric Berdinis                        Soren Juelsgaard; Colin Sebern; Dan                                                           E-Mail               Email regarding third parties Sensata and
                                                                                                                        Gruver                                                                                                             Quanergy.
103   UBER00076612      3/8/2016    8:37 PM    Anthony Levandowski                 Eric Berdinis                        Soren Juelsgaard; Colin Sebern; Dan                                                           E-Mail               Email regarding third parties Sensata and
                                                                                                                        Gruver                                                                                                             Quanergy.
104   UBER00065004      3/11/2016   6:20 PM    Google Calendar [calendar-          Travis Kalanick                                                                                              1455 Market Street,   Calendar File        Calendar invitation for 3/11/2016 meeting with
                                               notification@google.com]                                                                                                                         San Francisco                              Anthony Levandowski and Lior Ron at 10:30-
                                                                                                                                                                                                                                           11:00am.
105   UBER00076196      3/22/2016   6:51 AM    Anthony Levandowski                 Drew Gray; Robbie Miller             Claire Delaunay; Benjamin Butin; David                                                        E-Mail               Email regarding image labeling and laser data.
                                                                                                                        Weikersdorfer




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      (as applicable)                                                                                                                                                                                              Communication

132   UBER00075960      4/14/2016   5:25 PM    Anthony Levandowski                   Eric Berdinis                                                                                                                 E-Mail          Email regarding New Yorker news article.

133   UBER00065878      4/14/2016   10:30 PM   Nina Qi                               John Bares; Brian McClendon               Cameron Poetzscher                                                 Pittsburgh       E-Mail          Email regarding 4/14/2016 in-person meeting
                                                                                                                                                                                                                                   with discussion by Anthony Levandowski, Claire
                                                                                                                                                                                                                                   Delaunay, and Brian McClendon regarding
                                                                                                                                                                                                                                   LiDAR.
134                     4/15/2016              Anthony Levandowski                   Robert Doll                                                                                                  3011 Smallman,   Meeting         Meeting regarding LiDAR development.
                                                                                                                                                                                                  Pittsburgh
135                     4/15/2016              Anthony Levandowski                   Peter Melick; Brian Zajac; Dave LaRose;                                                                      3011 Smallman,   Meeting         Meeting with Anthony Levandowski regarding
                                                                                     Drew Bagnell; John Bares; Anthony                                                                            Pittsburgh                       LiDAR simulations.
                                                                                     Levandowksi; Lior Ron; Soren
                                                                                     Juelsgaard; Claire Delaunay; and
                                                                                     potentially others
136   UBER00075085      4/17/2016   11:44 PM   John Bares                            Anthony Levandowski                                                                                                           E-Mail          Email regarding tech POC for laser.
137   UBER00076050      4/18/2016   9:10 AM    Anthony Levandowski                   Harris Faruqi                             Lior Ron; Rhian Morgan                                                              E-Mail          Email regarding recruiting of engineers.
138   UBER00076350      4/18/2016   5:42 PM    Anthony Levandowski                   John Bares                                                                                                                    E-Mail          Email regarding laser team staffing.
139   UBER00065762      4/18/2016   5:33 PM    John Bares                            Brian McClendon                                                                                                               E-Mail          Email discussing laser discussions with Newco
                                                                                                                                                                                                                                   and Anthony Levandowski.
140   UBER00065792      4/18/2016   8:15 PM    John Bares                            Brian McClendon                                                                                                               E-Mail          Email discussing laser discussions with Newco
                                                                                                                                                                                                                                   and Anthony Levandowski.
141   UBER00065812      4/18/2016   9:26 PM    Brian McClendon                       John Bares                                                                                                                    E-Mail          Email regarding meeting with Levandowski and
                                                                                                                                                                                                                                   feedback on laser.
142   UBER00076412      4/19/2016   7:27 AM    Anthony Levandowski                   Dan Gruver                                Soren Juelsgaard                                                                    E-Mail          Email regarding work space for laser research &
                                                                                                                                                                                                                                   development team.
143   UBER00301177      4/20/2016   12 51 PM   Anthony Levandowski                   Don Burnette; Anthony Levandowski                                                                                             Text Messages   Text messages with Anthony Levandowski
      UBER00301178                                                                                                                                                                                                                 regarding development of LiDAR.


144   UBER00076098      4/21/2016   4:21 AM    Anthony Levandowski                   George Lagui                              Dan Gruver; laser-dev@ot.to                                                         E-Mail          Email regarding status update from laser team.


145   UBER00076621      4/21/2016   4:21 AM    Anthony Levandowski                   George Lagui                              Dan Gruver; laser-dev@ot.to                                                         E-Mail          Email regarding laser team goals.

146   UBER00076096      4/22/2016   9:26 AM    Anthony Levandowski                   Robbie Miller                             Eng-ops [eng-ops@ot.to]                                                             E-Mail          Email regarding status of vehicle as online or
                                                                                                                                                                                                                                   offline.
147   UBER00012193      4/23/2016   12:35 AM   Abram Burkholder                      Max Levandowski                                                                                                               E-Mail          Email discussing requests from Anthony for
                                                                                                                                                                                                                                   design of bracket to hold LiDAR unit.
148   UBER00012194      4/23/2016   12:20 AM   Max Levandowski                       Abram Burkholder                                                                                                              E-Mail          Email discussing requests from Anthony for
                                                                                                                                                                                                                                   design of bracket to hold LiDAR unit.
149   UBER00012195      4/23/2016   12:08 AM   Abram Burkholder                      Max Levandowski                                                                                                               E-Mail          Email discussing requests from Anthony for
                                                                                                                                                                                                                                   design of bracket to hold LiDAR unit.

150   UBER00301233      4/23/2016   8 41 AM    Anthony Levandowski                   Don Burnette; Anthony Levandowski                                                                                             Text Message    Text message from Levandowski regarding
                                                                                                                                                                                                                                   lasers.

151   UBER00012197      4/23/2016   8:41 PM    Max Levandowski                       Anthony Levandowski                                                                                                           E-Mail          Email discussing requests from Anthony for
                                                                                                                                                                                                                                   design of bracket to hold LiDAR unit.
152   UBER00301236      4/25/2016   9 35 PM    Anthony Levandowski                   Don Burnette; Anthony Levandowski                                                                                             Text Message    Text message from Anthony Levandowski
      UBER00301237                                                                                                                                                                                                                 attaching testing video.
153                     4/26/2016   12:51 PM   Anthony Levandowski                   Scott Boehmke                                                                                                                 Text Messages   Text messages regarding scheduling of meeting
                                                                                                                                                                                                                                   with Anthony Levandowski.
154                     4/26/2016   6:40 PM    Anthony Levandowski                   Scott Boehmke                                                                                                                 Text Messages   Text messages regarding scheduling of meeting
                                                                                                                                                                                                                                   with Anthony Levandowski.
155   UBER00073832      4/27/2016   9:30 AM    Anthony Levandowski                   Travis Kalanick                                                                                                               Text Message    Text message regarding meeting with laser
                                                                                                                                                                                                                                   team.

156   UBER00086464      4/27/2016   8:49 PM    John Bares                            John Bares; Jeff Holden                                                                                                       Text Message    Message regarding potential meeting with
                                                                                                                                                                                                                                   Anthony Levandowski regarding lasers.

157                     4/27/2016   10:25 AM   Scott Boehmke                         Anthony Levandowski                                                                                                           Text Messages   Text messages regarding scheduling of meeting
                                                                                                                                                                                                                                   with Anthony Levandowski.
158                     4/27/2016   12:28 PM   Anthony Levandowski                   Scott Boehmke                                                                                                                 Text Message    Text message regarding scheduling of meeting
                                                                                                                                                                                                                                   with Anthony Levandowski.




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159                     4/27/2016   1:44 PM    Anthony Levandowski                   Scott Boehmke                                                                                                             Text Messages      Text messages regarding scheduling of meeting
                                                                                                                                                                                                                                  with Anthony Levandowski.

160                     4/27/2016   3:52 PM    Scott Boehmke                         Anthony Levandowski                                                                                                       Text Message       Text message regarding scheduling of meeting
                                                                                                                                                                                                                                  with Anthony Levandowski.
161                     4/27/2016   5:07 PM    Anthony Levandowski                   Scott Boehmke                                                                                                             Text Messages      Text messages regarding scheduling of meeting
                                                                                                                                                                                                                                  with Anthony Levandowski.
162   UBER00075955      4/27/2016              Anthony Levandowski                   Scott Boehmke                                                                                                Pittsburgh   Meeting (record)   Whiteboard photo from 4/27/16 conversation
                                                                                                                                                                                                                                  regarding use of fiber laser for scanning.
163   UBER00075956      4/27/2016              Anthony Levandowski                   Scott Boehmke                                                                                                Pittsburgh   Meeting (record)   Whiteboard photo from 4/27/16 conversation
                                                                                                                                                                                                                                  regarding use of fiber laser for scanning.
164   UBER00075957      4/27/2016              Anthony Levandowski                   Scott Boehmke                                                                                                Pittsburgh   Meeting (record)   Whiteboard photo from 4/27/16 conversation
                                                                                                                                                                                                                                  regarding use of fiber laser for scanning.
165   UBER00086464      4/28/2016   8:49 AM    Anthony Levandowski                   Scott Boehmke                                                                                                             Text Messages      Text messages regarding discussion of LiDAR
                                                                                                                                                                                                                                  and design.
166   UBER00076637      4/30/2016   7:28 AM    Anthony Levandowski                   Gaetan Pennecot                                                                                                           E-Mail             Email regarding third party        and lens
                                                                                                                                                                                                                                  manufacturing.
167   UBER00076640      4/30/2016   7:28 AM                                                                                                                                                                    Attachment         Attachment regarding third party        and lens
                                                                                                                                                                                                                                  manufacturing.
168   UBER00011327      5/2/2016    10:12 PM   Gaetan Pennecot                       Anthony Levandowski                                                                                                       E-Mail             Email regarding technology manufacutring
                                                                                                                                                                                                                                  quote.
169   UBER00011989      5/2/2016    6:47 PM    Drew Bagnell                          Carl Wellington                                                                                                           E-Mail             Email regarding meeting with Anthony regarding
                                                                                                                                                                                                                                  Ladar plan.

170                     5/2/2016    4:18 PM    Anthony Levandowski                   Scott Boehmke                                                                                                             Text Message       Text message regarding scheduling of meeting
                                                                                                                                                                                                                                  with Anthony Levandowski and discussion of
                                                                                                                                                                                                                                  LiDAR status.
171                     5/2/2016    6:50 PM    Anthony Levandowski                   Scott Boehmke                                                                                                             Text Message       Text message regarding scheduling of meeting
                                                                                                                                                                                                                                  with Anthony Levandowski.
172   UBER00076169      5/3/2016    2:48 AM    Anthony Levandowski                   Scott Boehmke                        Dan Gruver                                                                           E-Mail             Email regarding travel logistics for laser team
                                                                                                                                                                                                                                  member.
173   UBER00076226      5/3/2016    6:34 PM    Anthony Levandowski                   Robbie Miller                                                                                                             E-Mail             Email regarding safety procedures for vehicle
                                                                                                                                                                                                                                  testing.
174   UBER00076631      5/3/2016    2:45 AM    Anthony Levandowski                   Dan Gruver                           Gaetan Pennecot                                                                      E-Mail             Email regarding third party        and lens
                                                                                                                                                                                                                                  manufacturing.
175   UBER00008528      5/4/2016    9:38 PM    Dan Gruver                            Scott Boehmke                        Anthony Levandowski                                                                  E-Mail             Email discussing meeting with Anthony for
                                                                                                                                                                                                                                  LiDAR discussions and brainstorming.
176   UBER00008530      5/4/2016    6:36 PM    Scott Boehmke                         Anthony Levandowski                  Dan Gruver                                                                           E-Mail             Email discussing meeting with Anthony for
                                                                                                                                                                                                                                  LiDAR discussions and brainstorming.

177   UBER00073820      5/5/2016    9:39 AM    Anthony Levandowski                   Travis Kalanick                                                                                                           Text Message       Text message regarding meeting with "Scott
                                                                                                                                                                                                                                  ATC" regarding lasers and team.

178   UBER00008520      5/5/2016    4:47 PM    Dan Gruver                            Scott Boehmke                                                                                                             E-Mail             Email discussing meeting with Anthony for
                                                                                                                                                                                                                                  LiDAR discussions and brainstorming.
179   UBER00008523      5/5/2016    12:46 AM   Dan Gruver                            Scott Boehmke                                                                                                             E-Mail             Email discussing meeting with Anthony for
                                                                                                                                                                                                                                  LiDAR discussions and brainstorming.

180   UBER00008526      5/5/2016    12:38 AM   Scott Boehmke                         Dan Gruver                                                                                                                E-Mail             Email discussing meeting with Anthony for
                                                                                                                                                                                                                                  LiDAR discussions and brainstorming.
181   UBER00076097      5/6/2016    4:40 PM    Anthony Levandowski                   Soren Juelsgaard                     Robbie Miller; Eng-ops [eng-ops@ot.to];                                              E-Mail             Email regarding current status of vehicle testing.
                                                                                                                          sw@ot.to; Nancy Sun

182   UBER00065830      5/8/2016    7:31 PM    Scott Boehmke                         John Bares; Brian McClendon                                                                                               E-Mail             Email discussing Otto visit and meeting with
                                                                                                                                                                                                                                  Anthony Levandowsk.

183   UBER00065777      5/9/2016    10:12 PM   Brian McClendon                       John Bares                                                                                                                E-Mail             Email discussing Otto visit and meeting with
                                                                                                                                                                                                                                  Anthony Levandowski and laser concerns.

184   UBER00065782      5/9/2016    11:39 PM   John Bares                            Brian McClendon                                                                                                           E-Mail             Email discussing Otto visit and meeting with
                                                                                                                                                                                                                                  Anthony Levandowski and laser concerns.
185   UBER00065807      5/9/2016    9:44 PM    John Bares                            Brian McClendon                                                                                                           E-Mail             Email discussing laser discussions with Newco
                                                                                                                                                                                                                                  and Anthony Levandowski.




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186   UBER00060450      5/10/2016   8:11 AM    Scott Boehmke                         John Bares                                                                                                                         E-Mail (meeting   Email including notes from Scott Boehmke
                                                                                                                                                                                                                        notes)            regarding 5/5/2016 meeting with Anthony
                                                                                                                                                                                                                                          Levandowski, Dan Gruver, Max Levandowski,
                                                                                                                                                                                                                                          Dan Ratner, Harris Faruqi, and Nancy Sun,
                                                                                                                                                                                                                                          including discussion with Anthony Levandowski
                                                                                                                                                                                                                                          regarding placement of
                                                                                                                                                                                                                                                    scanners on vehicle.

187   UBER00060355      5/10/2016   8:04 PM    Mayrose Munar                         John Bares; Sherif Marakby; Noah Zych; Travis Kalanick; CPOC@uber.com;                                                             Calendar File     Calendar invitation for 5/13/16 meeting regarding
                                                                                     Jeff Miller; David Richter; Anthony     Marissa Foust                                                                                                ATC goals with OEMs from 2:00-4:00pm, with
                                                                                     Levandowski                                                                                                                                          recurring meetings on Tuesdays starting at
                                                                                                                                                                                                                                          5/17/16 at 2:00-5:00pm.
188   UBER00086465      5/11/2016   9:12 PM    John Bares                            John Bares; Jeff Holden                                                                                                            Text Message      Message regarding potential meeting with
                                                                                                                                                                                                                                          Anthony Levandowski and Jeff Holden regarding
                                                                                                                                                                                                                                          lasers.

189   UBER00008536      5/11/2016   1:11 PM    Scott Boehmke                         Dan Gruver; Anthony Levandowski                                                                                                    E-Mail            Email discussing LiDAR development with
                                                                                                                                                                                                                                          Anthony Levandowski.
190   UBER00008538      5/11/2016   4:14 PM    Scott Boehmke                         Dan Gruver; Anthony Levandowski                                                                                                    E-Mail            Email discussing LiDAR development with
                                                                                                                                                                                                                                          Anthony Levandowski.
191   UBER00008540      5/11/2016   6:15 PM    Dan Gruver                            Scott Boehmke                           Anthony Levandowski                                                                        E-Mail            Email discussing LiDAR development with
                                                                                                                                                                                                                                          Anthony Levandowski.
192   UBER00011982      5/11/2016   7:31 PM    Brett Browning                        Raffi Krikorian                                                                                                                    E-Mail            Email regarding meeting with Levandowski
                                                                                                                                                                                                                                          regarding LiDAR issues.
193   UBER00011986      5/11/2016   7:25 PM    Raffi Krikorian                       Brett Browning                                                                                                                     E-Mail            Email regarding meeting with Levandowski
                                                                                                                                                                                                                                          regarding LiDAR issues.
194   UBER00086463      5/12/2016   4:52 AM    Anthony Levandowski                   John Bares; Anthony Levandowski                                                                                                    Text Message      Message regarding arrival of lasers.
195   UBER00012020      5/12/2016   3:34 AM    Brett Browning                        Raffi Krikorian                                                                                                                    E-Mail            Email regarding meeting with Anthony regarding
                                                                                                                                                                                                                                          global pose and LiDAR.
196   UBER00012021      5/12/2016   2:38 PM    Brett Browning                        Raffi Krikorian                                                                                                                    E-Mail            Email regarding meeting with Anthony regarding
                                                                                                                                                                                                                                          global pose and LiDAR.
197   UBER00012030      5/12/2016   3:39 AM    Brett Browning                        Robbie Sedgewick                                                                                                                   E-Mail            Email regarding meeting with Anthony regarding
                                                                                                                                                                                                                                          global pose and LiDAR.
198   UBER00076419      5/13/2016   2:54 AM    Anthony Levandowski                   Dan Gruver                              Soren Juelsgaard                                                                           E-Mail            Email regarding organization chart.
199   UBER00063713      5/13/2016   11:30 PM   Jeff Holden                           Travis Kalanick                                                                                                                    E-Mail            Email referencing discussions with Anthony
                                                                                                                                                                                                                                          regarding laser plan.

200   UBER00063715      5/13/2016   3:36 PM    Jeff Holden                           Travis Kalanick                                                                                                                    E-Mail            Email referencing discussions with Anthony
                                                                                                                                                                                                                                          regarding laser plan.

201   UBER00070014      5/13/2016   11:30 PM   Jeff Holden                           Travis Kalanick                                                                                                                    E-Mail            Email regarding meeting with Anthony
                                                                                                                                                                                                                                          Levandowski regarding reporting structure and
                                                                                                                                                                                                                                          laser design plan.

202   UBER00070111      5/13/2016   3:36 PM    Jeff Holden                           Travis Kalanick                                                                                                                    E-Mail            Email regarding meeting with Anthony
                                                                                                                                                                                                                                          Levandowski regarding laser design plan.

203   UBER00063705      5/16/2016   4:43 PM    Travis Kalanick                       Jeff Holden                                                                                                                        E-Mail            Email referencing meetings with third parties
                                                                                                                                                                                                                                          regarding LiDAR and discussing with Anthony.

204   UBER00063707      5/16/2016   4:54 PM    Travis Kalanick                       Jeff Holden                                                                                                                        E-Mail            Email referencing discussions with Anthony
                                                                                                                                                                                                                                          regarding laser plan.

205   UBER00065135      5/17/2016              Travis Kalanick                       Travis Kalanick; Sherif Marakby; Noah                                                                        3011 Smallman,        Calendar File     Calendar invitation for 5/17/2016 "birdhouse"
                                                                                     Zych; Neil Stegall; Raffi Krikorian;                                                                         Pittsburgh                              meeting at 9:00-11:00pm.
                                                                                     Anthony Levandowski; Justin Ho; David
                                                                                     Richter; Jeff Miller                                                                                         1455 Market Street,
                                                                                                                                                                                                  San Francisco
206                     5/17/2016   5:21 PM    Anthony Levandowski                   James Haslim                                                                                                                       Text Messages     Text messages from Anthony Levandowski with
                                                                                                                                                                                                                                          whiteboard drawing regarding LiDAR
                                                                                                                                                                                                                                          specifications and requesting phone call.

207   UBER00076022      5/18/2016   11:13 PM   Anthony Levandowski                   James Haslim; Dan Gruver                                                                                                           E-Mail            Email regarding LiDAR development.

208   UBER00076023      5/18/2016   11:13 PM                                                                                                                                                                            Attachment        Presentation regarding LiDAR development.

209   UBER00076649      5/18/2016   11:13 PM   Anthony Levandowski                   James Haslim; Dan Gruver                                                                                                           E-Mail            Email regarding LiDAR development.




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No.   Bates Number      Date        Time       Author/Sent                         Recipient(s)                             CC                              BCC                                  Place                Mode of         Subjects Discussed
      (as applicable)                                                                                                                                                                                                 Communication

210   UBER00076650      5/18/2016   11:13 PM                                                                                                                                                                          Attachment      Attachment powerpoint regarding LiDAR
                                                                                                                                                                                                                                      development.
211   UBER00086456      5/18/2016   12:36 PM   John Bares                          John Bares; Scott Boehmke; Eric                                                                                                    Text Message    Message inquiring about setting meeting to work
                                                                                   Meyhofer                                                                                                                                           on laser with Anthony Levandowski.
212   UBER00008543      5/18/2016   9:02 PM    Scott Boehmke                       Anthony Levandowski                                                                                                                E-Mail          Email with notes summarizing ladar talks.

213                     5/18/2016   8:37 AM    Anthony Levandowski                 Scott Boehmke                                                                                                                      Text Messages   Text messages regarding scheduled meeting
                                                                                                                                                                                                                                      with Anthony Levandowski and Eric Meyhofer.
214                     5/18/2016   2:03 PM    Anthony Levandowski                 Scott Boehmke                                                                                                                      Text Messages   Text messages regarding scheduling of meeting
                                                                                                                                                                                                                                      with Anthony Levandowski.

215   UBER00076429      5/19/2016              Dan Gruver                          Dan Gruver; Sameer Kshirsagar; James                                     Upstairs Fishbowl (Propeller Room)   737 Harrison Street, Calendar File   Calendar invitation for weekly LiDAR standup
                                                                                   Haslim; Eyal Cohen; Mike Karasoff;                                       [ot.to_h16l0u3mvm6sg8qos43gsrjvh4    San Francisco                        meeting at 10:30-11:00am from 5/19/2016 to
                                                                                   Matthew Palomar; Dan Ratner; Felipe                                      @group.calendar.google.com]                                               11/17/2016.
                                                                                   Caldeira; Ben Becker; John Tobias;
                                                                                   Dante Rivera; Anthony Levandowski;
                                                                                   Gaetan Pennecot; Brent Schwarz; Tri
                                                                                   Luong; laser-dev [laser-dev@uber.com];
                                                                                   Max Levandowski; Dan Shafrir; Tanya
                                                                                   Sumang; Adam Kenvarg; Sara Glick;
                                                                                   Ronen Sarig; Prashant Chouta; Asheem
                                                                                   Linaval; Nancy Sun; Marlon Bocalan;
                                                                                   Florin Ignatescu; Carolyn Finney;
                                                                                   ft@uber.com; Will Treichler; Soren
                                                                                   Juelsgaard; Thomas Smith; Radu
                                                                                   Raduta; Zandrea Rox; Paige Recker;
                                                                                   George Lagui; Michael Tocce

216   UBER00076031      5/20/2016   12:18 AM   Anthony Levandowski                 Dan Gruver; James Haslim                                                                                                           E-Mail          Email regarding laser description from third party
                                                                                                                                                                                                                                                           .
217   UBER00076032      5/20/2016   12:18 AM                                                                                                                                                                          Attachment      Attachment regarding laser description from third
                                                                                                                                                                                                                                      party                       .
218   UBER00075972      5/20/2016   5:29 PM    Anthony Levandowski                 Dan Gruver                               James Haslim                                                                              E-Mail          Email regarding laser description from third party
                                                                                                                                                                                                                                                           .
219   UBER00076698      5/20/2016   12:18 AM   Anthony Levandowski                 Dan Gruver; James Haslim                                                                                                           E-Mail          Email regarding diode laser from third party
                                                                                                                                                                                                                                                           .
220   UBER00076699      5/20/2016   12:18 AM                                                                                                                                                                          Attachment      Attachment regarding diode laser from third
                                                                                                                                                                                                                                      party                       .
221   UBER00008513      5/20/2016   12:03 PM   Scott Boehmke                       Dan Gruver                                                                                                                         E-Mail          Email discussing laser development and
                                                                                                                                                                                                                                      reference to sharing a document with Anthony
                                                                                                                                                                                                                                      Levandowski.
222   UBER00011153      5/20/2016   1:15 AM    Dan Gruver                          Anthony Levandowski                      James Haslim                                                                              E-Mail          Email discussing laser and LiDAR with Anthony
                                                                                                                                                                                                                                      Levandowski.

223   UBER00011149      5/20/2016   5:29 PM    Anthony Levandowski                 Dan Gruver                               James Haslim                                                                              E-Mail          Email regarding diode power and MOPA.

224   UBER00235653      5/23/2016   3 35 PM    Anthony Levandowski                 Eric Meyhofer; Anthony Levandowski                                                                                                 Text Messages   Text messages with Anthony Levandowski
      UBER00235654                                                                                                                                                                                                                    regarding laser discussion.
225   UBER00008552      5/23/2016   5:45 PM    Scott Boehmke                       Dan Gruver; Anthony Levandowski                                                                                                    E-Mail          Email with Anthony Levandowski discussing
                                                                                                                                                                                                                                      beam placement and spacing.

226   UBER00008500      5/23/2016   5:58 PM    Dan Gruver                          Scott Boehmke                            James Haslim                                                                              E-Mail          Email discussing laser development and
                                                                                                                                                                                                                                      reference to sharing a document with Anthony
                                                                                                                                                                                                                                      Levandowski.
227   UBER00011603      5/23/2016   8:11 PM    Dan Gruver                          Brent Schwarz                            Gaetan Pennecot                                                                           E-Mail          Email regarding          quotes for LiDAR lenses.

228   UBER00008491      5/24/2016   1:45 PM    Scott Boehmke                       Dan Gruver                               James Haslim                                                                              E-Mail          Email discussing laser development and
                                                                                                                                                                                                                                      reference to sharing a document with Anthony
                                                                                                                                                                                                                                      Levandowski.
229                     5/24/2016   8:04 PM    Anthony Levandowski                 James Haslim                                                                                                                       Text Messages   Text messages from Anthony Levandowski
                                                                                                                                                                                                                                      regarding LiDAR testing.

230   UBER00076311      5/25/2016   7:17 AM    Anthony Levandowski                 Raffi Krikorian                                                                                                                    E-Mail          Email regarding current status of vehicle testing.




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      (as applicable)                                                                                                                                                                                                   Communication

231   UBER00076418      5/25/2016   7:19 AM    Anthony Levandowski                   Lior Ron                                      Harris Faruqi; Claire Delaunay; Soren                                                E-Mail          Email discussion of LiDAR-related
                                                                                                                                   Juelsgaard; Robbie Miller; Rhian                                                                     responsibilities for prospective employees.
                                                                                                                                   Morgan
232   UBER00076309      5/25/2016   3:02 PM    Anthony Levandowski                   Raffi Krikorian                                                                                                                    E-Mail          Email regarding current status of vehicle testing.

233   UBER00076701      5/25/2016   3:59 PM    Anthony Levandowski                   Soren Juelsgaard; Brent Schwarz                                                                                                    E-Mail          Email regarding visit on 5/24/16 from
                                                                                                                                                                                                                                              t from third party
234   UBER00076702      5/25/2016   3:59 PM                                                                                                                                                                             Attachment      Attachment with quote from third party               .


235   UBER00076703      5/25/2016   3:59 PM                                                                                                                                                                             Attachment      Attachment with NDA from third party


236   UBER00076420      5/25/2016   3:59 PM    Anthony Levandowski                   Soren Juelsgaard; Brent Schwarz                                                                                                    E-Mail          Email regarding 5/24/2016 visit with third party
                                                                                                                                                                                                                                                  representative                at Otto
                                                                                                                                                                                                                                        and quotation for          .

237   UBER00076421      5/25/2016   3:59 PM                                                                                                                                                                             Attachment      Attachment regarding quotation from third party


238   UBER00076422      5/25/2016   3:59 PM                                                                                                                                                                             Attachment      Attachment regarding NDA with third party


239   UBER00008488      5/25/2016   4:40 AM    Dan Gruver                            Scott Boehmke                                 James Haslim                                                                         E-Mail          Email discussing laser development and
                                                                                                                                                                                                                                        reference to sharing a document with Anthony
                                                                                                                                                                                                                                        Levandowski.
240   UBER00064947      5/26/2016   9:22 PM    Raffi Krikorian                       Travis Kalanick                                                                                                                    E-Mail          Email referencing future discussion with Anthony
                                                                                                                                                                                                                                        regarding attachment which discusses
                                                                                                                                                                                                                                        organization of autonomy teams.
241                     5/26/2016   8:18 PM    Anthony Levandowski                   James Haslim                                                                                                                       Text Messages   Text messages from Anthony Levandowski
                                                                                                                                                                                                                                        regarding LiDAR testing.

242   UBER00065137      5/27/2016              Travis Kalanick                       Travis Kalanick; Jeff Miller; Neil Stegall;                                                                  3011 Smallman,        Calendar File   Calendar invitation for 5/27/2016 "birdhouse"
                                                                                     David Richter; Anthony Levandowski;                                                                          Pittsburgh                            meeting at 10:00pm.
                                                                                     Sherif Marakby; Justin Ho; Noah Zych;
                                                                                     Raffi Krikorian                                                                                              1455 Market Street,
                                                                                                                                                                                                  San Francisco

243   UBER00076231      5/28/2016   4:55 PM    Anthony Levandowski                   Soren Juelsgaard; Brent Schwarz                                                                                                    E-Mail          Email regarding pump vendors.
244                     5/28/2016   6:44 PM    Anthony Levandowski                   James Haslim                                                                                                                       Text Messages   Text messages from Anthony Levandowski
                                                                                                                                                                                                                                        regarding ranging and detecting.
245                     5/28/2016   6:44 PM    Anthony Levandowski                   James Haslim                                                                                                                       Text Messages   Text messages from Anthony Levandowski
                                                                                                                                                                                                                                        regarding ranging and detecting.
246                     5/29/2016   5:34 PM    Anthony Levandowski                   James Haslim                                                                                                                       Text Messages   Text messages from Anthony Levandowski
                                                                                                                                                                                                                                        regarding LiDAR testing.

247   UBER00076085      5/30/2016   6:29 PM    Anthony Levandowski                   Claire Delaunay                               Soren Juelsgaard; Colin Sebern; Eng-                                                 E-Mail          Email regarding vehicle computer monitor.
                                                                                                                                   ops [eng-ops@ot.to]; Robbie Miller

248   UBER00076087      5/30/2016   8:39 PM    Anthony Levandowski                   Soren Juelsgaard                              David Weikersdorfer; Colin Sebern;                                                   E-Mail          Email regarding vehicle computer monitor.
                                                                                                                                   Claire Delaunay; Eng-ops [eng-
                                                                                                                                   ops@ot.to]; Robbie Miller

249   UBER00012121      5/30/2016   6:34 PM    David Weikersdorfer                   Anthony Levandowski                           Soren Juelsgaard; Colin Sebern; Claire                                               E-Mail          Email discussing Otto1 issues with Anthony
                                                                                                                                   Delaunay; Eng-ops [eng-ops@ot.to];                                                                   Levandowski.
                                                                                                                                   Robbie Miller
250   UBER00075968      5/31/2016   2:35 PM    Anthony Levandowski                   everyone [Everyone@ot.to]                                                                                                          E-Mail          Email regarding laser team update, and vehicle
                                                                                                                                                                                                                                        testing and deployment.

251   UBER00075974      5/31/2016   10:07 PM   Anthony Levandowski                   Dan Gruver                                    Daniel Ratner; Otto Lidar [laser-                                                    E-Mail          Email regarding LiDAR fiber testing.
                                                                                                                                   dev@ot.to]

252   UBER00076575      5/31/2016   2:35 AM    Anthony Levandowski                   everyone [Everyone@ot.to]                                                                                                          E-Mail          Email regarding updates on development,
                                                                                                                                                                                                                                        testing, lasers, and deployment.

253   UBER00076671      5/31/2016   10:07 PM   Anthony Levandowski                   Dan Gruver                                    Daniel Ratner; Otto Lidar [laser-                                                    E-Mail          Email regarding rotating fiber optic head.
                                                                                                                                   dev@ot.to]

254   UBER00008507      5/31/2016   3:40 PM    Daniel Gruver                         Anthony Levandowski                           Scott Boehmke; James Haslim                                                          E-Mail          Email with Anthony Levandowski discussing
                                                                                                                                                                                                                                        data rates and beam angles.




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      (as applicable)                                                                                                                                                                                      Communication

255   UBER00012095      5/31/2016   11:13 PM   Benjamin Becker                       Dan Gruver                           Anthony Levandowski; Daniel Ratner;                                              E-Mail          Email discussing LiDAR testing with Anthony
                                                                                                                          Otto Lidar [laser-dev@ot.to]                                                                     Levandowski.
256   UBER00012097      5/31/2016   10:31 PM   Dan Gruver                            Anthony Levandowski                  Daniel Ratner; Otto Lidar                                                        E-Mail          Email discussing LiDAR testing with Anthony
                                                                                                                                                                                                                           Levandowski.

257   UBER00012099      5/31/2016   5:31 PM    Robbie Miller                         Claire Delaunay                      Soren Juelsgaard; David Weikersdorfer;                                           E-Mail          Email discussing LiDAR testing with Anthony
                                                                                                                          Colin Sebern; Anthony Levandowski;                                                               Levandowski.
                                                                                                                          Eng-ops [eng-ops@ot.to]

258   UBER00005996      5/31/2016   11:47 PM   Tom Smith                             Anthony Levandowski                  everyone                                                                         E-Mail          Email discussing LiDAR testing and
                                                                                                                                                                                                                           development with Anthony Levandowski.

259   UBER00012172      5/31/2016   3:13 PM    Robbie Miller                         Colin Sebern                         Anthony Levandowski; Soren                                                       E-Mail          Email discussing LiDAR testing with Anthony
                                                                                                                          Juelsgaard; David Weikersdorfer; Claire                                                          Levandowski.
                                                                                                                          Delaunay; Eng-ops [eng-ops@ot.to]



260   UBER00235685      5/31/2016   3 47 PM    Anthony Levandowski                   Eric Meyhofer; Anthony Levandowski                                                                                    Text Messages   Text messages with Anthony Levandowski
      UBER00235686                                                                                                                                                                                                         regarding LiDAR.
261   UBER00075975      6/1/2016    4:09 AM    Anthony Levandowski                   Benjamin Becker                      Dan Gruver; Daniel Ratner; Otto Lidar                                            E-Mail          Email regarding LiDAR fiber testing.
                                                                                                                          [laser-dev@ot.to]
262   UBER00076167      6/1/2016    4:10 AM    Anthony Levandowski                   Scott Boehmke                                                                                                         E-Mail          Email regarding LiDAR fiber testing.
263   UBER00076625      6/1/2016    4:09 AM    Anthony Levandowski                   Benjamin Becker                      Dan Gruver; Daniel Ratner; Otto Lidar                                            E-Mail          Email regarding rotating fiber optic head.
                                                                                                                          [laser-dev@ot.to]

264   UBER00008505      6/1/2016    10:34 AM   Scott Boehmke                         Anthony Levandowski                                                                                                   E-Mail          Email discussing LiDAR testing with Anthony
                                                                                                                                                                                                                           Levandowski.

265   UBER00076643      6/2/2016    10:11 AM   Anthony Levandowski                   James Haslim                         Dan Gruver                                                                       E-Mail          Email regarding circulator testing.

266   UBER00076355      6/2/2016    2:34 PM    Anthony Levandowski                   Dan Gruver                                                                                                            E-Mail          Email regarding laser design.

267   UBER00076356      6/2/2016    3:54 PM    Anthony Levandowski                   Dan Gruver                                                                                                            E-Mail          Email regarding laser design.
268   UBER00076357      6/2/2016    10:11 AM   Anthony Levandowski                   James Haslim                         Dan Gruver                                                                       E-Mail          Email regarding laser testing.

269   UBER00011146      6/2/2016    3:48 PM    Dan Gruver                            Anthony Levandowski                                                                                                   E-Mail          Email discussing adding LEDs to laser with
                                                                                                                                                                                                                           Anthony Levandowski.
270   UBER00011152      6/2/2016    6:17 PM    Dan Gruver                            Anthony Levandowski                                                                                                   E-Mail          Email discussing adding LEDs to laser with
                                                                                                                                                                                                                           Anthony Levandowski.
271   UBER00075973      6/3/2016    12:52 AM   Anthony Levandowski                   Scott Boehmke                                                                                                         E-Mail          Email regarding lens design.

272   UBER00076670      6/3/2016    12:53 AM   Anthony Levandowski                   Dan Gruver                           Benjamin Becker; OTTO LIDAR                                                      E-Mail          Email regarding LiDAR fiber testing.
                                                                                                                          DEVELOPMENT [laser-dev@ot.to]

273   UBER00075979      6/3/2016    1:03 AM    Anthony Levandowski                   Dan Gruver                           Benjamin Becker; OTTO LIDAR                                                      E-Mail          Email regarding LiDAR fiber testing.
                                                                                                                          DEVELOPMENT [laser-dev@ot.to]
274   UBER00076194      6/3/2016    12:52 AM   Anthony Levandowski                   Scott Boehmke                                                                                                         E-Mail          Email regarding FAC lens.


275   UBER00076670      6/3/2016    12:53 AM   Anthony Levandowski                   Dan Gruver                           Benjamin Becker; OTTO LIDAR                                                      E-Mail          Email regarding rotating fiber optic head.
                                                                                                                          DEVELOPMENT [laser-dev@ot.to]

276   UBER00012088      6/3/2016    1:03 AM    Anthony Levandowski                   Dan Gruver                           Benjamin Becker; OTTO LIDAR                                                      E-Mail          Email regarding rotating fiber optic head.
                                                                                                                          DEVELOPMENT [laser-dev@ot.to]

277   UBER00076672      6/3/2016    1:03 AM    Anthony Levandowski                   Dan Gruver                           Benjamin Becker; OTTO LIDAR                                                      E-Mail          Email regarding testing related to LiDAR.
                                                                                                                          DEVELOPMENT [laser-dev@ot.to]

278   UBER00076668      6/3/2016    12:52 AM   Anthony Levandowski                   Scott Boehmke                                                                                                         E-Mail          Email regarding lens focal length.

279   UBER00012087      6/3/2016    1:01 AM    Dan Gruver                            Anthony Levandowski                  Benjamin Becker; OTTO LIDAR                                                      E-Mail          Email discussing LiDAR testing with Anthony
                                                                                                                          DEVELOPMENT [laser-dev@ot.to]                                                                    Levandowski.

280   UBER00235731      6/8/2016    9 33 PM    Anthony Levandowski                   Eric Meyhofer; Anthony Levandowski                                                                                    Text Message    Text message with Anthony Levandowski
      UBER00235732                                                                                                                                                                                                         attaching LiDAR photo.
      UBER00235733




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281   UBER00235737      6/9/2016    7 10 AM    Anthony Levandowski                   Eric Meyhofer; Anthony Levandowski                                                                                                         Text Messages   Text message with Anthony Levandowski
      UBER00235738                                                                                                                                                                                                                              regarding laser.
      UBER00235744
      UBER00235745
      UBER00235751
      UBER00235752
      UBER00235753
      UBER00235754
      UBER00235767
      UBER00235768
      UBER00235769
      UBER00235771
      UBER00235772
282   UBER00076436      6/9/2016               Dan Gruver                            Dan Gruver; James Hasliml Sameer                                                Upstairs Fishbowl (Propeller Room)   737 Harrison Street, Calendar File    Calendar invitation to 6/9/2016 LiDAR standup
                                                                                     Kshirsagar; Asheem Linaval; Adam                                                [ot.to_h16l0u3mvm6sg8qos43gsrjvh4    San Francisco                         meeting at 6:00-6:30pm.
                                                                                     Kenvarg; Michael Karasoff; Ben Butin;                                           @group.calendar.google.com]
                                                                                     Nancy Sun; John Tobias; Gaetan
                                                                                     Pennecot; Carolyn Finney; Eyal Cohen;
                                                                                     Prashant Chouta; Felipe Caldeira;
                                                                                     Thomas Smith; Ronen Sarig; Yuan Liu;
                                                                                     Dante Rivera; Will Treichler; Radu
                                                                                     Raduta; Michael Tocce; Max
                                                                                     Levandowski; Daniel Shafrir; Sara Glick;
                                                                                     Marlon Bocalan; Florin Ignatescu; Filip
                                                                                     Trojanek; Anthony Levandowski; Paige
                                                                                     Recker; Brent Schwarz; Tanya Sumang;
                                                                                     Matthew Palomar; Soren Juelsgaard; Tri
                                                                                     Luong; Zandrea Roz; George Lagui

283   UBER00076584      6/9/2016    3:19 PM    Anthony Levandowski                   Scott Boehmke                              Dan Gruver; James Haslim                                                                        E-Mail          Email regarding beam spacing.

284                     6/9/2016               Anthony Levandowski                   Gaetan Pennecot; James Haslim                                                                                        737 Harrison Street, Meeting          Meeting regarding LiDAR design.
                                                                                                                                                                                                          San Francisco
285   UBER00008510      6/9/2016    3:11 AM    Daniel Gruver                         Scott Boehmke                              Anthony Levandowski; James Haslim                                                               E-Mail          Email with Anthony Levandowski discussing
                                                                                                                                                                                                                                                beam placement and beam groupings.
286   UBER00008553      6/9/2016    12:41 PM   Scott Boehmke                         Dan Gruver                                 Anthony Levandowski; James Haslim                                                               E-Mail          Email with Anthony Levandowski discussing
                                                                                                                                                                                                                                                beam placement and spacing.

287   UBER00008564      6/9/2016    3:19 PM    Anthony Levandowski                   Scott Boehmke                              Dan Gruver; James Haslim                                                                        E-Mail          Email regarding testing related to LiDAR.

288   UBER00076426      6/10/2016              Travis Kalanick                       Travis Kalanick; Jeff Miller; Raffi                                                                                  NYC (Chelsea)-Red                     Calendar invitation for 6/10/2016 "birdhouse"
                                                                                     Krikorian; Justin Ho; Noah Zych; Neil                                                                                Hook                                  meeting at 8:30-10:30pm.
                                                                                     Stegall; Anthony Levandowski; David
                                                                                     Richter; Sherif Markaby                                                                                              3011 Smallman,
                                                                                                                                                                                                          Pittsburgh


                                                                                                                                                                                                          1455 Market Street,
                                                                                                                                                                                                          San Francisco
289   UBER00008557      6/10/2016   7:29 AM    Daniel Gruver                         Anthony Levandowski                        Scott Boehmke; James Haslim                                                                     E-Mail          Email with Anthony Levandowski discussing
                                                                                                                                                                                                                                                beam placement and spacing.

290   UBER00076766      6/13/2016              Brent Schwarz                         Brent Schwarz; James Haslim; Sunny                                                                                   737 Harrison Street, Calendar File    Calendar invitation for meeting with third party
                                                                                     Chen; Dan Gruver;                                                                                                    San Francisco                                       at 11:30am-1:30pm.


291   UBER00076354      6/15/2016   4:15 AM    Anthony Levandowski                   Dan Gruver                                                                                                                                 E-Mail          Email regarding meeting with third party           .

292   UBER00076765      6/15/2016              Brent Schwarz                         Brent Schwarz; Helene Stievenard;                                                                                    737 Harrison Street, Calendar File    Calendar invitation for meeting with third party
                                                                                                                                                                                                          San Francisco                             at 2:00-2:30pm.



293   UBER00011177      6/15/2016   3:14 AM    Daniel Gruver                         Anthony Levandowski; James Haslim          Soren Juelsgaard; Gaetan Pennecot;                                                              E-Mail          Email with Anthony Levandowski circulating
                                                                                                                                Mike Karasoff                                                                                                   block diagram for the Spider system.




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      (as applicable)                                                                                                                                                                                                   Communication

294   UBER00008495      6/16/2016   1:14 PM    Scott Boehmke                         Anthony Levandowski                            Dan; James Haslim; Eric Meyhofer                                                    E-Mail            Email with Anthony Levandowski discussing
                                                                                                                                                                                                                                          beam placement and beam groupings.

295   UBER00011167      6/16/2016   2:32 PM    Mike Karasoff                         Dan Gruver; James Haslim                                                                                                           E-Mail            Email with Anthony Levandowski discussing
                                                                                                                                                                                                                                          microcontroller and block diagram.

296   UBER00011181      6/16/2016   3:02 PM    Daniel Gruver                         Mike Karasoff                                  James Haslim                                                                        E-Mail            Email with Anthony Levandowski discussing
                                                                                                                                                                                                                                          microcontroller and block diagram.

297   UBER00065138      6/17/2016              Travis Kalanick                       Travis Kalanick; Anthony Levandowski;                                                                        3011 Smallman,        Calendar File     Calendar invitation for 6/17/2016 "birdhouse"
                                                                                     Raffi Krikorian; David Richter; Jeff Miller;                                                                 Pittsburgh                              meeting at 10:00pm.
                                                                                     Noah Zych; Justin Ho; Neil Stegall; Sherif
                                                                                     Marakby                                                                                                      1455 Market Street,
                                                                                                                                                                                                  San Francisco
298   UBER00075977      6/18/2016   10:17 PM   Anthony Levandowski                   Vincent Tran                                   Eng-ops [eng-ops@ot.to]                                                             E-Mail            Email regarding vehicle testing results.

299   UBER00065139      6/18/2016              Travis Kalanick                       Travis Kalanick; Sherif Marakby; Jeff                                                                        3011 Smallman,        Calendar File     Calendar invitation for 6/18/2016 "birdhouse"
                                                                                     Miller; Justin Ho; Anthony Levandowski;                                                                      Pittsburgh                              meeting at 5:30-7:00pm.
                                                                                     Raffi Krikorian; Neil Stegall; Noah Zych;
                                                                                     David Richter                                                                                                1455 Market Street,
                                                                                                                                                                                                  San Francisco
300   UBER00012093      6/18/2016   11:24 PM   Matt Grigsby                          Anthony Levandowski                            Vincent Tran; Eng-ops [eng-ops@ot.to]                                               E-Mail            Email discussing Otto2 system disengages with
                                                                                                                                                                                                                                          Anthony Levandowski.

301   UBER00075980      6/19/2016   1:44 AM    Anthony Levandowski                   Matt Grigsby                                   Vincent Tran; Eng-ops [eng-ops@ot.to]                                               E-Mail            Email regarding vehicle testing results.

302   UBER00076240      6/19/2016   8:38 AM    Anthony Levandowski                   Claire Delaunay                                                                                                                    E-Mail            Email regarding vehicle testing results.

303   UBER00012085      6/19/2016   4:47 AM    Claire Delaunay                       Anthony Levandowski                            Eng-ops [eng-ops@ot.to]; Vincent Tran                                               E-Mail            Email discussing Otto2 system disengages with
                                                                                                                                                                                                                                          Anthony Levandowski.
304   UBER00012089      6/19/2016   10:35 PM   Claire Delaunay                       Don Burnette                                   Anthony Levandowski; Eng-ops [eng-                                                  E-Mail            Email discussing Otto2 system disengages with
                                                                                                                                    ops@ot.to]; Vincent Tran                                                                              Anthony Levandowski.

305   UBER00235791      6/20/2016   2 54 PM    Anthony Levandowski                   Eric Meyhofer; Anthony Levandowski                                                                                                 Text Message      Text messages with Anthony Levandowski
      UBER00235792                                                                                                                                                                                                                        regarding laser requirements.

306   UBER00301268      6/21/2016   6 28 PM    Anthony Levandowski                   Don Burnette; Anthony Levandowski                                                                                                  Text Messages     Text messages from Anthony Levandowski
      UBER00301269                                                                                                                                                                                                                        regarding lasers.
      UBER00301270
      UBER00301271
      UBER00301272

307   UBER00301552      6/21/2016   6 31 PM    Anthony Levandowski                   Don Burnette; Anthony Levandowski                                                                                                  Text Messages     Text messages with Anthony Levandowski
                                                                                                                                                                                                                                          regarding laser.

308   UBER00235842      6/21/2016   6 44 PM    Anthony Levandowski                   Eric Meyhofer; Anthony Levandowski                                                                                                 Text Message      Text messages with Anthony Levandowski
                                                                                                                                                                                                                                          regarding lasers.

309   UBER00076303      6/21/2016   7:07 PM    Anthony Levandowski                   Jeff Holden                                                                                                                        E-Mail            Email regarding engineering team assignments
                                                                                                                                                                                                                                          and planning.

310   UBER00076299      6/21/2016   10:50 PM   Anthony Levandowski                   Jeff Holden                                                                                                                        E-Mail            Email regarding engineering team assignments
                                                                                                                                                                                                                                          and planning.
311   UBER00076305      6/21/2016   10:51 PM   Anthony Levandowski                   Jeff Holden                                                                                                                        E-Mail            Email regarding engineering team assignments
                                                                                                                                                                                                                                          and planning.

312   UBER00076301      6/21/2016   11:13 PM   Anthony Levandowski                   Jeff Holden                                                                                                                        E-Mail            Email regarding engineering team assignments
                                                                                                                                                                                                                                          and planning.

313   UBER00076676      6/21/2016   11:02 PM   Anthony Levandowski                   Jay Liebowitz                                  Anthony Levandowski; Sabbir                                                         E-Mail; Meeting   Email regarding 6/21/16 phone call between
                                                                                     [jliebowitz@princetonlightwave.com]            Rangwala                                                                            (notes)           Anthony Levandowski and third party Princeton
                                                                                                                                    [srangwala@princetonlightwave.com];                                                                   Lightwave representative Jay Sabbir.
                                                                                                                                    James Haslim; Dan Gruver
314   UBER00076229      6/22/2016   12:02 AM   Anthony Levandowski                   Robbie Miller                                                                                                                      E-Mail            Email regarding status of vehicles as online or
                                                                                                                                                                                                                                          offline.




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No.   Bates Number      Date        Time       Author/Sent                           Recipient(s)                                CC                                       BCC                                  Place                 Mode of         Subjects Discussed
      (as applicable)                                                                                                                                                                                                                Communication

315   UBER00301273      6/22/2016   3 02 PM    Anthony Levandowski                   Don Burnette; Anthony Levandowski                                                                                                               Text Messages   Text messages with Anthony Levandowski
      UBER00301274                                                                                                                                                                                                                                   regarding localization and lasers.
      UBER00301275
      UBER00301276
      UBER00301277
      UBER00301278
      UBER00301279
      UBER00301280
316   UBER00076035      6/23/2016   10:13 PM   Anthony Levandowski                   Rhian Morgan                                Lior Ron                                                                                            E-Mail          Email regarding recruitment for laser team.

317   UBER00076437      6/23/2016              Dan Gruver                            Dan Gruver; Anthony Levandowski;                                                     Upstairs Fishbowl (Propeller Room)   737 Harrison Street, Calendar File    Calendar invitation to 6/23/2016 LiDAR standup
                                                                                     Dante Rivera; Soren Juelsgaard; James                                                [ot.to_h16l0u3mvm6sg8qos43gsrjvh4    San Francisco                         meeting at 6:00-6:30pm.
                                                                                     Haslim; Max Levandowski; Tri Luong;                                                  @group.calendar.google.com]
                                                                                     Michael Karasoff; Eyal Cohen; Tanya
                                                                                     Sumang; Brent Schwarz; Felipe Caldeira;
                                                                                     Prashant Chouta; Gaetan Pennecot;
                                                                                     Daniel Shafrir; Ben Butin; Marlon
                                                                                     Bocalan; Thomas Smith; George Lagui;
                                                                                     Paige Recker; Zandrea Rox; Adam
                                                                                     Kenvarg; Michael Tocce; Filip Trojanek;
                                                                                     Sara Glick; Sameer Kshirsagar; John
                                                                                     Tobias; Asheem Linaval; Florin
                                                                                     Ignatescu; Yuan Liu; Ronen Sarig; Radu
                                                                                     Raduta; Will Treichler; Carlyn Finney;
                                                                                     Matthew Palomar; Nancy Sun
318   UBER00076635      6/23/2016   1:08 AM    Anthony Levandowski                   Gaetan Pennecot                                                                                                                                 E-Mail          Email regarding quote request for third party
                                                                                                                                                                                                                                                                    lens.

319   UBER00076034      6/24/2016   6:03 AM    Anthony Levandowski                   Rhian Morgan                                Lior Ron                                                                                            E-Mail          Email regarding recruitment for laser team.

320   UBER00076228      6/24/2016   6:05 AM    Anthony Levandowski                   Robbie Miller                                                                                                                                   E-Mail          Email regarding status of vehicles as online or
                                                                                                                                                                                                                                                     offline.

321   UBER00076230      6/24/2016   2:48 PM    Anthony Levandowski                   Robbie Miller                                                                                                                                   E-Mail          Email regarding status of vehicles as online or
                                                                                                                                                                                                                                                     offline.

322   UBER00011588      6/24/2016   9:36 PM    Gaetan Pennecot                       Anthony Levandowski                                                                                                                             E-Mail          Email regarding LiDAR parts from
                                                                                                                                                                                                                                                            with Anthony Levandowski.

323   UBER00076409      6/25/2016   11:15 AM   Anthony Levandowski                   Colin Sebern                                Soren Juelsgaard; Claire Delaunay                                                                   E-Mail          Email regarding vehicle computer monitor.

324   UBER00076092      6/26/2016   2:04 AM    Anthony Levandowski                   Claire Delaunay                             Soren Juelsgaard; Colin Sebern                                                                      E-Mail          Email regarding vehicle computer monitor.

325   UBER00076095      6/26/2016   2:43 PM    Anthony Levandowski                   Colin Sebern                                Claire Delaunay; Soren Juelsgaard                                                                   E-Mail          Email regarding vehicle computer monitor.

326   UBER00075978      6/27/2016   3:03 AM    Anthony Levandowski                   James Haslim; Mike Karasoff; Claire         Robbie Miller                                                                                       E-Mail          Email regarding repair for vehicle laser.
                                                                                     Delaunay
327   UBER00075982      6/27/2016   3:32 AM    Anthony Levandowski                   James Haslim                                Mike Karasoff; Claire Delaunay; Robbie                                                              E-Mail          Email regarding repair for vehicle laser.
                                                                                                                                 Miller

328   UBER00076094      6/27/2016   5:09 PM    Anthony Levandowski                   Claire Delaunay                             Soren Juelsgaard; Colin Sebern                                                                      E-Mail          Email regarding vehicle access.

329   UBER00075986      6/27/2016   5:21 PM    Anthony Levandowski                   Colin Sebern                                Claire Delaunay; Soren Juelsgaard;                                                                  E-Mail          Email regarding vehicle access.
                                                                                                                                 James Haslim
330   UBER00065140      6/27/2016              Travis Kalanick                       Travis Kalanick; Sherif Marakby; Noah                                                                                     3011 Smallman,        Calendar File   Calendar invitation for 6/27/2016 "birdhouse"
                                                                                     Zych; David Richter; Jeff Miller; Anthony                                                                                 Pittsburgh                            meeting at 5:30-7:00pm.
                                                                                     Levandowski; Neil Stegall; Raffi
                                                                                     Krikorian; Justin Ho                                                                                                      1455 Market Street,
                                                                                                                                                                                                               San Francisco
331   UBER00301284      6/27/2016   8 52 PM    Anthony Levandowski                   Don Burnette; Anthony Levandowski                                                                                                               Text Message    Text message with Anthony Levandowski
                                                                                                                                                                                                                                                     regarding lasers.
332   UBER00016585      6/27/2016   10:58 PM                                                                                                                                                                                         Document        Document regarding laser specifications.

333   UBER00076233      6/28/2016   5:46 AM    Anthony Levandowski                   Gaetan Pennecot                             Dan Gruver                                                                                          E-Mail          Email regarding quote from third party


334   UBER00076410      6/28/2016   10:50 AM   Anthony Levandowski                   Soren Juelsgaard                                                                                                                                E-Mail          Email regarding status of vehicles as online or
                                                                                                                                                                                                                                                     offline.




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      (as applicable)                                                                                                                                                                                            Communication

335   UBER00076417      6/28/2016   3:19 PM    Anthony Levandowski                 Soren Juelsgaard                                                                                                              E-Mail          Email regarding status of vehicles as online or
                                                                                                                                                                                                                                 offline.

336   UBER00076110      6/28/2016   9:37 PM    Google Calendar [calendar-          Alicia Poling                                                                                                3011 Smallman,   Calendar File   Accepted calendar invite for 6/29/2016 meeting
                                               notification@google.com]                                                                                                                         Pittsburgh                       at 4:15-5:15 for "Laser beam pattern sync."
337   UBER00076111      6/28/2016   9:37 PM    Anthony Levandowski                 Eric Meyhofer; Anthony Levandowski                                                                           3011 Smallman,   Calendar File   Confirmed calendar invite for 6/29/2016 meeting
                                                                                                                                                                                                Pittsburgh                       at 4:15-5:15 for "Laser beam pattern sync."

338   UBER00076284      6/28/2016   9:37 PM    Google Calendar [calendar-          Eric Meyhofer                                                                                                3011 Smallman,   Calendar File   Accepted calendar invite for 6/29/2016 meeting
                                               notification@google.com]                                                                                                                         Pittsburgh                       at 4:15-5:15 for "Laser beam pattern sync."


339   UBER00076600      6/28/2016   5:46 AM    Anthony Levandowski                 Gaetan Pennecot                      Dan Gruver                                                                               E-Mail          Email regarding quote request for third party
                                                                                                                                                                                                                                                  lens.

340   UBER00076588      6/28/2016   10:58 AM   Anthony Levandowski                 James Haslim                                                                                                                  E-Mail          Email regarding quote from third party          .

341   UBER00076589      6/28/2016   10:58 AM                                                                                                                                                                     Attachment      Attachment regarding quote from third party


342   UBER00076596      6/28/2016   10:58 AM                                                                                                                                                                     Attachment      Attachment regarding quote from third party


343   UBER00076573      6/28/2016   9:37 PM    Google Calendar [calendar-          Alicia Poling                                                                                                3011 Smallman,   Calendar File   Accepted calendar invitation for 6/29/16 laser
                                               notification@google.com]                                                                                                                         Pittsburgh                       beam pattern sync meeting at 4:15-5:15pm.

344   UBER00076574      6/28/2016   9:37 PM    Anthony Levandowski                 Eric Meyhofer; Anthony Levandowski                                                                           3011 Smallman,   Calendar File   Calendar invitation for 6/29/16 laser beam
                                                                                                                                                                                                Pittsburgh                       pattern sync meeting at 4:15-5:15pm.
345   UBER00076605      6/28/2016   9:37 PM    Google Calendar [calendar-          Eric Meyhofer                                                                                                3011 Smallman,   Calendar File   Accepted calendar invitation for 6/29/16 laser
                                               notification@google.com]                                                                                                                         Pittsburgh                       beam pattern sync meeting at 4:15-5:15pm.

346   UBER00076606      6/28/2016   9:37 PM    Anthony Levandowski                 Eric Meyhofer; Anthony Levandowski                                                                           3011 Smallman,   Calendar File   Calendar invitation for 6/29/16 laser beam
                                                                                                                                                                                                Pittsburgh                       pattern sync meeting at 4:15-5:15pm.

347   UBER00076582      6/29/2016   4:34 PM    Anthony Levandowski                 James Haslim                                                                                                                  E-Mail          Email regarding quote from third party          .
348   UBER00075963      6/30/2016   3:51 AM    Anthony Levandowski                 Eric Berdinis                        Lior Ron                                                                                 E-Mail          Email regarding Tranport Topics news article
                                                                                                                                                                                                                                 regarding third party ZF.
349   RON0000416        6/30/2016   4 52 AM    Anthony Levandowski                 Lior Ron; John Zimmer; Anthony                                                                                                Text Message    Text message with Anthony Levandowski
                                                                                   Levandowski                                                                                                                                   regarding laser team.
350   UBER00075961      6/30/2016   5:46 AM    Anthony Levandowski                 Lior Ron                             Eric Berdinis                                                                            E-Mail          Email regarding Tranport Topics news article
                                                                                                                                                                                                                                 regarding third party ZF.

351   UBER00076578      6/30/2016   5:45 AM    Anthony Levandowski                 Scott Boehmke                        Eric Meyhofer; David Rice; James                                                         E-Mail          Email regarding beam spacing.
                                                                                                                        Haslim
352   UBER00076627      6/30/2016   5:47 AM    Anthony Levandowski                 Gaetan Pennecot                      James Haslim; Brent Schwarz                                                              E-Mail          Email regarding quote request for third party
                                                                                                                                                                                                                                                lens.

353   UBER00008502      6/30/2016   4:56 PM    Scott Boehmke                       Anthony Levandowski                  Eric Meyhofer; David Rice                                                                E-Mail          Email with Anthony Levandowski discussing
                                                                                                                                                                                                                                 radar implementation.
354   UBER00008518      6/30/2016   5:55 AM    James Haslim                        Anthony Levandowski                  Scott Boehmke; Eric Meyhofer; David                                                      E-Mail          Email with Anthony Levandowski discussing
                                                                                                                        Rice                                                                                                     beam positioning tolerance.

355                     6/30/2016   4 02 PM    Anthony Levandowski                 Lior Ron; Anthony Levandowski                                                                                                 Text Messages   Text messages with Anthony Levandowski
      RON0000458                                                                                                                                                                                                                 regarding LiDAR.
      RON0000459
      RON0000460
      RON0000461
      RON0000462
      RON0000463
      RON0000464
      RON0000465
      RON0000466
356   UBER00075985      7/1/2016    3:32 AM    Anthony Levandowski                 Dan Gruver                           Lior Ron; James Haslim                                                                   E-Mail          Email regarding YouTube video from third party
                                                                                                                                                                                                                                 Velodyne.
357   UBER00076572      7/1/2016    3:32 AM    Anthony Levandowski                 Dan Gruver                           Lior Ron; James Haslim                                                                   E-Mail          Email regarding video with Velodyne
                                                                                                                                                                                                                                 placements.




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      (as applicable)                                                                                                                                                                                                   Communication

358   RON0000469        7/1/2016    4 10 PM    Anthony Levandowski                   Lior Ron; Anthony Levandowski                                                                                                      Text Messages   Text messages with Anthony Levandowski
      RON0000470                                                                                                                                                                                                                        regarding LiDAR news article.

359                     7/1/2016    9:53 PM    Anthony Levandowski                   James Haslim                                                                                                                       Text Messages   Text messages from Anthony Levandowski
                                                                                                                                                                                                                                        regarding fiber to apd alignment.

360   RON0000471        7/2/2016    4 13 AM    Anthony Levandowski                   Lior Ron; Anthony Levandowski                                                                                                      Text Messages   Text messages with Anthony Levandowski
      RON0000472                                                                                                                                                                                                                        regarding LiDAR discussion.

361   UBER00065141      7/5/2016               Travis Kalanick                       Travis Kalanick; David Richter; Justin Ho;                                                                   3011 Smallman,        Calendar File   Calendar invitation for 7/5/2016 "birdhouse"
                                                                                     Jeff Miller; Anthony Levandowski; Neil                                                                       Pittsburgh                            meeting at 9:00-11:00pm.
                                                                                     Stegall; Sherif Marakby; Noah Zych; Raffi
                                                                                     Krikorian                                                                                                    1455 Market Street,
                                                                                                                                                                                                  San Francisco
362                     7/6/2016    3:55 AM    Anthony Levandowski                   Gaetan Pennecot                                                                                                                    Text Message    Text message from Anthony Levandowski
                                                                                                                                                                                                                                        regarding receipt of motor.

363   UBER00301298      7/6/2016    7 04 AM    Anthony Levandowski                   Don Burnette; Anthony Levandowski                                                                                                  Text Messages   Text messages with Anthony Levandowski
      UBER00301299                                                                                                                                                                                                                      regarding perception and lasers.
      UBER00301300
      UBER00301301
      UBER00301302
      UBER00301303
      UBER00301304
      UBER00301305
      UBER00301306
      UBER00301307
364                     7/6/2016    11:57 AM   Anthony Levandowski                   Gaetan Pennecot                                                                                                                    Text Message    Text message from Anthony Levandowski with
                                                                                                                                                                                                                                        photo of motor.
365   RON0000477        7/7/2016    7 10 AM    Anthony Levandowski                   Lior Ron; Anthony Levandowski                                                                                                      Text Messages   Text messages with Anthony Levandowski
      RON0000478                                                                                                                                                                                                                        regarding self-driving vehicle with LiDAR.
      RON0000479
      RON0000480
      RON0000481
      RON0000482
      RON0000483
366   UBER00076581      7/7/2016    7:27 PM    Anthony Levandowski                                                                Dan Gruver; James Haslim                                                              E-Mail          Email regarding information from third party
                                                                                                                                                                                                                                        Boulder Nonlinear Systems website.
367   UBER00076622      7/8/2016    4:37 AM    Anthony Levandowski                   James Haslim                                 Dan Gruver; Brent Schwarz; Max                                                        E-Mail          Email regarding quote from third party
                                                                                                                                  Levandowski; Gaetan Pennecot

368   UBER00076617      7/8/2016    1:54 PM    Anthony Levandowski                   James Haslim                                 Dan Gruver; Brent Schwarz; Max                                                        E-Mail          Email regarding quote from third party
                                                                                                                                  Levandowsk; Gaetan Pennecot

369   UBER00076613      7/8/2016    4:05 PM    Anthony Levandowski                   James Haslim                                 Dan Gruver; Brent Schwarz; Max                                                        E-Mail          Email regarding quote from third party
                                                                                                                                  Levandowsk; Gaetan Pennecot

370   UBER00011306      7/8/2016    4:47 AM    James Haslim                          Anthony Levandowski                          Dan Gruver; Brent Schwarz; Max                                                        E-Mail          Email regarding               technologies and
                                                                                                                                  Levandowski; Gaetan Pennecot                                                                          purchase of technology.
371   UBER00011310      7/8/2016    2:21 PM    James Haslim                          Anthony Levandowski                          Dan Gruver; Brent Schwarz; Max                                                        E-Mail          Email regarding               technologies and
                                                                                                                                  Levandowski; Gaetan Pennecot                                                                          purchase of technology.

372   UBER00076237      7/9/2016    5:23 AM    Anthony Levandowski                   Gaetan Pennecot                                                                                                                    E-Mail          Email regarding quote from third party
                                                                                                                                                                                                                                                    .
373   UBER00076239      7/9/2016    5:23 AM                                                                                                                                                                             Attachment      Attachment with quote from third party


374   UBER00076006      7/10/2016   6:30 AM    Anthony Levandowski                   James Haslim                                                                                                                       E-Mail          Email regarding research articles on beam
                                                                                                                                                                                                                                        steering.
375                     7/10/2016   3:01 AM    Anthony Levandowski                   Gaetan Pennecot                                                                                                                    Text Messages   Text messages from Anthony Levandowski
                                                                                                                                                                                                                                        regarding spdt machine.

376   UBER00076411      7/12/2016   6:55 AM    Anthony Levandowski                   Soren Juelsgaard                                                                                                                   E-Mail          Email regarding status of vehicles as online or
                                                                                                                                                                                                                                        offline.




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      (as applicable)                                                                                                                                                                                                    Communication

377   UBER00065142      7/12/2016              Travis Kalanick                       Travis Kalanick; Neil Stegall; David                                                                          3011 Smallman,        Calendar File   Calendar invitation for 7/5/2016 "birdhouse"
                                                                                     Richter; Sherif Marakby; Raffi Krikorian;                                                                     Pittsburgh                            meeting at 9:30-11:30pm.
                                                                                     Jeff Miller; Noah Zych; Anthony
                                                                                     Levandowski; Justin Ho                                                                                        1455 Market Street,
                                                                                                                                                                                                   San Francisco
378                     7/12/2016   6:52 PM    Anthony Levandowski                   Gaetan Pennecot                                                                                                                     Text Message    Text message from Anthony Levandowski
                                                                                                                                                                                                                                         regarding status of spdt machine.
379   UBER00076207      7/13/2016   10:04 AM   Anthony Levandowski                   Claire Delaunay; Don Burnette                                                                                                       E-Mail          Email regarding status of LiDAR data.
380   UBER00075966      7/13/2016   11:04 AM   Anthony Levandowski                   Lior Ron                                    Eric Berdinis                                                                           E-Mail          Email regarding Tranport Topics news article
                                                                                                                                                                                                                                         regarding third party ZF.

381   UBER00076792      7/13/2016              Anthony Levandowski                   Lisa Weitekamp                                                                                                3011 Smallman,        Meeting         Meeting regarding AVMaps. No specific
                                                                                                                                                                                                   Pittsburgh                            recollection regarding whether Anthony
                                                                                                                                                                                                                                         Levandowski attended in person or by Zoom.

382   UBER00012004      7/13/2016   9:37 PM    Drew Bagnell                          Matt Harris                                                                                                                         E-Mail          Email regarding future meeting with Anthony to
                                                                                                                                                                                                                                         discuss LiDAR streetside data.
383   RON0000505        7/14/2016   1 03 AM    Anthony Levandowski                   Lior Ron; Anthony Levandowski                                                                                                       Text Messages   Text messages with Anthony Levandowski
      RON0000506                                                                                                                                                                                                                         regarding laser discussion.
384   RON0000518        7/15/2016   5 08 AM    Anthony Levandowski                   Lior Ron; Anthony Levandowski                                                                                                       Text Messages   Text messages with Anthony Levandowski
      RON0000519                                                                                                                                                                                                                         regarding laser.
385   UBER00235864      7/15/2016   7 42 PM    Anthony Levandowski                   Eric Meyhofer; Anthony Levandowski                                                                                                  Text Messages   Text messages with Anthony Levandowski
      UBER00235865                                                                                                                                                                                                                       regarding news article on LiDAR.
      UBER00235866
      UBER00235867
      UBER00235868
      UBER00235869
386   UBER00076015      7/16/2016   8:00 AM    Anthony Levandowski                   Dan Gruver; James Haslim; Brent                                                                                                     E-Mail          Email regarding quote and orders from third
                                                                                     Schwarz                                                                                                                                             party              .

387   UBER00076017      7/16/2016   8:00 AM                                                                                                                                                                              Attachment      Attachment regarding quote from third party


388   UBER00076020      7/16/2016   8:00 AM                                                                                                                                                                              Attachment      Attachment regarding order from third party


389   UBER00076021      7/16/2016   8:00 AM                                                                                                                                                                              Attachment      Attachment regarding order from third party
                                                                                                                                                                                                                                                   .
390   RON0000535        7/17/2016   6 14 PM    Anthony Levandowski                   Lior Ron; Anthony Levandowski                                                                                                       Text Messages   Text messages with Anthony Levandowski
      RON0000536                                                                                                                                                                                                                         regarding laser discussion.
      RON0000537
      RON0000538
      RON0000539
      RON0000540
      RON0000541
391   UBER00012003      7/19/2016   3:21 PM    Drew Bagnell                          Raffi Krikorian; Rachel Keitzer                                                                                                     E-Mail          Email regarding Anthony's concerns with Ladar
                                                                                                                                                                                                                                         planning and future meetings.

392   UBER00076438      7/21/2016              Dan Gruver                            Dan Gruver; Felipe Caldeira; Sara Glick;                                 Upstairs Fishbowl (Propeller Room)   737 Harrison Street, Calendar File    Calendar invitation to 7/21/2016 LiDAR standup
                                                                                     John Tobias; Daniel Shafrir; Gaetan                                      [ot.to_h16l0u3mvm6sg8qos43gsrjvh4    San Francisco                         meeting at 6:00-6:30pm.
                                                                                     Pennecot; Adam Kenvarg; Will Tricher;                                    @group.calendar.google.com]
                                                                                     George Lagui; Yuan Liu; Thomas Smith;
                                                                                     Eyal Cohen; Anthony Levandowski; Max
                                                                                     Levandowski; Ronen Sarig; Zandrea
                                                                                     Rox; Michael Karasoff; Dante Rivera;
                                                                                     Breant Schwarz; Ben Butin; Sameer
                                                                                     Kshirsagar; Prashant Chouta; Matthew
                                                                                     Palomar; Tri Luong; James Haslim;
                                                                                     Paige Recker; Florin Ignatescu; Nancy
                                                                                     Sun; Tanya Sumang; Filip Trojanek;
                                                                                     Radu Raduta; Asheel Linaval; Soren
                                                                                     Juelsgaard; Marlon Bocalan; Carolyn
393   UBER00011992      7/23/2016   2:51 AM    Rachel Keitzer                        Drew Bagnell                                Raffi Krikorian                                                                         E-Mail          Email regarding Anthony's concerns with Ladar
                                                                                                                                                                                                                                         planning and future meetings.




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      (as applicable)                                                                                                                                                                                                   Communication

394   UBER00011994      7/23/2016   11:47 AM   Rachel Keitzer                        Raffi Krikorian                            Drew Bagnell                                                                            E-Mail          Email regarding Anthony's concerns with Ladar
                                                                                                                                                                                                                                        planning and future meetings.
395   UBER00011997      7/23/2016   11:43 AM   Raffi Krikorian                       Rachel Keitzer; Drew Bagnell                                                                                                       E-Mail          Email regarding Anthony's concerns with Ladar
                                                                                                                                                                                                                                        planning and future meetings.

396   UBER00011999      7/23/2016   11:20 AM   Drew Bagnell                          Rachel Keitzer                             Raffi Krikorian                                                                         E-Mail          Email regarding Anthony's concerns with Ladar
                                                                                                                                                                                                                                        planning and future meetings.

397   UBER00012001      7/23/2016   11:38 AM   Rachel Keitzer                        Drew Bagnell                               Raffi Krikorian                                                                         E-Mail          Email regarding Anthony's concerns with Ladar
                                                                                                                                                                                                                                        planning and future meetings.

398   UBER00012017      7/23/2016   1:37 AM    Rachel Keitzer                        Raffi Krikorian                                                                                                                    E-Mail          Email regarding meeting with Levandowski
                                                                                                                                                                                                                                        regarding LiDAR issues.
399   UBER00012018      7/23/2016   1:48 AM    Rachel Keitzer                        Raffi Krikorian                                                                                                                    E-Mail          Email regarding meeting with Levandowski
                                                                                                                                                                                                                                        regarding LiDAR issues.

400   UBER00065143      7/25/2016              Travis Kalanick                       Travis Kalanick; Justin Ho; Jeff Miller;                                                                     3011 Smallman,        Calendar File   Calendar invitation for 7/5/2016 "birdhouse"
                                                                                     Anthony Levandowski; David Richter;                                                                          Pittsburgh                            meeting at 8:30-10:00pm.
                                                                                     Raffi Krikorian; Neil Stegall; Sherif
                                                                                     Marakby; Noah Zych                                                                                           1455 Market Street,
                                                                                                                                                                                                  San Francisco
401   UBER00011975      7/26/2016   1:32 PM    Drew Bagnell                           Scott Boehmke; Brian Zajack; Carl                                                                           3011 Smallman,        Calendar File   Calendar invitation for 7/28/2016 Ladar planning
                                                                                     Wellington; Eric Meyhofer; Anthony                                                                           Pittsburgh                            meeting at 2:30-3:30pm.
                                                                                     Levandowski; Peter Melick; Drew Bagnell


402   UBER00011976      7/26/2016   1:32 PM    Drew Bagnell                           Scott Boehmke; Brian Zajack; Carl                                                                           3011 Smallman,        Calendar File   Calendar invitation for 7/28/2016 Ladar planning
                                                                                     Wellington; Eric Meyhofer; Anthony                                                                           Pittsburgh                            meeting at 2:30-3:30pm.
                                                                                     Levandowski; Peter Melick; Drew Bagnell


403   UBER00235917      7/26/2016   7 08 PM    Anthony Levandowski                   Eric Meyhofer; Anthony Levandowski                                                                                                 Text Messages   Text messages with Anthony Levandowski
      UBER00235918                                                                                                                                                                                                                      regarding lasers.
      UBER00235919
      UBER00235920
      UBER00235921
      UBER00235922
      UBER00235923
      UBER00235924
      UBER00235925
      UBER00235926

404   RON0020295        7/27/2016   4 26 AM    Anthony Levandowski                   Lior Ron                                                                                                                           Email           Email forwarding Bloomberg interview transcript.



405   UBER00235954      7/29/2016   5 38 PM    Anthony Levandowski                   Eric Meyhofer; Anthony Levandowski                                                                                                 Text Messages   Text messages with Anthony Levandowski
      UBER00235956                                                                                                                                                                                                                      regarding pucks.
      UBER00235957
      UBER00235958
      UBER00235959
      UBER00235960
      UBER00235961
      UBER00235962
      UBER00235963
      UBER00235964
406   RON0000578        8/2/2016    4 11 PM    Anthony Levandowski                   Lior Ron; Anthony Levandowski                                                                                                      Text Messages   Text messages with Anthony Levandowski
      RON0000579                                                                                                                                                                                                                        regarding LiDAR news article.




407   UBER00075983      8/2/2016    6:00 PM    Anthony Levandowski                   Dan Gruver                                 Lior Ron; James Haslim                                                                  E-Mail          Email discussing third party

408   UBER00075959      8/4/2016    5:44 AM    Anthony Levandowski                   Robbie Miller                              Eng-ops [eng-ops@ot.to]                                                                 E-Mail          Email regarding status of vehicles as online or
                                                                                                                                                                                                                                        offline.




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      (as applicable)                                                                                                                                                                                                               Communication

409   UBER00076439      8/4/2016               Dan Gruver                             Dan Ratner; Marlon Bocalan; Sara Glick;                                             Upstairs Fishbowl (Propeller Room)   737 Harrison Street, Calendar File   Calendar invitation to 8/4/2016 LiDAR standup
                                                                                      Paige Recker; Prashant Chouta; Asheem                                               [ot.to_h16l0u3mvm6sg8qos43gsrjvh4    San Francisco                        meeting at 9:30-10:00pm.
                                                                                      Linaval; Anthony Levandowski; Nancy                                                 @group.calendar.google.com]
                                                                                      Sun; Dante Rivera; Max Levandowski;
                                                                                      James Haslim; Brent Schwarz; Yuan Liu;
                                                                                      Filip Trojanek; Tanya Sumang; Florin
                                                                                      Ignatescu; Michael Tocce; Sameer
                                                                                      Kshirsagar; Matthew Palomar; Carolyn
                                                                                      Finney; Radu Raduta; Daniel Shafrir;
                                                                                      Felipe Caldeira; Zandrea Roz; Michael
                                                                                      Karasoff; Adam Kenvarg; Gaetan
                                                                                      Pennecot; Ronen Sarig; George Lagui;
                                                                                      Tri Luong; Thomas Smith; John Tobias;
                                                                                      Soren Juelsgaard; Eyal Cohen; Will
                                                                                      Treichler; Ben Butin
410   UBER00012196      8/4/2016    3:24 AM    Claire Delaunay                        Soren Juelsgaard                          Robbie Miller; Eng-ops [eng-ops@ot.to]                                                              E-Mail          Email regarding need for Anthony to send info
                                                                                                                                                                                                                                                    for radar drivers.
411   UBER00075962      8/5/2016    1:33 AM    Anthony Levandowski                    Claire Delaunay                           Otto Operations [otto-ops@ot.to];Eng-                                                               E-Mail          Email regarding LiDAR team releases.
                                                                                                                                ops [eng-ops@ot.to]
412   UBER00076079      8/5/2016    9:00 PM    Anthony Levandowski                    Michael Tocce                             Soren Juelsgaard; Claire Delaunay;                                                                  E-Mail          Email regarding priority list for vehicles and
                                                                                                                                David Weikersdorfer; Robbie Miller                                                                                  hardware.
413   UBER00012178      8/5/2016    2:50 AM    Claire Delaunay                        Soren Juelsgaard                          Anthony Levandowski; Otto Operations                                                                E-Mail          Email discussing LiDAR testing with Anthony
                                                                                                                                [otto-ops@ot.to]; Eng-ops [eng-                                                                                     Levandowski.
                                                                                                                                ops@ot.to]; Lior Ron
414   UBER00012181      8/5/2016    2:10 AM    Lior Ron                               Anthony Levandowski                       Claire Delaunay; Otto Operations [otto-                                                             E-Mail          Email discussing LiDAR testing with Anthony
                                                                                                                                ops@ot.to]; Eng-ops [eng-ops@ot.to]                                                                                 Levandowski.

415   UBER00012182      8/5/2016    2:53 AM    Soren Juelsgaard                       Claire Delaunay                           Anthony Levandowski; Lior Ron; Eng-                                                                 E-Mail          Email discussing LiDAR testing with Anthony
                                                                                                                                ops [eng-ops@ot.to]; Otto Operations                                                                                Levandowski.
                                                                                                                                [otto-ops@ot.to]
416   UBER00012187      8/5/2016    4:19 AM    Preston Delgado                        Soren Juelsgaard                          Claire Delaunay; Anthony Levandowski;                                                               E-Mail          Email discussing LiDAR testing with Anthony
                                                                                                                                Lior Ron; Eng-ops [eng-ops@ot.to];                                                                                  Levandowski.
                                                                                                                                Otto Operations [otto-ops@ot.to]

417   UBER00076242      8/6/2016    10:50 PM   Anthony Levandowski                    Claire Delaunay                                                                                                                               E-Mail          Email discussing overview of laser perception.

418   UBER00076158      8/6/2016    10:58 PM   Anthony Levandowski                    Claire Delaunay                           David Weikersdorfer                                                                                 E-Mail          Email discussing overview of laser perception.
419   UBER00076151      8/6/2016    11:59 PM   Anthony Levandowski                    David Weikersdorfer                       Claire Delaunay                                                                                     E-Mail          Email discussing overview of laser perception.

420   UBER00076045      8/7/2016    3:17 PM    Anthony Levandowski                    Sameer Kshirsagar                         Anthony Levandowski; Lior Ron                                                                       E-Mail          Email regarding quote and orders from third
                                                                                                                                                                                                                                                    party

421   UBER00006585      8/7/2016    3:17 PM    Anthony Levandowski                    Sameer Kshirsagar                         Anthony Levandowski; Lior Ron                                                                       E-Mail          Email update regarding fiber laser
                                                                                                                                                                                                                                                    manufacturing.
422   UBER00012175      8/8/2016    3:57 PM    Brian Gagliardi                        Michael Tocce; Scott Ryvola               Robbie Miller; Preston Delgado; Soren                                                               E-Mail          Email discussing LiDAR testing with Anthony
                                                                                                                                Juelsgaard; Claire Delaunay; Anthony                                                                                Levandowski.
                                                                                                                                Levandowski; Lior Ron; Eng-ops [eng-
                                                                                                                                ops@ot.to]; Otto Operations
423   UBER00012184      8/8/2016    3:54 PM    Scott Ryvola                           Michael Tocce                             Robbie Miller; Preston Delgado; Soren                                                               E-Mail          Email discussing LiDAR testing with Anthony
                                                                                                                                Juelsgaard; Claire Delaunay; Anthony                                                                                Levandowski.
                                                                                                                                Levandowski; Lior Ron; Eng-ops [eng-
                                                                                                                                ops@ot.to]; Otto Operations [otto-
                                                                                                                                ops@ot.to]

424   UBER00076250      8/9/2016    10:51 AM   Anthony Levandowski                    Claire Delaunay                                                                                                                               E-Mail          Email regarding LiDAR testing.
425   UBER00076249      8/9/2016    4:30 PM    Anthony Levandowski                    Claire Delaunay                                                                                                                               E-Mail          Email regarding LiDAR testing.

426   UBER00076248      8/9/2016    5:12 PM    Anthony Levandowski                    Claire Delaunay                                                                                                                               E-Mail          Email regarding LiDAR testing.
427   UBER00076209      8/9/2016    8:02 PM    Anthony Levandowski                    Don Burnette                                                                                                                                  E-Mail          Email discussing overview of laser perception.
428   UBER00006556      8/10/2016   4:03 AM    Anthony Levandowski                    Sameer Kshirsagar                         Lior Ron; Dan Gruver; James Haslim                                                                  E-Mail          Email regarding fiber laser purchases.

429   UBER00075987      8/10/2016   4:03 AM    Anthony Levandowski                    Sameer Kshirsagar                         Lior Ron; Dan Gruver; James Haslim                                                                  E-Mail          Email regarding potential LiDAR-related
                                                                                                                                                                                                                                                    purchase orders.




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      (as applicable)                                                                                                                                                                                                   Communication

430   UBER00006587      8/10/2016   5:13 AM    Lior Ron                              Sameer Kshirsagar                           Anthony Levandowski; Dan Gruver;                                                       E-Mail          Email discussing upcoming laser purchases with
                                                                                                                                 James Haslim                                                                                           Anthony Levandowski.

431   UBER00006589      8/10/2016   2:50 AM    Sameer Kshirsagar                     Anthony Levandowski; Lior Ron               Dan Gruver; James Haslim               Sameer Kshirsagar                               E-Mail          Email discussing upcoming laser purchases with
                                                                                                                                                                                                                                        Anthony Levandowski.
432   UBER00236017      8/10/2016   10 29 AM   Anthony Levandowski                   Eric Meyhofer; Anthony Levandowski                                                                                                 Text Messages   Text messages with Anthony Levandowski
      UBER00236018                                                                                                                                                                                                                      regarding Velodyne.
      UBER00236019
      UBER00236020
      UBER00236021
      UBER00236022
      UBER00236023
433   RON0000595        8/10/2016   2 41 PM    Anthony Levandowski                   Lior Ron; Anthony Levandowski                                                                                                      Text Message    Text message with Anthony Levandowski
                                                                                                                                                                                                                                        regarding laser team.
434   RON0000596        8/10/2016   3 00 PM    Anthony Levandowski                   Lior Ron; Anthony Levandowski                                                                                                      Text Messages   Text messages with Anthony Levandowski
      RON0000597                                                                                                                                                                                                                        regarding LiDAR investment.
      RON0000598

435   UBER00006597      8/10/2016   11:59 PM   Sameer Kshirsagar                     Lior Ron; Anthony Levandowski                                                      Sameer Kshirsagar                               E-Mail          Email discussing upcoming laser purchases with
                                                                                                                                                                                                                                        Anthony Levandowski.
436   UBER00076008      8/12/2016   3:19 PM    Anthony Levandowski                   Lior Ron                                    James Haslim; Claire Delaunay                                                          E-Mail          Email regarding highway LiDAR data.

437   UBER00076009      8/12/2016   8:30 PM    Anthony Levandowski                   Claire Delaunay                             Lior Ron; James Haslim; Don Burnette                                                   E-Mail          Email regarding highway LiDAR data.

438   UBER00076013      8/12/2016   10:47 PM   Anthony Levandowski                   Don Burnette                                Claire Delaunay; Lior Ron; James                                                       E-Mail          Email regarding highway LiDAR data.
                                                                                                                                 Haslim
439   UBER00071289      8/15/2016   4:00 AM    Rachel Whetstone                      Travis Kalanick; Anthony Levandowski        Jill Hazelbaker                                                                        Email           Email regarding publicity and technology.

440                     8/15/2016   10:47 AM   Anthony Levandowski                   Scott Boehmke                                                                                                                      Text Messages   Text messages including video of LiDAR laser
                                                                                                                                                                                                                                        board and fiber configuration.

441   UBER00236090      8/15/2016   10 43 PM   Anthony Levandowski                   Eric Meyhofer; Anthony Levandowski                                                                                                 Text Message    Text message with LiDAR video.
      UBER00236091
442                     8/15/2016   12:15 PM   Anthony Levandowski                   Rani Wellingstein [Oryx]; Dan Gruver;                                                                                              Meeting         Presentation regarding third party
                                                                                     James Haslim                                                                                                                                       proprietary technology. Attendance by Anthony
                                                                                                                                                                                                                                        Levandowski for discussion of         technology
                                                                                                                                                                                                                                        and roadmap, including sensors for scanning
                                                                                                                                                                                                                                        system.
443   UBER00073682      8/16/2016   2:38 PM    Anthony Levandowski                   Travis Kalanick                                                                                                                    Text Message    Text message regarding news article about Ford
                                                                                                                                                                                                                                        investment in LiDAR.

444   UBER00065144      8/16/2016              Travis Kalanick                       Travis Kalanick; Noah Zych; Anthony                                                                          3011 Smallman,        Calendar File   Calendar invitation for 8/16/2016 "birdhouse"
                                                                                     Levandowski; Jeff Miller; Sherif Marakby;                                                                    Pittsburgh                            meeting at 10:00-11:00pm.
                                                                                     Neil Stegall; Justin Ho; Raffi Krikorian;
                                                                                     David Richter                                                                                                1455 Market Street,
445   UBER00086450      8/19/2016   9:42 AM    Sameer Kshirsagar                     Sameer Kshirsagar; Anthony                                                                                                         Text Message    Message regarding potential meeting to discuss
                                                                                     Levandowski                                                                                                                                        fiber laser.


446   UBER00006561      8/19/2016   3:18 PM    Sameer Kshirsagar                     Lior Ron;Anthony Levandowski                                                       Sameer Kshirsagar                               E-Mail          Email discussing third party autonomous mining
                                                                                                                                                                                                                                        solution LiDAR specifications with Anthony
                                                                                                                                                                                                                                        Levandowski.
447   UBER00011952      8/19/2016   8:54 AM                                                                                                                                                                             Document        Document regarding laser specifications.

448   UBER00006510      8/21/2016   7:09 PM    Sameer Kshirsagar                     Lior Ron                                    Anthony Levandowski                    Sameer Kshirsagar                               E-Mail          Email discussing third party autonomous mining
                                                                                                                                                                                                                                        solution LiDAR specifications with Anthony
                                                                                                                                                                                                                                        Levandowski.

449   UBER00236129      8/22/2016   7 25 PM    Anthony Levandowski                   Eric Meyhofer; Anthony Levandowski                                                                                                 Text Message    Text message with Anthony Levandowski
                                                                                                                                                                                                                                        regarding work on laser.


450   UBER00076792      8/23/2016              Anthony Levandowski                   Lisa Weitekamp                                                                                               3011 Smallman,        Meeting         Meeting regarding AVMaps. No specific
                                                                                                                                                                                                  Pittsburgh                            recollection regarding whether Anthony
                                                                                                                                                                                                                                        Levandowski attended in person or by Zoom.




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451   UBER00017127      8/23/2016   2:04 PM                                                                                                                                                                             Document          Document regarding laser specifications.

452   UBER00075993      8/24/2016   1:48 PM    Anthony Levandowski                   James Haslim; Scott Boehmke                Gaetan Pennecot; Dan Gruver; Max                                                        E-Mail            Email regarding                 lenses.
                                                                                                                                Levandowski; Radu Raduta
453   UBER00011148      8/24/2016   3:33 AM    James Haslim                          Gaetan Pennecot; Dan Gruver; Max                                                                                                   E-Mail            Email discussing                 lenses for lasers.
                                                                                     Levandowski; Anthony Levandowski;
                                                                                     Radu Raduta

454   UBER00301370      8/24/2016   7 38 PM    Anthony Levandowski                   Don Burnette; Anthony Levandowski                                                                                                  Text Messages     Text messages with Anthony Levandowski
      UBER00301371                                                                                                                                                                                                                        regarding Velodyne.
      UBER00301372

455                     8/24/2016              Anthony Levandowski                   Peter Melick                                                                                                 3011 Smallman,        One-on-one        One-on-one conversation with Anthony
                                                                                                                                                                                                  Pittsburgh            conversation      Levandowski regarding LiDAR simulations.

456   UBER00006517      8/26/2016   3:53 AM    Marlon Bocalan                        Sameer Kshirsagar                          Matthew Palomar; Dan Gruver; James                                                      E-Mail            Email discussing status updates relating to
                                                                                                                                Haslim; Anthony Levandowski
457   UBER00086451      8/29/2016   6:20 PM    Sameer Kshirsagar                     Sameer Kshirsagar; Anthony                                                                                                         Text Message      Message regarding AC Photonics fiber laser.
                                                                                     Levandowski

458   UBER00065145      8/30/2016              Travis Kalanick                       Travis Kalanick; Justin Ho; Jeff Miller;                                                                     3011 Smallman,        Calendar File     Calendar invitation for 8/30/2016 "birdhouse"
                                                                                     Valeria Chadha; Sherif Marakby; Raffi                                                                        Pittsburgh                              meeting at 9:00-11:00pm.
                                                                                     Krikorian; Noah Zych; Anthony
                                                                                     Levandowski; David Richter; Neil Stegall                                                                     1455 Market Street,
                                                                                                                                                                                                  San Francisco

459   UBER00301365      8/31/2016   11 29 AM   Anthony Levandowski                   Don Burnette                                                                                                                       Text Message      Text message with Anthony Levandowski
                                                                                                                                                                                                                                          regarding laser simulation.

460   UBER00076771      8/31/2016              Brian Zajac; Eric Meyhofer; Scott                                                                                                                  Otto office,          Meeting (notes)   Notes from meeting regarding laser
                                               Boehmke; Nick Letwin                                                                                                                               San Francisco                           specifications and approach.

461                     8/31/2016              Anthony Levandowski                   Peter Melick; David Rice, Scott                                                                              3011 Smallman,        Meeting           Meeting with Anthony Levandowski regarding
                                                                                     Boehmke, Eric Meyhofer; and potentially                                                                      Pittsburgh                              LiDAR design.
                                                                                     others
462                     9/1/2016    9:07 AM    Anthony Levandowski                   Brian McClendon                                                                                                                    Text Message      Text message from Anthony Levandowski
                                                                                                                                                                                                                                          regarding use of                                  .


463   UBER00076607      9/1/2016    9:08 AM    Anthony Levandowski                                                                                                                                                      E-Mail            Email regarding use of


464   UBER00076408      9/1/2016    6:15 PM    Anthony Levandowski                   Matthew Prestopino                         Brian McClendon; Nick Letwin                                                            E-Mail            Email regarding             lasers.
465   UBER00076405      9/1/2016    11:13 PM   Anthony Levandowski                   Matthew Prestopino                         Nick Letwin; Brian McClendon                                                            E-Mail            Email regarding               lasers.
466   UBER00076406      9/1/2016    11:59 PM   Anthony Levandowski                   Matthew Prestopino                         Nick Letwin                                                                             E-Mail            Email regarding               lasers.

467   UBER00076579      9/1/2016    1:45 AM    Anthony Levandowski                   Michael Tocce; Soren Juelsgaard            Claire Delaunay; David Weikersdorfer                                                    E-Mail            Email regarding lasers from third party



468   UBER00076607      9/1/2016    4:08 PM    Anthony Levandowski                   Brian McClendon                                                                                                                    E-Mail            Email regarding lasers from third party



469   UBER00069198      9/1/2016    5:11 PM    Brian McClendon                       Anthony Levandowski; Matthew                                                                                                       Email             Email regarding supply of
                                                                                     Prestopino

470   UBER00069279      9/1/2016    6:15 PM    Anthony Levandowski                   Matthew Prestopino                         Brian McClendon; Nick Letwin                                                            Email             Email regarding               lasers.

471   UBER00012457      9/1/2016    10:09 PM   Brian McClendon                       Matthew Prestopino; Anthony                Nick Letwin                                                                             E-Mail            Email regarding meeting with Anthony
                                                                                     Levandowski                                                                                                                                          Levandowski and Otto regarding
                                                                                                                                                                                                                                          sensors and LiDAR.
472   UBER00069083      9/1/2016    10:09 PM   Brian McClendon                       Matthew Prestopino; Anthony                Nick Letwin                                                                             E-Mail            Email regarding meeting with Anthony
                                                                                     Levandowski                                                                                                                                          Levandowski and Otto regarding
                                                                                                                                                                                                                                          sensors and LiDAR.
473   UBER00076170      9/2/2016    6:39 AM    Anthony Levandowski                   Scott Boehmke; Raffi Krikorian; Eric                                                                                               E-Mail            Email regarding laser calibration.
                                                                                     Meyhofer

474   UBER00235543      9/2/2016    4 24 PM    Anthony Levandowski                   Eric Meyhofer; Scott Boehmke                                                                                                       Text Message      Text message with Anthony Levandowski
      UBER00235544                                                                                                                                                                                                                        attaching LiDAR photo.




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475   UBER00236141      9/2/2016    5 38 PM    Anthony Levandowski                  Eric Meyhofer; Anthony Levandowski                                                                                               Text Message    Text message with Anthony Levandowski
                                                                                                                                                                                                                                     regarding laser.

476                     9/2/2016                                                    Jeff Holden                                                                                                  737 Harrison Street, Meeting        Tour with Anthony Levandowski where Anthony
                                                                                                                                                                                                 San Francisco                       may have mentioned LiDAR.
477   UBER00076644      9/3/2016    5:05 AM    Anthony Levandowski                  James Haslim                             Dan Gruver                                                                              E-Mail          Email regarding contact with third party


478   UBER00076191      9/4/2016    2:19 AM    Anthony Levandowski                  Scott Boehmke                            Eric Meyhofer                                                                           E-Mail          Email regarding stopping distance.

479   UBER00236144      9/5/2016    3 36 PM    Anthony Levandowski                  Eric Meyhofer; Anthony Levandowski                                                                                               Text Messages   Text messages with Anthony Levandowski
      UBER00236145                                                                                                                                                                                                                   regarding replacing Velodyne.

480   UBER00236153      9/6/2016    5 52 PM    Anthony Levandowski                  Eric Meyhofer; Anthony Levandowski                                                                                               Text Messages   Text messages with Anthony Levandowski
      UBER00236154                                                                                                                                                                                                                   regarding pucks.
      UBER00236155


481   UBER00063660      9/8/2016    1:03 PM    Sarah Abboud                         ATC: ATC-Internal [ATC-                                                                                                          E-Mail          Email referencing introduction and integration
                                                                                    Internal@uberatc.com]                                                                                                                            with Anthony Levandowski and Otto team.

482   UBER00012420      9/8/2016    1:25 AM    Euan Guttridge                       Anthony Levandowski                      Anthony Levandowski; Raffi Krikorian                                                    E-Mail          Email regarding future meeting with Anthony
                                                                                                                                                                                                                                     Levandowski regarding LiDAR goals.

483   UBER00070605      9/8/2016    1:03 PM    Sarah Abboud                         ATC: ATC-Internal [ATC-                                                                                                          E-Mail          Email referencing introduction and integration
                                                                                    Internal@uberatc.com]                                                                                                                            with Anthony Levandowski and Otto team.
484   UBER00301373      9/8/2016    2 46 PM    Anthony Levandowski                  Don Burnette; Anthony Levandowski                                                                                                Text Messages   Text messages with Anthony Levandowski
      UBER00301374                                                                                                                                                                                                                   regarding puck and localization.
      UBER00301375
      UBER00301376
      UBER00301377

485   UBER00301128      9/8/2016    2 51 PM    Anthony Levandowski                  Don Burnette; Raffi Krikorian; Anthony                                                                                           Text Messages   Text messages with Anthony Levandowski
      UBER00301129                                                                  Levandowski; Don Burnette                                                                                                                        regarding puck.
      UBER00301130



486   UBER00301085      9/8/2016    2 52 PM    Anthony Levandowski                  Don Burnette; Nick Letwin; Anthony                                                                                               Text Messages   Text messages with Anthony Levandowski
      UBER00301094                                                                  Levandowski; Eric Meyhofer                                                                                                                       regarding LiDAR and testing.
      UBER00301096
      UBER00301098
      UBER00301101

487   UBER00235518      9/8/2016    5 50 PM    Anthony Levandowski                  Eric Meyhofer; Nick Letwin; Don                                                                                                  Text Messages   Text messages from Anthony Levandowski
      UBER00235519                                                                  Burnette; Anthony Levandowski                                                                                                                    regarding Velodyne LiDARs.
      UBER00235520
      UBER00235521
      UBER00235522
      UBER00235523
      UBER00235524
      UBER00235525
      UBER00235526
      UBER00235527
488                     9/9/2016    8 24 AM    Anthony Levandowski                  Don Burnette; Nick Letwin; Anthony                                                                                               Text Message    Text message with Anthony Levandowski
      UBER00301101                                                                  Levandowski; Eric Meyhofer                                                                                                                       regarding LiDAR and testing.

489   UBER00075964      9/10/2016   10:06 AM   Anthony Levandowski                  David Weikersdorfer                      Preston Delgado; Eng-ops [eng-                                                          E-Mail          Email regarding laser perception.
                                                                                                                             ops@ot.to]

490   UBER00075958      9/10/2016   10:07 AM   Anthony Levandowski                  David Weikersdorfer                      Preston Delgado; Eng-ops [eng-                                                          E-Mail          Email regarding laser perception.
                                                                                                                             ops@ot.to]

491   UBER00075965      9/10/2016   10:30 AM   Anthony Levandowski                  David Weikersdorfer                      Eng-ops [eng-ops@ot.to]; Preston                                                        E-Mail          Email regarding vehicle demonstration.
                                                                                                                             Delgado
492   UBER00064344      9/10/2016   1:47 AM    Anthony Levandowski                                                           Sebastian Thrun [thrun@udacity.com]                                                     E-Mail          Email regarding potential meeting with third party
                                                                                                                                                                                                                                     vendor             representative




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      (as applicable)                                                                                                                                                                                      Communication

493   UBER00076322      9/10/2016   4:57 PM    Anthony Levandowski                                                        Sebastian Thrun [thrun@udacity.com]     Travis Kalanick                          E-Mail          Email regarding potential meeting with third party
                                                                                                                                                                                                                           vendor          representative                .


494   UBER00069676      9/10/2016   4:57 PM    Anthony Levandowski                                                        Sebastian Thrun [thrun@udacity.com]     Travis Kalanick                          Email           Email regarding existing laser.


495   UBER00005951      9/10/2016   10:10 AM   David Weikersdorfer                   Anthony Levandowski                  Eng-ops [Eng-ops [eng-                                                           E-Mail          Email discussing comparing laser systems with
                                                                                                                          ops@ot.to]@ot.to]; Preston Delgado                                                               Anthony Levandowski.

496   UBER00005955      9/10/2016   5:06 PM    Claire Delaunay                       Anthony Levandowski                  David Weikersdorfer; Eng-ops [eng-                                               E-Mail          Email discussing comparing laser systems with
                                                                                                                          ops@ot.to]; Preston Delgado                                                                      Anthony Levandowski.

497   UBER00005959      9/10/2016   5:52 PM    Claire Delaunay                       Anthony Levandowski                  David Weikersdorfer; Eng-ops [eng-                                               E-Mail          Email discussing comparing laser systems with
                                                                                                                          ops@ot.to]; Preston Delgado                                                                      Anthony Levandowski.

498   UBER00012729      9/10/2016   5:52 PM    Claire Delaunay                       Anthony Levandowski                  David Weikersdorfer; Eng-ops [eng-                                               E-Mail          Email discussing comparing laser systems with
                                                                                                                          ops@ot.to]; Preston Delgado                                                                      Anthony Levandowski.

499   UBER00012731      9/10/2016   5:06 PM    Claire Delaunay                       Anthony Levandowski                  David Weikersdorfer; Eng-ops [eng-                                               E-Mail          Email discussing comparing laser systems with
                                                                                                                          ops@ot.to]; Preston Delgado                                                                      Anthony Levandowski.

500   UBER00012733      9/10/2016   10:10 AM   David Weikersdorfer                   Anthony Levandowski                  Eng-ops [eng-ops@ot.to]; Preston                                                 E-Mail          Email discussing comparing laser systems with
                                                                                                                          Delgado                                                                                          Anthony Levandowski.
501   RON0022484        9/11/2016   10 05 PM   Anthony Levandowski                   Lior Ron; Anthony Levandowski                                                                                         Text Messages   Text messages with Anthony Levandowski
      RON0022485                                                                                                                                                                                                           regarding third party LiDAR supplier.
      RON0022486
      RON0022487
      RON0022488
      RON0022489
      RON0022490
      RON0022491
      RON0022492
      RON0022493
      RON0022494
      RON0022495
      RON0022496
      RON0022497
      RON0022498
      RON0022499
      RON0022500
      RON0022501
      RON0022502
      RON0022503
      RON0022504
      RON0022505
      RON0022506
      RON0022507
      RON0022508
502   UBER00005953      9/11/2016   10:53 PM   Michael Tocce                         Claire Delaunay                      Anthony Levandowski; David                                                       E-Mail          Email discussing mapping a road with LiDAR
                                                                                                                          Weikersdorfer; Eng-ops [eng-                                                                     passes with Anthony Levandowski.
                                                                                                                          ops@ot.to]; Preston Delgado

503   UBER00012727      9/11/2016   10:53 PM   Michael Tocce                         Claire Delaunay                      Anthony Levandowski; David                                                       E-Mail          Email discussing mapping a road with LiDAR
                                                                                                                          Weikersdorfer; Eng-ops [eng-                                                                     passes with Anthony Levandowski.
                                                                                                                          ops@ot.to]; Preston Delgado

504   UBER00012075      9/12/2016   3:16 PM    Michael Tocce                         Claire Delaunay                      David Weikersdorfer; Anthony                                                     E-Mail          Email discussing comparing laser systems with
                                                                                                                          Levandowski; Eng-ops [eng-ops@ot.to];                                                            Anthony Levandowski.
                                                                                                                          Preston Delgado

505   UBER00005961      9/12/2016   2:08 AM    Claire Delaunay                       Michael Tocce                        David Weikersdorfer; Anthony                                                     E-Mail          Email discussing mapping a road with LiDAR
                                                                                                                          Levandowski; Eng-ops [eng-ops@ot.to];                                                            passes with Anthony Levandowski.
                                                                                                                          Preston Delgado




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      (as applicable)                                                                                                                                                                                                  Communication

506   UBER00012725      9/12/2016   2:08 AM   Claire Delaunay                       Michael Tocce                              David Weikersdorfer; Anthony                                                            E-Mail          Email discussing mapping a road with LiDAR
                                                                                                                               Levandowski; Eng-ops [eng-ops@ot.to];                                                                   passes with Anthony Levandowski.
                                                                                                                               Preston Delgado
507   UBER00235528      9/12/2016   6 55 PM   Anthony Levandowski                   Eric Meyhofer; Nick Letwin; Don                                                                                                    Text Messages   Text messages from Anthony Levandowski
      UBER00235529                                                                  Burnette; Anthony Levandowski                                                                                                                      regarding Velodyne LiDARs.
      UBER00235530
      UBER00235531
      UBER00235532
      UBER00235533
      UBER00235534
      UBER00235535
      UBER00235536
      UBER00235537
      UBER00235538
      UBER00235539
      UBER00235540
      UBER00235541

508   UBER00075994      9/13/2016   2:44 PM   Anthony Levandowski                                                                                                      James Haslim                                    E-Mail          Email regarding scheduling of visit to third party
                                                                                                                                                                                                                                              facility in Portola Valley.




509   UBER00076800      9/13/2016             Michael Tocce                         Ambar Pansari; Bobby Parikh; Daniel                                                                          737 Harrison Street, Calendar File    Calendar invitation for 9/13/2016 vehicle
                                                                                    Wolf; David Weikersdorfer; Drew Gray;                                                                        San Francisco                         demonstration from 12:30-1:50pm.
                                                                                    Manik Gupta; Matthew Prestopino;
                                                                                    Michael Tocce; Robbie Miller; Ted
                                                                                    Sumers; Waleed Kadous; Soren
                                                                                    Juelsgaard; Anthony Levandowski; Claire
                                                                                    Delaunay; Jur van den Berg

510   UBER00065146      9/13/2016             Travis Kalanick                       Travis Kalanick; Noah Zych; Jeff Miller;                                                                     3011 Smallman,        Calendar File   Calendar invitation for 9/13/2016 "birdhouse"
                                                                                    Neil Stegall; Sherif Marakby; Anthony                                                                        Pittsburgh                            meeting at 9:30-10:30pm.
                                                                                    Levandowski; Raffi Krikorian; David
                                                                                    Richter; Justin Ho                                                                                           1455 Market Street,
                                                                                                                                                                                                 San Francisco
511   UBER00086452      9/13/2016   9:00 AM   Sameer Kshirsagar                     Sameer Kshirsagar; Anthony                                                                                                         Text Message    Message regarding team roles with respect to
                                                                                    Levandowski                                                                                                                                        LiDAR.

512   UBER00301116      9/14/2016   5 53 AM   Anthony Levandowski                   Don Burnette; Nick Letwin; Anthony                                                                                                 Text Message    Text message with Anthony Levandowski
                                                                                    Levandowski; Eric Meyhofer                                                                                                                         regarding LiDAR and testing.

513   UBER00301119      9/14/2016   5 54 AM   Anthony Levandowski                   Don Burnette; Nick Letwin; Anthony                                                                                                 Text Messages   Text messages with Anthony Levandowski
      UBER00301120                                                                  Levandowski; Eric Meyhofer                                                                                                                         attaching photo of vehicle with LiDAR.
      UBER00301121
      UBER00301122

514   UBER00012416      9/14/2016   7:51 PM   Morgan Jones                          Sean Hyde                                  ATC: UberValet                                                                          E-Mail          Email regarding discussions with Eric and
                                                                                                                               [ubervalet@uberatc.com]                                                                                 Anthony for LiDAR implementation.




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      (as applicable)                                                                                                                                                                                                    Communication

515   UBER00076049      9/15/2016   7:59 PM    Anthony Levandowski                   Eric Meyhofer; Raffi Krikorian; Matt                                                                                                E-Mail          Email regarding lasers, fibers, components, and
                                                                                     Williams; Sherif Marakby; Austin Geidt;                                                                                                             testing.
                                                                                     Claire Delaunay; Lior Ron




516   UBER00076440      9/15/2016              Dan Gruver                            Dan Gruver; George Lagui; Sameer                                         Upstairs Fishbowl (Propeller Room)   737 Harrison Street, Calendar File    Calendar invitation to 9/15/2016 LiDAR standup
                                                                                     Kshirsagar; Prashant Chouta; Yuan Liu;                                   [ot.to_h16l0u3mvm6sg8qos43gsrjvh4    San Francisco                         meeting at 6:00-6:30pm.
                                                                                     Filip Trojanek; Anthony Levandowski;                                     @group.calendar.google.com]
                                                                                     Michael Karasoff; Radu Raduta; Tanya
                                                                                     Sumang; Paige Recker; Gaetan
                                                                                     Pennecot; Asheem Linaval; Marlon
                                                                                     Bocalan; Dante Rivera; Zandrea Rox;
                                                                                     Soren Juelsgaard; Felipe Caldeira; Sara
                                                                                     Glick; Nancy Sun; Tri Luong; John
                                                                                     Tobias; Florin Ignatescu; Max
                                                                                     Levandowski; James Haslim; Brent
                                                                                     Schwarz; Carolyn Finney; Adam
                                                                                     Kenvarg; Ronen Sarig; Matthew
                                                                                     Palomar; Thomas Smith; Daniel Shafrir;
                                                                                     Will Treichler; Ben Butin; Eyal Cohen;
                                                                                     Michael Tocce
517   UBER00076570      9/15/2016              Anthony Levandowski                   Matt Williams; Euan Gutteridge; Raffi                                                                                               Document        Document regarding laser specifications for
                                                                                     Krikorian; Eric Meyhofer; Sherif Marakby;                                                                                                           testing.
                                                                                     Austin Geidt; Claire Delaunay; Lior Ron


518   UBER00008590      9/16/2016   7:15 PM    James Haslim                          Scott Boehmke                                                                                                                       E-Mail          Email regarding beam spacing.



519   UBER00076798      9/16/2016              Jeff Miller                           Anthony Levandowski; Mason Feldman                                                                                                  Calendar File   Calendar invitation for 9/16/2016 LiDAR phone
                                                                                                                                                                                                                                         call at 2:00-2:15pm.
520   UBER00086453      9/16/2016   12:03 PM   Sameer Kshirsagar                     Sameer Kshirsagar; Anthony                                                                                                          Text Message    Message regarding potential meeting to discuss
                                                                                     Levandowski                                                                                                                                         timing, performance, and industrialization of
                                                                                                                                                                                                                                         LiDAR.



521   UBER00236166      9/16/2016   3 17 PM    Anthony Levandowski                   Eric Meyhofer; Anthony Levandowski                                                                                                  Text Message    Text message with Anthony Levandowski
                                                                                                                                                                                                                                         regarding LiDAR specs discussion with Jeff
                                                                                                                                                                                                                                         Miller.


522   UBER00236168      9/17/2016   9 47 AM    Anthony Levandowski                   Eric Meyhofer; Anthony Levandowski                                                                                                  Text Messages   Text messages with Anthony Levandowski
      UBER00236169                                                                                                                                                                                                                       regarding LiDAR results from testing incident.
      UBER00236170
      UBER00236171
      UBER00236172
      UBER00236173

523   UBER00065147      9/19/2016              Travis Kalanick                       Travis Kalanick; Jeff Miller; Raffi                                                                           3011 Smallman,        Calendar File   Calendar invitation for 9/19/2016 "birdhouse"
                                                                                     Krikorian; Anthony Levandowski; Scott                                                                         Pittsburgh                            meeting at 8:00-9:00pm.
                                                                                     Boehmke; Brian Zajac; Justin Ho; Sherif
                                                                                     Marakby; Neil Stegall; Noah Zych; David                                                                       1455 Market Street,
                                                                                     Richter                                                                                                       San Francisco




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539   UBER00006671      9/26/2016   12:57 PM   Sherif Marakby                        Eric Meyhofer                               Brian Zajac; Sameer Kshirsagar; Harold                                            E-Mail          Email discussing      for possible integration of
                                                                                                                                 Hall; Lior Ron; Anthony Levandowski;                                                              AV components including LiDAR with Anthony
                                                                                                                                 Ophir Samson                                                                                      Levandowski.

540   UBER00006675      9/26/2016   3:16 AM    Sameer Kshirsagar                     Eric Meyhofer; Brian Zajac; Harold Hall     Lior Ron; Anthony Levandowski; Sherif Sameer Kshirsagar                           E-Mail          Email discussing      for possible integration of
                                                                                                                                 Marakby                                                                                           AV components including LiDAR with Anthony
                                                                                                                                                                                                                                   Levandowski.



541   UBER00236189      9/27/2016   2 04 AM    Anthony Levandowski                   Eric Meyhofer; Anthony Levandowski                                                                                            Text Messages   Text messages with Anthony Levandowski
      UBER00236190                                                                                                                                                                                                                 regarding lenses and attaching video.



542   UBER00236191      9/27/2016   7 36 AM    Anthony Levandowski                   Eric Meyhofer; Anthony Levandowski                                                                                            Text Message    Text messages with Anthony Levandowski
                                                                                                                                                                                                                                   regarding laser.

543   UBER00236192      9/27/2016   6 04 PM    Anthony Levandowski                   Eric Meyhofer; Anthony Levandowski                                                                                            Text Message    Text message with Anthony Levandowski
      UBER00236193                                                                                                                                                                                                                 regarding Velodyne.


544   UBER00065148      9/27/2016              Travis Kalanick                       Travis Kalanick; Neil Stegall; Justin ho;                                                                    3011 Smallman,   Calendar File   Calendar invitation for 9/27/2016 "birdhouse"
                                                                                     Sherif Marakby; Noah Zych; Jeff Miller;                                                                      Pittsburgh                       meeting at 9:30-11:00pm.
545   UBER00076733      9/28/2016   12:30 AM   Anthony Levandowski                   Zac Vawter                                                                                                                    E-Mail          Email regarding LiDAR and valet project.

546   UBER00076735      9/28/2016   10:49 PM   Anthony Levandowski                   undisclosed-recipients                      Zac Vawter                                                                        E-Mail          Email regarding LiDAR and valet project.



547   UBER00065374      9/28/2016              Anthony Levandowski                   Travis Kalanick; Jeff Holden; Brian                                                  [See document]                           E-Mail          Email regarding laser secondary safety
                                                                                     McClendon                                                                                                                                     mechanisms.

548   UBER00086454      9/28/2016   7:14 AM    Sameer Kshirsagar                     Sameer Kshirsagar; Anthony                                                                                                    Text Message    Message regarding status of LiDAR production
                                                                                     Levandowski                                                                                                                                   plan.

549   UBER00006610      9/28/2016   3:31 PM    Sameer Kshirsagar                     Lior Ron                                    Anthony Levandowski                      Sameer Kshirsagar                        E-Mail          Email discussing LiDAR related strategy with
                                                                                                                                                                                                                                   Anthony Levandowski.

550   UBER00006616      9/28/2016   5:01 AM    Lior Ron                              Sameer Kshirsagar                           Anthony Levandowski                                                               E-Mail          Email discussing LiDAR related strategy with
                                                                                                                                                                                                                                   Anthony Levandowski.

551   UBER00006618      9/28/2016   4:49 AM    Sameer Kshirsagar                     Anthony Levandowski; Lior Ron                                                        Sameer Kshirsagar                        E-Mail          Email discussing LiDAR related strategy with
                                                                                                                                                                                                                                   Anthony Levandowski.
552   UBER00236236      9/28/2016   9 02 PM    Anthony Levandowski                   Eric Meyhofer; Anthony Levandowski                                                                                            Text Messages   Text messages with Anthony Levandowski
      UBER00236237                                                                                                                                                                                                                 regarding Velodyne and LiDAR.
      UBER00236238
      UBER00236239
      UBER00236240
      UBER00236242
      UBER00236243
      UBER00236244
      UBER00236245
553   UBER00076730      9/29/2016   6:23 AM    Anthony Levandowski                   Zac Vawter                                                                                                                    E-Mail          Email regarding LiDAR and valet project.




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554   UBER00236246      9/29/2016   1 55 PM    Anthony Levandowski                 Eric Meyhofer; Anthony Levandowski                                                                                                         Text Messages   Text messages with Anthony Levandowski
      UBER00236247                                                                                                                                                                                                                            regarding laser.
      UBER00236248
      UBER00236249
      UBER00236250
      UBER00236251
      UBER00236252
      UBER00236253
      UBER00236254
      UBER00236255
      UBER00236256
      UBER00236257
      UBER00236258
      UBER00236259
      UBER00236260
      UBER00236261
      UBER00236262
      UBER00236263
      UBER00236264
      UBER00236265
      UBER00236266
      UBER00236267
      UBER00236268
      UBER00236269
      UBER00236270
      UBER00236271
      UBER00236273      (cont)
      UBER00236274
      UBER00236275
      UBER00236276

555   UBER00236307      9/29/2016   10 30 PM   Anthony Levandowski                 Eric Meyhofer; Anthony Levandowski                                                                                                         Text Messages   Text messages with Anthony Levandowski
      UBER00236308                                                                                                                                                                                                                            attaching Velodyne LiDAR photo.
      UBER00236309


556   UBER00076441      9/29/2016              Dan Gruver                          Dan Gruver; Radu Raduta; Florin                                                  Upstairs Fishbowl (Propeller Room)   737 Harrison Street, Calendar File   Calendar invitation to 9/29/2016 LiDAR standup
                                                                                   Ignatescu; James Haslim; Felipe                                                  [ot.to_h16l0u3mvm6sg8qos43gsrjvh4    San Francisco                        meeting at 6:00-6:30pm.
                                                                                   Caldeira; Tanya Sumang; Brent                                                    @group.calendar.google.com]
                                                                                   Schwarz; Filip Trojanek; Anthony
                                                                                   Levandowski; Will Treichler; Matthew
                                                                                   Palomar; Zandrea Roz; Michael Tocce;
                                                                                   Ronen Sarig; Yuan Liu; George Lagui;
                                                                                   Thomas Smith; John Tobias; Paige
                                                                                   Recker; Tri Luong; Carolyn Finney;
                                                                                   Sameer Kshirsagar; Gaetan Pennecot;
                                                                                   Sara Glick; Prashant Chouta; Daniel
                                                                                   Shafrir; Ben Butin; Eyal Cohen; Soren
                                                                                   Juelsgaard; Max Levandowski; Dante
                                                                                   Rivera; Marlon Bocalan; Adam Kenvarg;
                                                                                   Michael Karasoff; Asheem Linaval;
                                                                                   Nancy Sun

557   UBER00236310      9/30/2016   12 57 PM   Anthony Levandowski                 Eric Meyhofer; Anthony Levandowski                                                                                                         Text Messages   Text messages with Anthony Levandowski
      UBER00236311                                                                                                                                                                                                                            attaching whiteboard photos.
      UBER00236312

558   UBER00075971      9/30/2016   5:52 PM    Anthony Levandowski                 David Weikersdorfer                     Luis Arciniegas; AB inBev [ab-                                                                     E-Mail          Email regarding vehicle shift debrief.
                                                                                                                           inbev@ot.to]; Eng-ops [eng-ops@ot.to];
559   UBER00075989      9/30/2016   7:45 PM    Anthony Levandowski                 Dan Gruver                                                                                                                                 E-Mail          Email regarding scheduling of visit to third party
                                                                                                                           James Haslim                                                                                                              facility in Portola Valley.




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560   UBER00076737      10/2/2016    4:18 AM    Anthony Levandowski                   Zac Vawter                                                                                                                                   E-Mail          Forwarded calendar invite for 10/3/2016 virtual
                                                                                                                                                                                                                                                   bumper project meeting at 12:00-1:00pm.




561   UBER00076791      10/3/2016               Anthony Levandowski                   Mike Dacko; Morgan Jones; Michael                                                                                      50 33rd Street,       Meeting         Calendar invitation for 10/3/2016 virtual bumper
                                                                                      Bode; Sean Hyde; Zac Vawter; Dan                                                                                       Pittsburgh                            program meeting at 3:00-4:00pm.
                                                                                      Tascione; Jordan Brindza; Don Burnette;
                                                                                      Eric Meyhofer; Pam Cardona; Anthony
                                                                                      Levandowski; Scott Boehmke; Raffi
                                                                                      Krikorian; David Rice; James Gasbarro;
                                                                                      Matt Sweeney; Robbie Miller; Mark
                                                                                      Sibenac


562   UBER00076351      10/4/2016    8:48 PM    Google Calendar [calendar-            Jeff Miller                                                                                                            1455 Market Street,   Calendar File   Calendar invite to 10/5/16 Otto and
                                                notification@google.com]                                                                                                                                     San Francisco                         LiDAR meeting at 2:00pm.


563   UBER00076353      10/4/2016    8:48 PM    Anthony Levandowski                   Jeff Miller; Anthony Levandowski                                                                                       1455 Market Street,   Calendar File   Calendar invite to 10/5/16 Otto and
                                                                                                                                                                                                             San Francisco                         LiDAR meeting at 2:00pm.




564   UBER00065216      10/4/2016               Travis Kalanick                       Travis Kalanick; Gautam Gupta; Matt                                                                                    1455 Market Street,   Calendar File   Calendar invitation for 10/4/2016 "birdhouse"
                                                                                      Burton; Lior Ron; Jeff Miller; Anthony                                                                                 San Francisco                         meeting at 9:30-11:30pm.
                                                                                      Levandowski; Austin Geidt; Rajiv
                                                                                      Krishnarao; David Richter; Matt Williams;
                                                                                      Eric Meyhofer; Neil Stegall; Sherif
                                                                                      Marakby; Matt Sweeney; Raffi Krikorian;
                                                                                      Noah Zych; Emil Michael

565   UBER00011187      10/5/2016    12:30 AM   Gaetan Pennecot                       Dan Gruver                                  James Haslim; Max Levandowski; Radu                                                              E-Mail          Email discussing LiDAR simulation testing with
                                                                                                                                  Raduta; Anthony Levandowski                                                                                      Anthony Levandowski.
566   UBER00236318      10/6/2016    1 05 AM    Anthony Levandowski                   Eric Meyhofer; Anthony Levandowski                                                                                                           Text Messages   Text messages with Anthony Levandowski
      UBER00236319                                                                                                                                                                                                                                 regarding lasers.

567   UBER00076442      10/6/2016               Dan Gruver                            Dan Gruver; Yuan Lin; Max                                                         Upstairs Fishbowl (Propeller Room)   737 Harrison Street, Calendar File    Calendar invitation to 10/6/2016 LiDAR standup
                                                                                      Levandowski; Gaetan Pennecot; Tanya                                               [ot.to_h16l0u3mvm6sg8qos43gsrjvh4    San Francisco                         meeting at 6:00-6:30pm.
                                                                                      Sumang; Zandrea Roz; Will Treichler;                                              @group.calendar.google.com]
                                                                                      Anthony Levandowski; Felipe Caldeira;
                                                                                      Michael Tocce; Matthew Palomar; Adam
                                                                                      Kenvarg; Sara Glick; Soren Juelsgaard;
                                                                                      Eyal Cohen; Michael Karasoff; Prashant
                                                                                      Chouta; Ben Butin; Filip Trojanek;
                                                                                      Sameer Kshirsagar; Thomas Smith;
                                                                                      Brent Schwarz; Daniel Shafrir; Ronen
                                                                                      Sarig; Nancy Sun; Dante Rivera; George
                                                                                      Lagui; James Haslim; Tri Luong; Paige
                                                                                      Recker; Radu Raduta; Florin Ignatescu;
                                                                                      Carolyn Finney; Asheem Linaval; Marlon
                                                                                      Bocalan; John Tobias
568   UBER00065210      10/7/2016               Travis Kalanick                       Travis Kalanick; Jamie Epifano; Mike                                                                                   1455 Market Street,   Calendar File   Calendar invitation for 10/7/2016 "birdhouse"
                                                                                      Wong; Matt Burton; Matt Williams; Noah                                                                                 San Francisco                         meeting at 6:00-8:00pm.
569   UBER00076083      10/11/2016   4:22 AM    Google Calendar [calendar-            Michael Tocce                                                                                                                                Calendar File   Declined calendar invite to 10/12/2016 laser
                                                notification@google.com]                                                                                                                                                                           systems meeting at 4:00 pm.
570   UBER00076084      10/11/2016   4:22 AM    Anthony Levandowski                   Michael Tocce; Anthony Levandowski                                                                                                           Calendar File   Declined calendar invite to 10/12/2016 laser
                                                                                                                                                                                                                                                   systems meeting at 4:00 pm.




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      (as applicable)                                                                                                                                                                                     Communication

571   UBER00005968      10/11/2016   5:42 PM    Anthony Levandowski                 atc-otto-org@uber.com                                                                                                 E-Mail            Email regarding company update and Q4 OKRs.



572   UBER00076707      10/12/2016   10:09 AM   Anthony Levandowski                 Zac Vawter                             Don Burnette                                                                   E-Mail            Email regarding LiDAR team developments.

573   UBER00236321      10/13/2016   1 18 PM    Anthony Levandowski                 Eric Meyhofer; Anthony Levandowski                                                                                    Text Messages     Text messages with Anthony Levandowski
      UBER00236322                                                                                                                                                                                                          regarding LiDAR.

574   UBER00236323      10/13/2016   9 12 PM    Anthony Levandowski                 Eric Meyhofer; Anthony Levandowski                                                                                    Text Messages     Text messages with Anthony Levandowski
      UBER00236324                                                                                                                                                                                                          regarding LiDAR news article.
      UBER00236325
      UBER00236326
      UBER00236327
      UBER00236328


575   UBER00076802      10/13/2016              Nina Qi                             Anthony Levandowski                                                                                                   Meeting (notes)   Notes from 10/13/2016 ATG mapping meeting.

576   UBER00076307      10/14/2016   1:51 AM    Anthony Levandowski                 Carlos Vallespi-Gonzalez                                                                                              E-Mail            Email regarding lidar range imaging.

577   UBER00076220      10/14/2016   1:51 AM    Anthony Levandowski                 Don Burnette; Zac Vawter                                                                                              E-Mail            Email regarding lidar range imaging.


578   UBER00012408      10/14/2016   1:28 PM    Carlos Vallespi-Gonzalez            Anthony Levandowski                                                                                                   E-Mail            Email regarding discussion with Anthony
                                                                                                                                                                                                                            Levandowski on LiDAR range images.
579   UBER00076308      10/15/2016   12:00 AM   Anthony Levandowski                 Carlos Vallespi-Gonzalez                                                                                              E-Mail            Email regarding lidar range imaging.
580   UBER00012407      10/15/2016   12:00 AM   Anthony Levandowski                 Carlos Vallespi-Gonzalez                                                                                              E-Mail            Email regarding LiDAR and camera system
                                                                                                                                                                                                                            funtionality.
581   UBER00236329      10/17/2016   12 48 PM   Anthony Levandowski                 Eric Meyhofer; Anthony Levandowski                                                                                    Text Messages     Text messages with Anthony Levandowski
      UBER00236330                                                                                                                                                                                                          regarding Velodyne.
      UBER00236331
582   UBER00076121      10/18/2016   11:21 PM   Anthony Levandowski                 valet@uberatc.com                      Don Burnette; Andrew Gray; Jeff Kiske                                          E-Mail            Email regarding camera and laser testing.



583   UBER00076126      10/18/2016   11:34 PM   Anthony Levandowski                 Andrew Gray                            Raffi Krikorian; Sean Hyde;                                                    E-Mail            Email regarding camera and laser testing.
                                                                                                                           valet@uberatc.com; Don Burnette; Jeff
584   UBER00006626      10/18/2016   3:49 AM    Sameer Kshirsagar                   Eric Meyhofer; Sherif Marakby; Lior Ron; Prashant Chouta                                                              E-Mail            Email discussing Infineon and LiDAR with
                                                                                    Anthony Levandowski                                                                                                                     Anthony Levandowski.
585   UBER00236335      10/19/2016   10 34 AM   Anthony Levandowski                 Eric Meyhofer; Anthony Levandowski                                                                                    Text Messages     Text messages with Anthony Levandowski
      UBER00236336                                                                                                                                                                                                          regarding third parties Veoldyne and Luminar.
      UBER00236337
      UBER00236338
      UBER00236339
      UBER00236340
      UBER00236341
      UBER00236342
      UBER00236343
      UBER00236344
      UBER00236345
      UBER00236346
      UBER00236347
      UBER00236348
      UBER00236349
      UBER00236350
      UBER00236351
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      UBER00236356
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      UBER00236359
      UBER00236360




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      (as applicable)                                                                                                                                                                                                    Communication

      UBER00236362      (cont)
      UBER00236363
      UBER00236364
      UBER00236365
      UBER00236366
      UBER00236367
      UBER00236368
      UBER00236369
      UBER00236370
      UBER00236371
      UBER00236372
      UBER00236373
      UBER00236377
      UBER00236378
      UBER00236379


586   UBER00076124      10/19/2016   8:37 PM    Anthony Levandowski                   Jeff Kiske; Andrew Gray; Don Burnette                                                                                              E-Mail          Email regarding camera and laser testing.



587                     10/19/2016   6:06 AM    Anthony Levandowski                   Gaetan Pennecot                                                                                                                    Text Messages   Text messages from Anthony Levandowski
                                                                                                                                                                                                                                         regarding photo of unspecified third party LiDAR.


588                     10/19/2016   5:14 PM    Anthony Levandowski                   Gaetan Pennecot                                                                                                                    Text Messages   Text messages from Anthony Levandowski
                                                                                                                                                                                                                                         regarding unspecified third party LiDAR.

589                     10/19/2016   6:29 PM    Anthony Levandowski                   Gaetan Pennecot                                                                                                                    Text Messages   Text messages from Anthony Levandowski
                                                                                                                                                                                                                                         regarding unspecified third party LiDAR.




590   UBER00065211      10/20/2016              Travis Kalanick                       Travis Kalanick; Matt Williams; Matt                                                                         1455 Market Street,   Calendar File   Calendar invitation for 10/20/2016 "birdhouse"
                                                                                      Sweeney; Raffi Krikorian;Emil Michael;                                                                       San Francisco                         meeting at 5:00-6:00pm.
                                                                                      Rajiv Krishnarao; Gautam Gupta; Lior
                                                                                      Ron; Austin Geidt; Neil Stegall; Matt
                                                                                      Burton; Anthony Levandowski; David
                                                                                      Richter; Eric Meyhofer; Jeff Miller; Sherif
                                                                                      Marakby; Noah Zych

591   UBER00012048      10/20/2016   6:52 PM    Drew Bagnell                          Raffi Krikorian                                                          ATC-Internal@uberatc.com                                  E-Mail          Reference to Anthony regarding AV hitting low-
                                                                                                                                                                                                                                         height stuff.

592   UBER00012403      10/20/2016   12:32 AM   Andrew Gray                           Valet [valet@uberatc.com]                                                                                                          E-Mail          Summary and notes from meeting regarding
                                                                                                                                                                                                                                         virtual bumper concept proposed by Anthony.

593   UBER00076689      10/23/2016   3:24 AM    Anthony Levandowski                   Claire Delaunay                                                                                                                    E-Mail          Email regarding laser from third party



594   UBER00012675      10/23/2016   7:12 PM    Drew Bagnell                          Anthony Levandowski                                                                                                                E-Mail          Email regarding "Autonomy Next Steps" with
                                                                                                                                                                                                                                         discussion from Anthony regarding virtual
                                                                                                                                                                                                                                         bumper.
595                     10/23/2016   2:36 PM    James Haslim                          Anthony Levandowski                                                                                                                Text Message    Text message regarding sensor discussion.



596                     10/23/2016   5:16 PM    Anthony Levandowski                   James Haslim                                                                                                                       Text Message    Text message regarding scheduling
                                                                                                                                                                                                                                         conversations with Anthony Levandowski on
                                                                                                                                                                                                                                         sensor discussion.
597   UBER00076398      10/24/2016   5:50 PM    Google Calendar [calendar-            Dan Gruver                                                                                                                         Calendar File   Declined calendar invite to 10/24/16 Lidar
                                                notification@google.com]                                                                                                                                                                 Monday Standup meeting at 11:00am.




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      (as applicable)                                                                                                                                                                                                            Communication

598   UBER00012701      10/24/2016   11:11 AM   Drew Bagnell                         Anthony Levandowski                                                                                                                         E-Mail            Email regarding meeting with Anthony
                                                                                                                                                                                                                                                   Levandowski regarding "Autonomy Next Steps."


599   UBER00076569      10/25/2016   2:56 PM    Robert Zlot                                                                                                                                                                      Document          Document regarding categories of questions for
                                                                                                                                                                                                                                                   recruiting interviews.


600   UBER00076773      10/26/2016              Anthony Levandowski                  Carl Wellington                                                                                                        50 33rd Street,      Meeting (notes)   One-on-one meeting with Anthony Levandowski,
                                                                                                                                                                                                            Pittsburgh                             including discussion of LiDAR status updates.


601   UBER00008592      10/26/2016   12:42 PM   Eric Meyhofer                        James Haslim                             Scott Boehmke; Dan Gruver                                                                          E-Mail            Email discussing LiDAR development with
                                                                                                                                                                                                                                                   Anthony Levandowski.


602   UBER00008592      10/26/2016   12:42 PM   Eric Meyhofer                        James Haslim                             Scott Boehmke; Dan Gruver                                                                          E-Mail            Email regarding LiDAR design, including
                                                                                                                                                                                                                                                   reference to conversation between Eric
                                                                                                                                                                                                                                                   Meyhofer and Anthony Levandowski.
603   UBER00236385      10/26/2016   2 38 PM    Anthony Levandowski                  Eric Meyhofer; Anthony Levandowski                                                                                                          Text Messages     Text messages with Anthony Levandowski
      UBER00236386                                                                                                                                                                                                                                 regarding laser discussion.
      UBER00236387
      UBER00236388
      UBER00236389
      UBER00236390
604   UBER00012401      10/27/2016   2:32 PM    Anthony Levandowski                  Eric Meyhofer                                                                                                                               Text Messages     Text messages with Anthony Levandowski
                                                                                                                                                                                                                                                   regarding         laser.


605   UBER00076119      10/27/2016   9:31 PM    Anthony Levandowski                  Drew Bagnell                             Drew Gray; Jeff Kiske; Jeff Schneider;                                                             E-Mail            Email regarding free space annotation.
                                                                                                                              Don Burnette; Michael Bode




606   UBER00076443      10/27/2016              Dan Gruver                           Dan Gruver; Sameer Kshirsagar; Radu                                               Upstairs Fishbowl (Propeller Room)   737 Harrison Street, Calendar File     Calendar invitation to 10/27/2016 LiDAR standup
                                                                                     Raduta; James Haslim; Thomas Smith;                                               [ot.to_h16l0u3mvm6sg8qos43gsrjvh4    San Francisco                          meeting at 6:00-6:30pm.
                                                                                     Sara Glick; Filip Trojanek; Prashant                                              @group.calendar.google.com]
                                                                                     Chouta; Michael Tocce; Yuan Lin; Tri
                                                                                     Luong; Anthony Levandowski; Soren
                                                                                     Juelsgaard; Daniel Shafrir; Michael
                                                                                     Karasoff; Asheem Linaval; Florin
                                                                                     Ignatescu; Paige Recker; Carolyn
                                                                                     Finney; Dante Rivera; Will Treichler;
                                                                                     George Lagui; Tanya Sumang; Matthew
                                                                                     Palomar; Ben Butin; Felipe Caldeira;
                                                                                     Zandrea Rox; Gaetan Pennecot; John
                                                                                     Tobias; Anthony Levandowski; Eyal
                                                                                     Cohen; Max Levandowski; Adam
                                                                                     Kenvarg; Ronen Sarig; Nancy Sun; Brent
                                                                                     Schwarz; Marlon Bocalan

607   UBER00012397      10/27/2016   11:51 PM   Jeff Schneider                       Anthony Levandowski; Drew Bagnell        Drew Gray; Jeff Kiske; Don Burnette;                                                               E-Mail            Email regarding discussions with and
                                                                                                                              Michael Bode                                                                                                         suggestions from Anthony as to LiDAR systems.




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608   UBER00012401      10/27/2016   9:17 PM   Drew Bagnell                        Drew Gray; Jeff Kiske; Jeff Schneider       Anthony Levandowski; Don Burnette;                                                E-Mail          Email regarding discussions with and
                                                                                                                               Michael Bode                                                                                      suggestions from Anthony as to LiDAR systems.


609   UBER00087034      10/27/2016             Anthony Levandowski                 Max Levandowski                                                                                                               Text Message    Text message regarding scheduling LiDAR
      UBER00087035                                                                                                                                                                                                               discussion.

610   UBER00076293      10/28/2016   3:14 AM   Google Calendar [calendar-          Mason Feldman                                                                                                                 Calendar File   Calendar invite to 10/27/16 LiDAR standup
                                               notification@google.com]                                                                                                                                                          meeting at 11:00am.




611   UBER00076295      10/28/2016   3:14 AM   Dan Gruver                          John Tobias; Adam Kenvarg; Benjamin                                              Upstairs Fishbowl (Propeller Room)           Calendar File   Calendar invite to 10/27/16 LiDAR standup
                                                                                   Butin; Michael Tocce; Prashant Chouta;                                           [ot.to_h16l0u3mvm6sg8qos43gsrjvh4                            meeting at 11:00am.
                                                                                   Gaetan Pennecot; Florin Ignatescu;                                               @group.calendar.google.com]
                                                                                   Sameer Kshirsagar; James Haslim;
                                                                                   Nancy Sun; Thomas Smith; Asheem
                                                                                   Linaval; Filip Trojanek; Matthew Palomar;
                                                                                   Max Levandowski; William Treichler;
                                                                                   Radu Raduta; Eyal Cohen; Tanya
                                                                                   Sumang; George Lagui; Marlon Bocalan;
                                                                                   Dante Rivera; Felipe Caldiera; Sara
                                                                                   Glick; Ronen Sarig; Carolyn Finney;
                                                                                   Paige Recker; Dan Gruver; Zandrea Rox;
                                                                                   Soren Juelsgaard; Tri Luong


612   UBER00076296      10/28/2016   3:14 AM   Google Calendar [calendar-          Mason Feldman; John Tobias; Adam                                                                                              Calendar File   Calendar invite to 10/27/16 LiDAR standup
                                               notification@google.com]            Kenvarg; Benjamin Butin; Michael Tocce;                                                                                                       meeting at 11:00am.
                                                                                   Prashant Chouta; Gaetan Pennecot;
                                                                                   Florin Ignatescu; Sameer Kshirsagar;
                                                                                   James Haslim; Nancy Sun; Thomas
                                                                                   Smith; Asheem Linaval; Filip Trojanek;
                                                                                   Matthew Palomar; Max Levandowski;
                                                                                   William Treichler; Radu Raduta; Eyal
                                                                                   Cohen; Tanya Sumang; George Lagui;
                                                                                   Marlon Bocalan; Dante Rivera; Felipe
                                                                                   Caldiera; Sara Glick; Ronen Sarig;
                                                                                   Carolyn Finney; Dan Gruver; Zandrea
                                                                                   Rox; Brent Schwarz; Soren Juelsgaard;
                                                                                   Tri Luong

613   UBER00076298      10/28/2016   3:14 AM   Dan Gruver                          John Tobias; Adam Kenvarg; Benjamin                                              Upstairs Fishbowl (Propeller Room)           Calendar File   Calendar invite to 10/27/16 LiDAR standup
                                                                                   Butin; Michael Tocce; Prashant Chouta;                                           [ot.to_h16l0u3mvm6sg8qos43gsrjvh4                            meeting at 11:00am.
                                                                                   Gaetan Pennecot; Florin Ignatescu;                                               @group.calendar.google.com]
                                                                                   Sameer Kshirsagar; James Haslim;
                                                                                   Nancy Sun; Thomas Smith; Asheem
                                                                                   Linaval; Filip Trojanek; Matthew Palomar;
                                                                                   Max Levandowski; William Treichler;
                                                                                   Radu Raduta; Eyal Cohen; Tanya
                                                                                   Sumang; George Lagui; Marlon Bocalan;
                                                                                   Dante Rivera; Felipe Caldiera; Sara
                                                                                   Glick; Ronen Sarig; Carolyn Finney;
                                                                                   Paige Recker; Dan Gruver; Zandrea Rox;
                                                                                   Soren Juelsgaard; Tri Luong




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614   UBER00076402      10/28/2016   3:14 AM    Google Calendar [calendar-            Dan Gruver                                                                                                                         Calendar File   Accepted calendar invite to 10/27/16 LiDAR
                                                notification@google.com]                                                                                                                                                                 standup meeting at 11:00am.

615   UBER00076404      10/28/2016   3:14 AM    Anthony Levandowski                   Dan Gruver; Anthony Levandowski                                                                                                    Calendar File   Accepted calendar invite to 10/27/16 LiDAR
                                                                                                                                                                                                                                         standup meeting at 11:00am.


616   UBER00008595      10/28/2016   5:09 AM    James Haslim                          Scott Boehmke                                                                                                                      E-Mail          Email nothing discussions regarding optical
                                                                                                                                                                                                                                         layout, nothing that Anthony Levandowski came
                                                                                                                                                                                                                                         into the meeting.
617   UBER00012394      10/28/2016   2:13 AM    Drew Bagnell                          Anthony Levandowski                            Don Burnette                                                                        E-Mail          Email regarding discussions with and
                                                                                                                                                                                                                                         suggestions from Anthony as to LiDAR systems.


618   UBER00098311      10/28/2016   10:55 AM   Scott Boehmke                         James Haslim                                                                                                                       E-Mail          Email regarding notes from discussion of Fuji,
                                                                                                                                                                                                                                         and noting Anthony Levandowski attended
                                                                                                                                                                                                                                         discussions.

619   UBER00075996      10/30/2016   4:48 PM    Anthony Levandowski                                                                  Dan Gruver; James Haslim                                                            E-Mail          Email regarding scheduling of meeting with
                                                                                                                                                                                                                                         Austin Russell of third party




620   UBER00065212      11/1/2016               Travis Kalanick                       Travis Kalanick; Matt Williams; Matt                                                                         1455 Market Street,   Calendar File   Calendar invitation for 11/1/2016 "birdhouse"
                                                                                      Sweeney; Raffi Krikorian;Emil Michael;                                                                       San Francisco                         meeting at 9:30-11:30pm.
                                                                                      Rajiv Krishnarao; Gautam Gupta; Lior
                                                                                      Ron; Austin Geidt; Neil Stegall; Matt
                                                                                      Burton; Anthony Levandowski; David
                                                                                      Richter; Eric Meyhofer; Jeff Miller; Sherif
                                                                                      Marakby; Noah Zych

621   UBER00076566      11/2/2016               Anthony Levandowski                   Matt Williams; Julie Viray; Raffi Krikorian;                                                                                       Document        Document regarding NSD strategy.
                                                                                      Lior Ron; Eric Meyhofer; Matt Sweeney;
                                                                                      Austin Geidt
622   UBER00076427      11/3/2016               Dan Gruver                            Dan Gruver; Anthony Levandowski;                                                                             737 Harrison Street, Calendar File    Calendar invitation for November 3, 2016
                                                                                      Mason Feldman; James Haslim                                                                                  San Francisco                         meeting with third party         at 7:00 p.m.

623   UBER00086455      11/3/2016    6:56 PM    Sameer Kshirsagar                     Eric Meyhofer; Sameer Kshirsagar                                                                                                   Text Message    Message regarding staff meeting to discuss
                                                                                                                                                                                                                                         LiDAR.

624   UBER00236462      11/3/2016    7 45 PM    Anthony Levandowski                   Eric Meyhofer; Anthony Levandowski                                                                                                 Text Messages   Text messages with Anthony Levandowksi
      UBER00236463                                                                                                                                                                                                                       regarding third party Luminar.
      UBER00236464

625   UBER00076285      11/4/2016    3:20 AM    Anthony Levandowski                   Sameer Kshirsagar                              Eric Meyhofer                                                                       E-Mail          Email regarding data sheet from third party


626   UBER00086445      11/4/2016    6:00 AM    Sameer Kshirsagar                     Eric Meyhofer; Sameer Kshirsagar;                                                                                                  Text Message    Message regarding pulse width.
                                                                                      Anthony Levandowski

627   UBER00086446      11/4/2016    8:55 AM    Anthony Levandowski                   Eric Meyhofer ; Sameer Kshirsagar;                                                                                                 Text Message    Message regarding pulse width.
                                                                                      Anthony Levandowski

628   UBER00086447      11/4/2016    8:56 AM    Anthony Levandowski                   Eric Meyhofer ; Sameer Kshirsagar;                                                                                                 Text Message    Message regarding pulse width.
                                                                                      Anthony Levandowski

629   UBER00006645      11/4/2016    3:20 AM    Anthony Levandowski                   Sameer Kshirsagar                              Eric Meyhofer                                                                       E-Mail          Email regarding LiDAR-reated supplier
630   UBER00006650      11/4/2016    3:15 AM    Sameer Kshirsagar                     Anthony Levandowski                            Eric Meyhofer                                                                       E-Mail          Email discussing       datasheet and potential
                                                                                                                                                                                                                                         follow-up call with Anthony Levandowski.
631   UBER00069122      11/8/2016    11:53 PM   Google Calendar [calendar-            Anthony Levandowski                                                                                          Pittsburgh            Calendar File   Accepted calendar invitation for 11/16/2016
                                                notification@google.com]                                                                                                                                                                 meeting at 5:30-6:00pm.
632   UBER00069123      11/8/2016    11:53 PM   Brian McClendon                       Anthony Levandowski; Brian McClendon                                                                         Pittsburgh            Calendar File   Calendar invitation for 11/16/2016 meeting at
                                                                                                                                                                                                                                         5:30-6:00pm.
633   UBER00069330      11/8/2016    11:49 PM   Google Calendar [calendar-            Anthony Levandowski                                                                                          Pittsburgh            Calendar File   Calendar invitation for 11/16/2016 meeting at
                                                notification@google.com]                                                                                                                                                                 5:30-6:00pm.




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      (as applicable)                                                                                                                                                                                                      Communication

634   UBER00069122      11/8/2016      11:49 PM   Brian McClendon                       Anthony Levandowski; Brian McClendon                                                                         Pittsburgh            Calendar File   Calendar invitation for 11/16/2016 meeting at
                                                                                                                                                                                                                                           5:30-6:00pm.
635   UBER00065213      11/8/2016                 Travis Kalanick                       Travis Kalanick; Austin Geidt; Emil                                                                          1455 Market Street,   Calendar File   Calendar invitation for 11/8/2016 "birdhouse"
                                                                                        Michael; Neil Stegall; Jeff Miller;Noah                                                                      San Francisco                         meeting at 9:00-10:00pm.
                                                                                        Zych; Raffi Krikorian; Matt Williams; Rajiv
                                                                                        Krishnarao; Matt Sweeney; Guatam
                                                                                        Gupta; Lior Ron; Andrew Beck; Anthony
                                                                                        Levandowski; David Richter; Sherif
                                                                                        Marakby; Eric Meyhofer; Matt Burton


636                     11/9/2016                                        ]              Anthony Levandowski                                                                                                                Text Message    Text message regarding installing
                                                                                                                                                                                                                                           LiDAR system on a vehicle.

637                     11/9/2016                 Anthony Levandowski                                                                                                                                                      Text Message    Text message regarding installing
                                                                                                                                                                                                                                           LiDAR system on a vehicle.


638   UBER00236465      11/9/2016      2 46 PM    Anthony Levandowski                   Eric Meyhofer; Anthony Levandowski                                                                                                 Text Messages   Text messages with Anthony Levandowski
      UBER00236466                                                                                                                                                                                                                         regarding laser.
      UBER00236467
      UBER00236468
      UBER00236469
      UBER00236470
      UBER00236471
      UBER00236472
639   UBER00006653      11/9/2016      4:25 PM    Sameer Kshirsagar                     Anthony Levandowski; James Haslim              Eric Meyhofer             Sameer Kshirsagar                                         E-Mail          Email discussing        specification file and
                                                                                                                                                                                                                                           potential follow-up call with Anthony
                                                                                                                                                                                                                                           Levandowski.
640   UBER00236473      11/9/2016      11 49 PM   Anthony Levandowski                   Eric Meyhofer; Anthony Levandowski                                                                                                 Text Messages   Text messages with Anthony Levandowski
      UBER00236474                                                                                                                                                                                                                         regarding third party Luminar.

641                     11/9/2016 or              Anthony Levandowski                   Jeremy Millard; Curtis Scott; and others                                                                     Pittsburgh            Presentation    Presentation regarding self-driving development.
                        11/10/2016

642   UBER00236476      11/10/2016     1 16 PM    Anthony Levandowski                   Eric Meyhofer; Anthony Levandowski                                                                                                 Text Messages   Text messages with Anthony Levandowski
      UBER00236477                                                                                                                                                                                                                         regarding LiDAR.
      UBER00236478
      UBER00236479
      UBER00236480
      UBER00236481
      UBER00236482
      UBER00236483
643   UBER00076276      11/10/2016     11:53 PM   Anthony Levandowski                   Eric Meyhofer                                                                                                                      E-Mail          Email regarding laser configuration for export.

644   UBER00076548      11/10/2016                Anthony Levandowski                   Matt Williams; Don Burnette; Noah Zych;                                                                                            Document        Document regarding single NSD car and
                                                                                        Julie Viray; Raffi Krikorian; Lior Ron; Eric                                                                                                       expansion strategy.
                                                                                        Meyhofer; Matt Sweeney; Austin Geidt


645   UBER00069120      11/10/2016     8:01 PM    Google Calendar [calendar-            Anthony Levandowski                                                                                          Pittsburgh            Calendar File   Declined calendar invitation for 11/16/2016
                                                  notification@google.com]                                                                                                                                                                 meeting at 5:30-6:00pm.
646   UBER00069121      11/10/2016     8:01 PM    Brian McClendon                       Anthony Levandowski; Brian McClendon                                                                         Pittsburgh            Calendar File   Calendar invitation for 11/16/2016 meeting at
                                                                                                                                                                                                                                           5:30-6:00pm.
647   UBER00301402      11/11/2016     1 30 PM    Anthony Levandowski                   Don Burnette; Anthony Levandowski                                                                                                  Text Messages   Text messages with Anthony Levandowski
      UBER00301403                                                                                                                                                                                                                         regarding lasers.

648   UBER00076277      11/11/2016     3:37 PM    Anthony Levandowski                   Eric Meyhofer                                                                                                                      E-Mail          Email regarding laser configuration for export.


649   UBER00076534      11/11/2016                Amit Singhal                          Anthony Levandowski                                                                                                                Powerpoint      Powerpoint regarding Uber Safe and
                                                                                                                                                                                                                                           autonomous vehicles.

650   UBER00086448      11/11/2016     9:11 AM    Anthony Levandowski                   Eric Meyhofer; Sameer Kshirsagar;                                                                                                  Text Message    Message regarding potential purchase related to
                                                                                        Anthony Levandowski                                                                                                                                LiDAR.

651   UBER00086449      11/11/2016     9:11 AM    Anthony Levandowski                   Eric Meyhofer ; Sameer Kshirsagar;                                                                                                 Text Message    Message regarding potential purchase related to
                                                                                        Anthony Levandowski                                                                                                                                LiDAR.




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      (as applicable)                                                                                                                                                                                                    Communication

652   UBER00076058      11/14/2016   7:42 PM    Anthony Levandowski                 Nina Qi                              Claire Delaunay; Eric Meyhofer; Raffi                                                           E-Mail            Email regarding LiDARs from third party
                                                                                                                         Krikorian

653   UBER00076565      11/14/2016              Anthony Levandowski                                                                                                                                                      Spreadsheet       Spreadsheet regarding metrics for evaluating
                                                                                                                                                                                                                                           SDU performance.


654                     11/14/2016              Anthony Levandowski                 Kevin Sherwood; Blair Blake; Jason                                                                               737 Harrison Street, Meeting          Meeting regarding new hire orientation.
                                                                                    Zwirkoski; Michael Maloney; Andrew                                                                               San Francisco
                                                                                    McLachlan

655   UBER00012045      11/14/2016   7:42 PM    Anthony Levandowski                 Nina Qi                              Claire Delaunay; Eric Meyhofer; Raffi                                                           E-Mail            Email regarding potential investment in
                                                                                                                         Krikorian                                                                                                                              LiDAR.
656   UBER00012042      11/14/2016   7:50 PM    Nina Qi                             Anthony Levandowski                  Claire Delaunay; Eric Meyhofer; Raffi                                                           E-Mail            Email regarding third party
                                                                                                                         Krikorian                                                                                                         and LiDAR technology.
657   UBER00006663      11/14/2016   4:55 PM    Sameer Kshirsagar                   Eric Meyhofer; Anthony Levandowski                                           Sameer Kshirsagar                                       E-Mail            Email discussing              LiDAR with
                                                                                                                                                                                                                                           Anthony Levandowski.,
658   UBER00076783      11/14/2016              Anthony Levandowski                 Eric Meyhofer                                                                                                    Pittsburgh          Meeting (notes)   Notes from 1/30/2017 one-on-one meeting with
                                                                                                                                                                                                                                           Anthony Levandowski.
659   UBER00076005      11/15/2016   5:46 AM    Anthony Levandowski                 John Tobias; laser-dev [laser-                                                                                                       E-Mail            Email regarding news article for third party
                                                                                    dev@uber.com]
660   UBER00012074      11/15/2016   5:46 AM    Anthony Levandowski                 John Tobias; laser-dev [laser-                                                                                                       E-Mail            Email regarding laser supplier.
                                                                                    dev@uber.com]
661   UBER00012073      11/15/2016   5:01 PM    Dan Gruver                          Anthony Levandowski                  John Tobias; laser-dev [laser-                                                                  E-Mail            Email discussing article regarding LiDAR
                                                                                                                         dev@uber.com]                                                                                                     products with Anthony Levandowski.
662   UBER00076036      11/16/2016   2:02 AM    Anthony Levandowski                 Anthony Levandowski; Drew Bagnell;                                                                                                   E-Mail            Email regarding news article for third party
                                                                                    Lior Ron; Matthew Prestopino


663   UBER00236495      11/16/2016   9 37 PM    Anthony Levandowski                 Eric Meyhofer; Anthony Levandowski                                                                                                   Text Messages     Text messages with Anthony Levandowski
      UBER00236496                                                                                                                                                                                                                         regarding lasers.
      UBER00236497
664                     11/16/2016   10:18 PM   Mason Feldman                       Anthony Levandowski                                                                                                                  Text Message      Message regarding scheduling of one-on-one
                                                                                                                                                                                                                                           meetings, Leads meetings, and LiDAR standup
                                                                                                                                                                                                                                           meetings.
665   UBER00076112      11/17/2016   2:14 AM    Google Calendar [calendar-          Alicia Poling                                                                                                                        Calendar File     Calendar invite for 11/18/2016 laser MVP and
                                                notification@google.com]                                                                                                                                                                   milestones meeting at 4:30pm.



666   UBER00076113      11/17/2016   2:14 AM    Anthony Levandowski                 James Haslim; Scott Boehmke; Dan                                             SFO | 737 Harrison - 2nd Upstairs                       Calendar File     Calendar invite for 11/18/2016 laser MVP and
                                                                                    Gruver; Eric Meyhofer; Anthony                                               Fishbowl (18)                                                             milestones meeting at 4:30pm.
                                                                                    Levandowski                                                                  [uber.com_37303530323737373530@r
                                                                                                                                                                 esource.calendar.google.com]

667   UBER00076193      11/17/2016   2:14 AM    Google Calendar [calendar-          Scott Boehmke; Dan Gruver; James                                                                                                     Calendar File     Calendar invite for 11/18/2016 laser MVP and
                                                notification@google.com]            Haslim; Eric Meyhofer                                                                                                                                  milestones meeting at 4:30pm.

668   UBER00076287      11/17/2016   2:14 AM    Google Calendar [calendar-          Eric Meyhofer; James Haslim; Scott                                                                                                   Calendar File     Calendar invite for 11/18/2016 laser MVP and
                                                notification@google.com]            Boehmke; Dan Gruver                                                                                                                                    milestones meeting at 4:30pm.

669   UBER00076400      11/17/2016   2:14 AM    Google Calendar [calendar-          Dan Gruver; Eric Meyhofer; James                                                                                                     E-Mail            Calendar invite for 11/18/2016 laser MVP and
                                                notification@google.com]            Haslim; Scott Boehmke                                                                                                                                  milestones meeting at 4:30pm.




670   UBER00076401      11/17/2016   2:14 AM    Anthony Levandowski                 Eric Meyhofer; James Haslim; Scott                                           SFO | 737 Harrison - 2nd Upstairs                       Calendar File     Calendar invite for 11/18/2016 laser MVP and
                                                                                    Boehmke; Anthony Levandowski; Dan                                            Fishbowl (18)                                                             milestones meeting at 4:30pm.
                                                                                    Gruver                                                                       [uber.com_37303530323737373530@r
                                                                                                                                                                 esource.calendar.google.com]

671   UBER00076011      11/17/2016   2:14 AM    Google Calendar [calendar-          James Haslim; Dan Gruver; Eric                                                                                                       E-Mail            Calendar invite for 11/18/2016 laser MVP and
                                                notification@google.com]            Meyhofer; Scott Boehmke                                                                                                                                milestones meeting at 4:30pm.




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672   UBER00076012      11/17/2016   2:14 AM    Anthony Levandowski                   Dan Gruver; Eric Meyhofer; James                                                     SFO | 737 Harrison - 2nd Upstairs                               Calendar File     Calendar invite for 11/18/2016 laser MVP and
                                                                                      Haslim; Anthony Levandowski; Scott                                                   Fishbowl (18)                                                                     milestones meeting at 4:30pm.
                                                                                      Boehmke                                                                              [uber.com_37303530323737373530@r
                                                                                                                                                                           esource.calendar.google.com]
673   UBER00076200      11/17/2016   2:28 AM    Google Calendar [calendar-            Scott Boehmke; Dan Gruver; James              Euan Guttridge                                                                                         E-Mail            Calendar invite for 11/18/2016 laser MVP and
                                                notification@google.com]              Haslim; Eric Meyhofer                                                                                                                                                  milestones meeting at 4:30pm.
674   UBER00076428      11/18/2016              Anthony Levandowski                   Anthony Levandowski; Scott Boehmke;           Euan Guttridge                         PIT | 50 33rd St - 02nd Clark Curve (3)                         Calendar File     Calendar invitation for 11/18/16 Laser meeting at
                                                                                      Dan Gruver; Eric Meyhofer; James                                                     [uber.com_5049543530333372645374                                                  1:30pm.
                                                                                      Haslim                                                                               326e6433436c61726b43757276652d3
                                                                                                                                                                           83737323534@resource.calendar.goo
                                                                                                                                                                           gle.com]
675   UBER00065471      11/18/2016   6:28 AM    Travis Kalanick                       Anthony Levandowski                                                                                                                                  Email             Email regarding research on NPS.


676                     11/18/2016   9:15 AM    Anthony Levandowski                   James Haslim                                                                                                                                         Text Messages     Text messages from Anthony Levandowski
                                                                                                                                                                                                                                                             regarding 11/18/16        phone call.

677                     11/18/2016                                     ]              Anthony Levandowski                                                                                                                                  Text Message      Text message regarding inquiry about
                                                                                                                                                                                                                                                             considering          technology.




678   UBER00065214      11/19/2016              Travis Kalanick                       Travis Kalanick; Austin Geidt; Lior Ron;                                                                                       1455 Market Street,   Calendar File     Calendar invitation for 11/19/2016 "birdhouse"
                                                                                      David Richter; Curtis Scott; Anthony                                                                                           San Francisco                           meeting at 1:00-3:00am.
                                                                                      Levandowski; Matt Burton; Matt Williams;
                                                                                      Noah Zych; Eric Meyhofer

679   UBER00065470      11/19/2016   11:47 PM   Travis Kalanick                       Anthony Levandowski                                                                                                                                  Email             Email regarding Tesla self-driving vehicle.


680   UBER00076114      11/21/2016   3:34 AM    Anthony Levandowski                   Brian Cullinane; Matt Williams; Raffi         Austin Geidt; Matt Sweeney                                                                             E-Mail; Meeting   Email regarding notes from 11/18/2016 meeting.
                                                                                      Krikorian                                                                                                                                            (notes)
681   UBER00076115      11/21/2016   7:54 AM    Anthony Levandowski                   Brian Cullinane; Matt Williams; Raffi         Austin Geidt; Matt Sweeney                                                                             E-Mail            Email regarding notes from 11/18/2016 meeting.
                                                                                      Krikorian
682   UBER00012389      11/21/2016   4:12 AM    Brian Cullinane                       Anthony Levandowski; Matt Williams;           Austin Geidt; Matt Sweeney                                                                             E-Mail            Email regarding single driver plan and review by
                                                                                      Raffi Krikorian                                                                                                                                                        Anthony Levandowski.
683   UBER00012391      11/21/2016   3:30 AM    Raffi Krikorian                       Anthony Levandowski; Brian Cullinane;         Austin Geidt; Matt Sweeney                                                                             E-Mail            Email regarding single driver plan and review by
                                                                                      Matt Williams                                                                                                                                                          Anthony Levandowski.
684   UBER00012385      11/23/2016   1:22 AM    Brian Cullinane                       Anthony Levandowski; Matt Williams;           Austin Geidt; Matt Sweeney; Lior Ron                                                                   E-Mail            Email regarding single driver plan and review by
                                                                                      Raffi Krikorian                                                                                                                                                        Anthony Levandowski.
685                     11/23/2016                                                    Anthony Levandowski                                                                                                                                  Text Message      Text message regarding installing
                                                                                                                                                                                                                                                             LiDAR system on a vehicle.
686   UBER00076715      11/26/2016   7:21 AM    Anthony Levandowski                   Nina Qi                                                                                                                                              Calendar File     Accepted calendar invitation to hold time for
                                                                                                                                                                                                                                                             11/28/2016                         meeting.


687   UBER00076790      11/28/2016   9:54 AM    Nina Qi                               Mason Feldman                                 Anthony Levandowski; Cameron                                                                           E-Mail            Email regarding 11/28/2016 phone call with third
                                                                                                                                    Poetzscher; Eric Meyhofer; James                                                                                         party                     .
                                                                                                                                    Haslim




688   UBER00076486      11/29/2016              Anthony Levandowski                   Matt Williams; Mason Feldman; Euan                                                                                                                   Meeting (notes)   Document regarding agenda and notes from
                                                                                      Gutteridge; Raffi Krikorian; Lior Ron; Eric                                                                                                                            "birdhouse" meetings, including 11/29/2016
                                                                                      Meyhofer; David Richter; Matt Sweeney;                                                                                                                                 meeting; 1/10/2017 meeting; 1/24/2017 meeting;
                                                                                      Sherif Marakby; Neil Stegall; Jeff Miller;                                                                                                                             and 2/1/2017 meeting.
                                                                                      robot-direct-reports@uber.com




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689   UBER00065215      11/29/2016              Travis Kalanick                       Travis Kalanick; Matt Sweeney; Emil                                                                          1455 Market Street,   Calendar File   Calendar invitation for 11/29/2016 "birdhouse"
                                                                                      Michael; Austin Geidt; Gautam Gupta;                                                                         San Francisco                         meeting at 10:45pm-12:30am.
                                                                                      Anthony Levandowski; Neil Stegall; Rajiv
                                                                                      Krishnarao; Raffi Krikorian; Eric
                                                                                      Meyhofer; Matt Williams; Lior Ron; Sherif
                                                                                      Marakby; Matt Burton; David Richter; Jeff
                                                                                      Miller; Noah Zych

690   UBER00076792      11/29/2016              Anthony Levandowski                   Lisa Weitekamp                                                                                               Otto office,          Meeting         Meeting regarding AVMaps. No specific
                                                                                                                                                                                                   Palo Alto                             recollection regarding whether Anthony
                                                                                                                                                                                                                                         Levandowski attended in person or by Zoom.
691   UBER00065153      11/30/2016              Travis Kalanick                       Travis Kalanick; Jeff Miller; Anthony                                                                        1455 Market Street,   Calendar File   Calendar invitation for 11/30/2016 ATG planning
                                                                                      Levandowski; Chris Lapointe; Guatam                                                                          San Francisco                         meeting at 11:00pm.
                                                                                      Gupta; Prabir Adarkar
692                     11/30/2016                                     ]              Anthony Levandowski                                                                                                                Text Message    Text message regarding initial units of
                                                                                                                                                                                                                                         LiDAR systems for Uber.

693                     11/30/2016                                                    Anthony Levandowski                                                                                                                Text Message    Text message regarding paperwork for pre-order
                                                                                                                                                                                                                                         of          LiDAR systems.

694   UBER00076348      12/5/2016    6:20 PM    Anthony Levandowski                   David Richter                                                                                                                      E-Mail          Email regarding LIDAR system from third party



695   UBER00076344      12/5/2016    6:24 PM    Anthony Levandowski                   David Richter                                                                                                                      E-Mail          Email regarding LIDAR system from third party



696   UBER00076690      12/5/2016    6:25 PM    Anthony Levandowski                   Anthony Levandowski                                                                                                                E-Mail          Email regarding project and 11/10/2016 meeting
                                                                                                                                                                                                                                         with third party        representative Austin
                                                                                                                                                                                                                                         Russell.

697   UBER00076691      12/5/2016    6:25 PM                                                                                                                                                                             Attachment      Attachment regarding project with third party

698   UBER00076684      12/5/2016    6:25 PM    Anthony Levandowski                   David Richter                                                                                                                      E-Mail          Email regarding project and 11/10/2016 meeting
                                                                                                                                                                                                                                         with third party        representative Austin
                                                                                                                                                                                                                                         Russell.


699   UBER00076685      12/5/2016    6:25 PM                                                                                                                                                                             Attachment      Attachment regarding project with third party


700   UBER00076716      12/5/2016    11:27 PM   Anthony Levandowski                   Nina Qi; Eric Meyhofer; James Haslim                                                                                               Calendar File   Calendar invitation for 12/7/2016
                                                                                                                                                                                                                                                    meeting at 12:30-1:00pm.
701   UBER00012127      12/5/2016    6:30 PM    David Richter                         Anthony Levandowski; Dan Gruver                                                                                                    E-Mail          Email regarding discussions with Anthony
                                                                                                                                                                                                                                         regarding LiDAR products with
702   UBER00064188      12/6/2016    9:50 PM    Google Calendar                       Travis Kalanick                                                                                                                    E-Mail          Email discussing meeting with Anthony
                                                                                                                                                                                                                                         Levandowski referencing AV Maps Leads.


703   UBER00012125      12/6/2016    1:37 AM    David Richter                         Austin Russell; Jason Eichenholz            Anthony Levandowski; Dan Gruver;                                                       E-Mail          Email regarding discussions with Anthony to
                                                                                                                                  Josh Andrews; Brendan Mulligan;                                                                        accelerate LiDAR products with
                                                                                                                                  James Haslim; Scott Boehmke

704   UBER00012134      12/6/2016    3:57 AM    Josh Andrews                          Dan Gruver                                  Anthony Levandowski;David Richter;                                                     E-Mail          Email regarding discussions with Anthony to
                                                                                                                                  Scott Boehmke; James Haslim;                                                                           accelerate LiDAR products with
                                                                                                                                  Brendan Mulligan

705   UBER00012137      12/6/2016    4:49 AM    Josh Andrews                          Anthony Levandowski                         Dan Gruver; David Richter; Scott                                                       E-Mail          Email regarding discussions with Anthony
                                                                                                                                  Boehmke; James Haslim; Brendan                                                                         regarding LiDAR products with
                                                                                                                                  Mulligan
706   UBER00076681      12/7/2016    7:25 PM    Google Calendar [calendar-            David Richter                                                                                                1455 Market Street,   Calendar File   Accepted calendar invitation for 12/7/16 meeting
                                                notification@google.com]                                                                                                                           San Francisco                         with third party        representatives Austin,
                                                                                                                                                                                                                                         Jason, and Scott from 6:00-7:00pm.
707   UBER00076683      12/7/2016    7:25 PM    Google Calendar [calendar-            David Richter                                                                                                1455 Market Street,   Calendar File   Calendar invitation for 12/7/16 meeting with third
                                                notification@google.com]                                                                                                                           San Francisco                         party          representatives Austin, Jason,
                                                                                                                                                                                                                                         and Scott from 6:00-7:00pm.




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729                     12/25/2016                                                  Anthony Levandowski                                                                                                                           Text Message      Text message regarding pre-order paperwork,
                                                                                                                                                                                                                                                    status of production and delivery of
                                                                                                                                                                                                                                                    LiDAR systems for Uber.
730   UBER00012360      12/26/2016   8:53 PM    Sean Hyde                           Andrei Pokrovsky; Carlos Vallespi-         Don Burnette; Anthony Levandowski;                                                                 E-Mail            Email discussing LiDAR issues with Anthony
                                                                                    Gonzalez                                   Andrew Gray; Jeff Kiske; Eric Meyhofer                                                                               Levandowski.

731   UBER00076313      12/30/2016   3:52 AM    Anthony Levandowski                 Jeff Miller                                Ophir Samson; Lior Ron; Andrew Beck;                                                               E-Mail            Email regarding potenital meeting with third party
                                                                                                                               Eric Meyhofer; David Richter                                                                                                at CES.

732   UBER00076316      12/30/2016   7:17 AM    Anthony Levandowski                 Jeff Miller                                Andrew Beck; David Richter; Eric                                                                   E-Mail            Email regarding potenital meeting with third party
                                                                                                                               Meyhofer; Lior Ron; Ophir Samson                                                                                            at CES.

733   UBER00076063      12/30/2016   7:03 PM    Google Calendar [calendar-          Adam Kenvarg                                                                                                                                  Calendar File     Declined calendar invite for 12/30/16 meeting
                                                notification@google.com]                                                                                                                                                                            regarding LiDAR update at 12:00pm.

734   UBER00076064      12/30/2016   7:03 PM    Anthony Levandowski                 Adam Kenvarg; Anthony Levandowski                                                                                                             Calendar File     Calendar invite for 12/30/16 meeting regarding
                                                                                                                                                                                                                                                    LiDAR update at 12:00pm.
735   UBER00076678      12/30/2016   6:41 AM    Anthony Levandowski                                                                                                                                                               E-Mail            Email regarding purchase order for third party
                                                                                    Dan Gruver
736   UBER00076446      1/2/2017                Anthony Levandowski                 Nancy Sun; Euan Guttridge; Noah Zych;                                                                                                         Meeting (notes)   Document regarding agenda and notes from
                                                                                    Julie Viray; Matt Sweeney; Paw                                                                                                                                  ATG leads bullpen weekly meetings, including
                                                                                    Andersen; Sherif Marakby; Adi Ofer;                                                                                                                             1/3/2017 meeting; 1/10/2017 meeting; 1/17/2017
                                                                                    Brian Cullinane; Shalin Mantri; David                                                                                                                           meeting; 1/25/2017 meeting; 1/30/2017 meeting;
                                                                                    Stager; David Meall; Jeff Miller; Carl                                                                                                                          2/1/2017 meeting; 2/7/2017 meeting; 2/14/2017
                                                                                    Wellington; Sanjeev Kumar; robot-direct-                                                                                                                        meeting; 2/21/2017 meeting; 2/28/2017 meeting;
                                                                                    reports@uber.com                                                                                                                                                3/7/2017 meeting; 3/14/2017 meeting; 3/21/2017
                                                                                                                                                                                                                                                    meeting; and 3/28/2017 meeting.


737   UBER00086674      1/3/2017                                                                                               Anthony Levandowski                                                                                E-Mail            Email regarding Uber purchase order for
                                                                                                                                                                                                                                                                LiDAR systems.


738   UBER00076792      1/4/2017                Anthony Levandowski                 Lisa Weitekamp                                                                                                           50 33rd Street,      Meeting           Meeting regarding AVMaps. No specific
                                                                                                                                                                                                             Pittsburgh                             recollection regarding whether Anthony
                                                                                                                                                                                                                                                    Levandowski attended in person or by Zoom.


739   UBER00076369      1/5/2017     3:49 PM    Google Calendar [calendar-          Dan Gruver                                                                                                                                    Calendar File     Declined calendar invite for 1/5/17 Fuji test
                                                notification@google.com]                                                                                                                                                                            matrix review meeting at 2pm.



740   UBER00076430      1/5/2017                Dan Gruver                          Dan Gruver; UATG Lidar Development                                                  SFO | 737 Harrison - 02nd Upstairs   737 Harrison Street, Calendar File     Calendar invitation for1/5/2017 Fuji test matrix
                                                                                    [laser-dev@uber.com]; Anthony                                                       Fishbowl (18)                        San Francisco                          review at 10:00-10:55pm.
                                                                                    Levandowski; Steven Wu                                                              [uber.com_37303530323737373530@r
                                                                                                                                                                        esource.calendar.google.com]


741   UBER00301468      1/5/2017     7 20 AM    Anthony Levandowski                 Don Burnette; Anthony Levandowski                                                                                                             Text Messages     Text messages with Anthony Levandowski
      UBER00301469                                                                                                                                                                                                                                  regarding LiDAR news article and vendors.
      UBER00301470
      UBER00301471
      UBER00301472
      UBER00301473
      UBER00301474
      UBER00301475

742   UBER00087037      1/5/2017     2:01 PM    Anthony Levandowski                 Max Levandowski                                                                                                                               Text Messages     Text messages with photos and discussion of
      UBER00087039                                                                                                                                                                                                                                  LiDAR.
      UBER00087040
743   UBER00087050      1/6/2017     11:34 PM   Anthony Levandowski                 Max Levandowski                                                                                                                               Text Message      Text message regarding
      UBER00087051                                                                                                                                                                                                                                      LIDAR.

744   UBER00076185      1/8/2017     5:47 AM    Anthony Levandowski                 Scott Boehmke                                                                                                                                 E-Mail            Email regarding Ladar technology industry
                                                                                                                                                                                                                                                    tracking.




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No.   Bates Number      Date        Time       Author/Sent                            Recipient(s)                             CC                                        BCC                       Place                Mode of           Subjects Discussed
      (as applicable)                                                                                                                                                                                                   Communication

764   UBER00076783      1/11/2017              Anthony Levandowski                    Eric Meyhofer                                                                                                Pittsburgh           Meeting (notes)   Notes from 1/30/2017 one-on-one meeting with
                                                                                                                                                                                                                                          Anthony Levandowski.

765   UBER00076522      1/12/2017              James Haslim                           Anthony Levandowski                                                                                                               Powerpoint        Powerpoint regarding UATG LiDAR Q4 2016
                                                                                                                                                                                                                                          OKRs.

766   UBER00076061      1/13/2017   6:31 AM    Google Calendar [calendar-             Adam Kenvarg                                                                                                                      Calendar File     Declined calendar invite for 1/13/17 meeting
                                               notification@google.com]                                                                                                                                                                   regarding LiDAR update at 12pm.

767   UBER00076062      1/13/2017   6:31 AM    Anthony Levandowski                    Adam Kenvarg; Anthony Levandowski                                                                                                 Calendar File     Calendar invite for 1/13/17 meeting regarding
                                                                                                                                                                                                                                          LiDAR update at 12pm.
768   UBER00012620      1/13/2017   7:52 AM    Andrei Pokrovsky                       Sean Hyde                                Carlos Vallespi-Gonzalez; Don                                                            E-Mail            Email discussing hardware upgrades for
                                                                                                                               Burnette; Anthony Levandowski;                                                                             laser with Anthony Levandowski.
                                                                                                                               Andrew Gray; Jeff Kiske; Eric Meyhofer

769   UBER00012633      1/13/2017   12:59 PM   Sean Hyde                              Andrei Pokrovsky                         Carlos Vallespi-Gonzalez; Don                                                            E-Mail            Email discussing hardware upgrades for
                                                                                                                               Burnette; Anthony Levandowski;                                                                             laser with Anthony Levandowski.
                                                                                                                               Andrew Gray; Jeff Kiske; Eric Meyhofer



770                     1/16/2017   12:21 PM   Anthony Levandowski                    James Haslim                                                                                                                      Text Message      Text message from Anthony Levandowski
                                                                                                                                                                                                                                          regarding point of contact for laser updates.

771   UBER00076783      1/16/2017              Anthony Levandowski                    Eric Meyhofer                                                                                                Pittsburgh           Meeting (notes)   Notes from 1/30/2017 one-on-one meeting with
                                                                                                                                                                                                                                          Anthony Levandowski.


772   UBER00076117      1/17/2017   8:31 PM    Anthony Levandowski                    David Stager                             John Bares; Carl Wellington; Raffi                                                       E-Mail            Email regarding laser type and coverage.
                                                                                                                               Krikorian; Euan Guttridge; Brian Zajac;
                                                                                                                               Eric Meyhofer; Matt Williams

773   UBER00076431      1/17/2017              Daniel Ratner                          Dan Ratner; UATG Lidar Development                                                                           737 Harrison Street, Calendar File     Calendar invitation for 1/17/2017 visit by third
                                                                                      [laser-dev@ot.to]; Anthony Levandowski                                                                       San Francisco                          party                         representative
                                                                                                                                                                                                                                                  at 5:30-7:00pm.

774   UBER00012481      1/17/2017   8:39 PM    Brian Zajac                            Anthony Levandowski; David Stager        Carl Wellington; Eric Meyhofer; Euan                                                     E-Mail            Email discussing           laser with Anthony
                                                                                                                               Guttridge; John Bares; Matt Williams;                                                                      Levandowski.
                                                                                                                               Raffi Krikorian
775                     1/17/2017   3:07 AM    James Haslim                           Anthony Levandowski                                                                                                               Text Message      Text message regarding point of contact for
                                                                                                                                                                                                                                          laser updates.
776   UBER00076139      1/18/2017   4:50 AM    Anthony Levandowski                    Andrei Pokrovsky                         Sean Hyde; Carlos Vallespi-Gonzalez;                                                     E-Mail            Email regarding GPU and technology for testing.
                                                                                                                               Don Burnette; Andrew Gray; Jeff Kiske;
                                                                                                                               Eric Meyhofer
777   UBER00076320      1/18/2017   7:52 AM    Anthony Levandowski                    Travis Kalanick; Amit Singhal                                                                                                     E-Mail            Email regarding ATG status and personal status.


778   UBER00235456      1/18/2017   9 25 PM    Jeff Miller                            Eric Meyhofer; Jeff Miller; Anthony                                                                                               Text Messages     Text messages with Anthony Levandowski
      UBER00235457                                                                    Levandowski                                                                                                                                         regarding third party Caterpillar LiDARs.
      UBER00235458
      UBER00235459

779                     1/18/2017                                      ]              Anthony Levandowski                                                                                                               Text Message      Text message regarding license agreement for
                                                                                                                                                                                                                                                  LiDAR systems.
780   UBER00076127      1/19/2017   9:09 AM    Anthony Levandowski                    Andrei Pokrovsky                         Sean Hyde; Carlos Vallespi-Gonzalez;                                                     E-Mail            Email regarding GPU and technology for testing.
                                                                                                                               Don Burnette; Andrew Gray; Jeff Kiske;
                                                                                                                               Eric Meyhofer

781   UBER00076340      1/19/2017   10:13 AM   Anthony Levandowski                    Jessie Smith                                                                                                                      E-Mail            Email regarding simulation weekly update.


782   UBER00076208      1/19/2017   10:44 AM   Anthony Levandowski                    Raffi Krikorian; David Stager            Eric Meyhofer; Don Burnette                                                              E-Mail            Email regarding third party           laser.
      UBER00076767

783   UBER00012309      1/19/2017   1:48 PM    Somchaya Liemhetcharat                 Jessie Smith                             Anthony Levandowski; Peter Melick                                                        E-Mail            Email discussing LiDAR issues with Anthony
                                                                                                                                                                                                                                          Levandowski.

784   UBER00012314      1/19/2017   1:29 PM    Jessie Smith                           Anthony Levandowski                      Peter Melick; Somchaya Liemhetcharat                                                     E-Mail            Email discussing LiDAR issues with Anthony
                                                                                                                                                                                                                                          Levandowski.




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No.   Bates Number      Date        Time       Author/Sent                           Recipient(s)                                  CC                                   BCC                       Place                 Mode of         Subjects Discussed
      (as applicable)                                                                                                                                                                                                   Communication

806   UBER00076495      1/23/2017              Craig Quiter                          Anthony Levandowski                                                                                                                Powerpoint      Powerpoint regarding DeepDrive.



807   UBER00012306      1/23/2017   11:16 PM   Sabbir Rangwala                       James Haslim                                  Anthony Levandowski                                                                  E-Mail          Email regarding Anthony Levandowski's meeting
                                                                                                                                                                                                                                        with Princeton Lightwave to view LiDAR demo.


808                     1/23/2017                                     ]              Anthony Levandowski                                                                                                                Text Message    Text message regarding training for operation of
                                                                                                                                                                                                                                                  LiDAR system.

809   UBER00236555      1/24/2017   12 31 AM   Anthony Levandowski                   Eric Meyhofer; Anthony Levandowski                                                                                                 Text Messages   Text messages with Anthony Levandowski
      UBER00236556                                                                                                                                                                                                                      regarding lenses and attaching lens video.
      UBER00236557
      UBER00236558
      UBER00236559


810   UBER00076346      1/24/2017   7:27 AM    Anthony Levandowski                   atc-internal@uberatc.com; fulltime@ot.to                                                                                           E-Mail          Email regarding laser developments.


811   UBER00076004      1/24/2017   7:30 AM    Anthony Levandowski                   Nina Qi                                       Eric Meyhofer; James Haslim; Scott                                                   E-Mail          Email regarding third party Princeton Lightwave
                                                                                                                                   Boehmke; Cameron Poetzscher                                                                          detector.

812   UBER00076089      1/24/2017   2:01 PM    Anthony Levandowski                   Stephen Lesh                                  Eric Meyhofer; Sherif Marakby                                                        E-Mail          Email regarding project development, including
                                                                                                                                                                                                                                        laser classification points.

813   UBER00076198      1/24/2017   2:02 PM    Anthony Levandowski                   Euan Guttridge                                                                                                                     E-Mail          Email regarding project development, including
                                                                                                                                                                                                                                        laser classification points.

814   UBER00076223      1/24/2017   2:02 PM    Anthony Levandowski                   Sherif Marakby                                                                                                                     E-Mail          Email regarding project development, including
                                                                                                                                                                                                                                        laser classification points.

815   UBER00076338      1/24/2017   2:03 PM    Anthony Levandowski                   Noah Zych                                                                                                                          E-Mail          Email regarding project development, including
                                                                                                                                                                                                                                        laser classification points.

816   UBER00076336      1/24/2017   2:04 PM    Anthony Levandowski                   Cody Berdinis                                                                                                                      E-Mail          Email regarding project development, including
                                                                                                                                                                                                                                        laser classification points.


817   UBER00076432      1/24/2017              Raffi Krikorian                       Raffi Krikorian; David Stager; Anthony                                                                       50 33rd Street,       Calendar File   Calendar invitation for 1/24/2017 meeting
                                                                                     Levandowski; Don Burnette; Julie Viray;                                                                      Pittsburgh                            regarding Core Autonomy and Onboard Leads
                                                                                     Wes Doonan                                                                                                                                         Calibrations at 9:00-9:30pm.




818   UBER00076433      1/24/2017              Raffi Krikorian                       Raffi Krikorian; Julie Destefano; Wes                                                                        50 33rd Street,       Calendar File   Calendar invitation for 1/24/2017 meeting
                                                                                     Doonan; Tony Stentz; Julie Viray; Dan                                                                        Pittsburgh                            regarding Core Autonomy and Onboard and End
                                                                                     Tascione; David Stager; Anthony                                                                                                                    Run Managers Calibrations at 8:30-9:00pm.
                                                                                     Levandowski; Carl Wellington; Jeff
                                                                                     Schneider; Don Burnette

819   UBER00076434      1/24/2017              Raffi Krikorian                       Rakki Krikorian; Julie Destefano;                                                                                                  Calendar File   Calendar invitation for 1/24/2017 meeting
                                                                                     Anthony Levandowski; Bryan Nagy;                                                                                                                   regarding Autonomy Calibrations at 7:30-
                                                                                     David Stager; Wes Doonan; Julie Viray;                                                                                                             8:30pm.
                                                                                     Dan Tascione; Diana Yanakiev; Jeff
                                                                                     Schneider; Tony Stentz; Jur van den
                                                                                     Berg; Carl Wellington; Marcial Hernandez

820   UBER00065219      1/24/2017              Travis Kalanick                       Travis Kalanick; Jeff Miller; Neil Stegall;                                                                  1455 Market Street,   Calendar File   Calendar invitation for 1/24/2017 "birdhouse"
                                                                                     Guatam Gupta; Sherif Marakby; Matt                                                                           San Francisco                         meeting at 10:30pm-12:30am.
                                                                                     Burton; Matt Sweeney; Noah Zych;
                                                                                     Austin Geidt; Eric Meyhofer; Lior Ron;
                                                                                     Raffi Krikorian; Anthony Levandowski;
                                                                                     Emil Micahel; Rajiv Krishnarao; Matt
                                                                                     Williams; David Richter

821   UBER00076335      1/25/2017   6:04 AM    Anthony Levandowski                   fulltime@ot.to; atc-internal@uberatc.com                                                                                           E-Mail          Email regarding vehicle rides and laser from
                                                                                                                                                                                                                                        third party




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      (as applicable)                                                                                                                                                                                               Communication

822   UBER00076201      1/25/2017   6:55 AM    Anthony Levandowski                 Don Burnette                                                                                                                     E-Mail          Email regarding project development, including
                                                                                                                                                                                                                                    laser classification points.
823   UBER00076257      1/25/2017   6:59 AM    Anthony Levandowski                 Shari Doherty                                                                                                                    E-Mail          Email regarding vehicle rides and laser from
                                                                                                                                                                                                                                    third party
824   UBER00076204      1/25/2017   7:08 AM    Anthony Levandowski                 Don Burnette                                                                                                                     E-Mail          Email regarding project development, including
                                                                                                                                                                                                                                    laser classification points.
825                     1/25/2017              Anthony Levandowski                 Chris Peplin; Scott Boehmke; Dan                                                                             50 33rd Street,     Meeting         Meeting in parking lot to watch demonstration of
                                                                                   Tascione                                                                                                     Pittsburgh                                   laser.

826   UBER00076444      1/25/2017              Craig Quiter                        Anthony Levandowski                                                                                                              Document        Document regarding GTA V versus KITT.




827   UBER00087021      1/25/2017   3:10 PM    Anthony Levandowski                 Max Levandowski                                                                                                                  Text Messages   Text messages with photos and discussion of
      UBER00087022                                                                                                                                                                                                                  LiDAR parts and prototypes.
      UBER00087023
      UBER00087024
      UBER00087025

828   UBER00098314      1/25/2017   5:13 PM    Anthony Levandowski                 Max Levandowski                                                                                                                  Text Messages   Text messages with discussion of LiDAR parts
      UBER00098315                                                                                                                                                                                                                  and prototypes.
      UBER00098316
829   UBER00098334      1/25/2017   7:34 PM    Max Levandowski                     Anthony Levandowski                                                                                                              Text Message    Text messages with photos and discussion of
      UBER00098335                                                                                                                                                                                                                  LiDAR parts and prototypes.

830                     1/25/2017   11:43 AM   Scott Boehmke                       Anthony Levandowski                                                                                          Pittsburgh          Text Messages   Text messages regarding visit from third party


831                     1/25/2017   1:55 PM    Scott Boehmke                       Anthony Levandowski                                                                                          Pittsburgh          Text Messages   Text messages regarding            laser running
                                                                                                                                                                                                                                    outside garage.


832   UBER00076378      1/26/2017   1:33 AM    Anthony Levandowski                 Dan Gruver                                                                                                   Laser Hardware      Calendar File   Declined calendar invitation to weekly Lidar
                                                                                                                                                                                                Area, 50 33rd St,                   Monday Standup meeting.
                                                                                                                                                                                                Pittsburgh
833   UBER00076324      1/26/2017   2:02 AM    Anthony Levandowski                 Dan Tascione; David Stager                                                                                                       E-Mail          Email regarding meeting with third party vendor


834                     1/26/2017   7:12 AM    Scott Boehmke                       Anthony Levandowski                                                                                                              Text Message    Text message regarding scheduling of meeting
                                                                                                                                                                                                                                    with Anthony Levandowski.

835                     1/26/2017   10:11 AM   Anthony Levandowski                 Scott Boehmke                                                                                                                    Text Messages   Text messages regarding vehicle data.


836   UBER00236565      1/26/2017   4 51 PM    Anthony Levandowski                 Eric Meyhofer; Anthony Levandowski                                                                                               Text Messages   Text messages with Anthony Levandowski
      UBER00236566                                                                                                                                                                                                                  regarding laser.
837   UBER00076333      1/27/2017   12:33 AM   Anthony Levandowski                 Amit Singhal                                                                                                                     E-Mail          Email regarding project development, including
                                                                                                                                                                                                                                    laser classification points.
838   UBER00076332      1/27/2017   12:33 AM   Anthony Levandowski                 Amit Singhal                                                                                                                     E-Mail          Email regarding vehicle rides and laser from
                                                                                                                                                                                                                                    third party
839   UBER00076255      1/27/2017   12:33 AM   Anthony Levandowski                 Shari Doherty                                                                                                                    E-Mail          Email regarding vehicle rides and laser from
                                                                                                                                                                                                                                    third party
840   UBER00076258      1/27/2017   2:06 AM    Anthony Levandowski                 Shari Doherty                                                                                                                    E-Mail          Email regarding vehicle rides and laser from
                                                                                                                                                                                                                                    third party
841   UBER00076077      1/27/2017   6:28 AM    Anthony Levandowski                 Adam Kenvarg                                                                                                 Lunch Tables        Calendar File   Accepted calendar invitation for 1/27/2017
                                                                                                                                                                                                                                    LiDAR update meeting at 12-12:30 pm.
842   UBER00076078      1/27/2017   6:28 AM    Anthony Levandowski                 Adam Kenvarg; Anthony Levandowski                                                                                                Calendar File   Calendar invitation for 1/27/2017 LiDAR update
                                                                                                                                                                                                                                    meeting at 12-12:30 pm.


843   UBER00076679      1/27/2017   6:28 AM    Google Calendar [calendar-          David Richter                                                                                                                    Calendar File   Accepted calendar invitation for 1/27/2017
                                               notification@google.com]                                                                                                                                                             phone call with David Ritcher from 1:00-3:00pm
                                                                                                                                                                                                                                    regarding third party




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No.   Bates Number      Date        Time       Author/Sent                            Recipient(s)                                  CC                                       BCC                   Place                 Mode of           Subjects Discussed
      (as applicable)                                                                                                                                                                                                    Communication

844   UBER00076680      1/27/2017   6:28 AM    Google Calendar [calendar-             David Richter                                                                                                                      Calendar File     Calendar invitation for 1/27/2017 phone call with
                                               notification@google.com]                                                                                                                                                                    David Ritcher from 1:00-3:00pm regarding third
                                                                                                                                                                                                                                           party

845   UBER00076687      1/27/2017   6:28 AM    Google Calendar [calendar-             Jaime Anttonen                                                                                                                     Calendar File     Accepted calendar invitation for 1/27/2017
                                               notification@google.com]                                                                                                                                                                    phone call with David Ritcher from 1:00-3:00pm
                                                                                                                                                                                                                                           regarding third party

846   UBER00076688      1/27/2017   6:28 AM    Google Calendar [calendar-             Jaime Anttonen                                                                                                                     Calendar File     Calendar invitation for 1/27/2017 phone call with
                                               notification@google.com]                                                                                                                                                                    David Ritcher from 1:00-3:00pm regarding third
                                                                                                                                                                                                                                           party

847                     1/27/2017   1:00 PM    Anthony Levandowski                    David Richter; Brendan Mulligan                                                                                                    Phone Call        1/27/2017 phone call with Anthony Levandowski,
                                                                                                                                                                                                                                           David Ritcher, and Bendan Mulligan regarding
                                                                                                                                                                                                                                           third party

848   UBER00076082      1/28/2017   7:24 PM    Anthony Levandowski                    Bruno Hexsel; Michael Tocce; Sachin                                                                                                E-Mail            Email regarding LiDAR localization.
                                                                                      Patil; Zac Vawter

849   UBER00076081      1/28/2017   9:06 PM    Anthony Levandowski                    Zac Vawter                                    Michael Tocce; Bruno Hexsel; Sachin                                                  E-Mail            Email regarding LiDAR localization.
                                                                                                                                    Patil

850   UBER00012299      1/28/2017   9:06 PM    Anthony Levandowski                    Zac Vawter                                    Michael Tocce; Bruno Hexsel; Sachin                                                  E-Mail            Email regarding rotation estimation related to
                                                                                                                                    Patil                                                                                                  LiDAR.

851   UBER00012302      1/28/2017   8:22 PM    Zac Vawter                             Anthony Levandowski                           Michael Tocce; Bruno Hexsel; Sachin                                                  E-Mail            Email regarding LiDAR issues with Anthony
                                                                                                                                    Patil                                                                                                  Levandowski.

852   UBER00012292      1/30/2017   11:32 PM   Michael Tocce                          Bruno Hexsel                                  Sachin Patil; Anthony Levandowski; Zac                                               E-Mail            Email regarding LiDAR issues with Anthony
                                                                                                                                    Vawter                                                                                                 Levandowski.

853   UBER00076783      1/30/2017              Anthony Levandowski                    Eric Meyhofer                                                                                                San Francisco         Meeting (notes)   Notes from 1/30/2017 one-on-one meeting with
                                                                                                                                                                                                                                           Anthony Levandowski.



854   UBER00076779      2/1/2017               Anthony Levandowski                    Raffi Krikorian; Shalin Mantri; Anthony                                                                      1455 Market Street,   Calendar File     Calendar invitation for 2/1/2017 simulation
                                                                                      Levandowksi; Drew Gray; Brian Bailey;                                                                        San Francisco                           meeting at 9:00-10:00am.
                                                                                      David Stager; Claire Delaunay; Craig
                                                                                      Quiter

855   UBER00076774      2/1/2017               Shalin Mantri                                                                                                                                                             Meeting (notes)   Meeting notes for 2/1/2017 simulation meeting at
                                                                                                                                                                                                                                           9:00-10:00am.


856   UBER00065220      2/1/2017               Travis Kalanick                        Travis Kalanick; Josh Andrews; Neil                                                                          1455 Market Street,   Calendar File     Calendar invitation for 2/1/2017 "birdhouse"
                                                                                      Stegall; Matt Sweeney; Matt Williams;                                                                        San Francisco                           meeting at 10:00pm.
                                                                                      Austin Geidt; Emil Micahel; David
                                                                                      Richter; Anthony Levandowski; Lior Ron;
                                                                                      Jeff Miller; Matt Burton; Raffi Krikorian;
                                                                                      Noah Zych; Eric Meyhofer; Guatam
                                                                                      Gupta; Sherif Marakby; Rajiv Krishnarao


857   UBER00098309      2/1/2017               Anthony Levandowski                    Shalin Mantri                                                                                                                      E-Mail            Email regarding simulation platform for software.



858   UBER00098336      2/1/2017    9:41 AM    Anthony Levandowski                    Max Levandowski                                                                                                                    Text Messages     Text messages regarding meeting with Max
      UBER00098337                                                                                                                                                                                                                         Levandowski and                        .
      UBER00098338
      UBER00098339
859   UBER00086658      2/1/2017    9:40 PM    Brendan Mulligan                                                                     Josh Andrews;                                                                        E-Mail            Email regarding end user license agreement for
                                                                                                                                                         Anthony                                                                                      LiDAR system.
                                                                                                                                    Levandowski; David Richter


860   UBER00076780      2/2/2017               Shalin Mantri                          Anthony Levandowski; David Stager;                                                                                                 Calendar File     Calendar invitation for 2/2/2017 simulation
                                                                                      Claire Delaunay; Drew Gray; Chip                                                                                                                     meeting.
                                                                                      DiBerardino; Brian Bailey; Raffi Krikorian;
                                                                                      Lior Ron
861   UBER00087052      2/4/2017    9:12 PM    Anthony Levandowski                    Max Levandowski                                                                                                                    Text Messages     Text messages regarding RX PCB adapter and




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862   UBER00076181      2/3/2017   2:11 AM   Anthony Levandowski                    Eric Meyhofer; Scott Boehmke                                                                                                     E-Mail          Email regarding laser from third party
863   UBER00076183      2/3/2017   2:30 AM   Anthony Levandowski                    Eric Meyhofer; Scott Boehmke                                                                                                     E-Mail          Email regarding laser from third party


864   UBER00076075      2/3/2017   6:25 AM   Google Calendar [calendar-             Adam Kenvarg                                                                                                 Lunch Tables        Calendar File   Accepted calendar invitation for 2/3/2017 LiDAR
                                             notification@google.com]                                                                                                                                                                update meeting at 12-12:30 pm.

865   UBER00076076      2/3/2017   6:25 AM   Anthony Levandowski                    Adam Kenvarg; Anthony Levandowski                                                                                                Calendar File   Calendar invitation for 2/3/2017 LiDAR update
                                                                                                                                                                                                                                     meeting at 12-12:30 pm.

866   UBER00076071      2/3/2017   9:53 PM   Google Calendar [calendar-             Adam Kenvarg                                                                                                                     E-Mail          Declined calendar invitation for 2/3/2017 LiDAR
                                             notification@google.com]                                                                                                                                                                update meeting at 2-2:30 pm.

867   UBER00076072      2/3/2017   9:53 PM   Anthony Levandowski                    Adam Kenvarg; Anthony Levandowski                                                                                                Calendar File   Calendar invitation for 2/3/2017 LiDAR update
                                                                                                                                                                                                                                     meeting at 2-2:30 pm.

868   UBER00076216      2/4/2017   9:21 AM   Anthony Levandowski                    David Stager                              Don Burnette                                                                           E-Mail          Email regarding LiDAR sensor from third party
869   UBER00076327      2/4/2017   9:21 AM   Anthony Levandowski                    David Stager                              Don Burnette                                                                           E-Mail          Email regarding strategy for LiDAR sensors.
870   UBER00076218      2/4/2017   9:25 AM   Anthony Levandowski                    David Stager                              Don Burnette                                                                           E-Mail          Email regarding strategy for LiDAR sensors.
871   UBER00076122      2/4/2017   9:25 AM   Anthony Levandowski                    Jeff Kiske                                                                                                                       E-Mail          Email regarding strategy for LiDAR sensors.
872   UBER00076178      2/4/2017   9:53 AM   Anthony Levandowski                    Scott Boehmke                                                                                                                    E-Mail          Email regarding laser from third party
873   UBER00076172      2/4/2017   9:55 AM   Anthony Levandowski                    Scott Boehmke                                                                                                                    E-Mail          Email regarding laser from third party
874   UBER00012290      2/4/2017   9:21 AM   Anthony Levandowski                    David Stager                              Don Burnette                                                                           E-Mail          Email regarding LiDAR blindspots.
875   UBER00076288      2/5/2017   4:40 AM   Anthony Levandowski                    Eric Meyhofer                                                                                                                    E-Mail          Email regarding laser blooming.
876   UBER00076289      2/5/2017   4:40 AM                                                                                                                                                                           Attachment      Attachment regarding laser blooming.
877   UBER00076722      2/6/2017   4:00 PM   Anthony Levandowski                    David Richter; Brendan Mulligan; Josh                                                                                            Phone Call      2/6/2017 phone call with Anthony Levandowski,
                                                                                    Andrews;                                                                                                                                         David Ritcher, Bendan Mulligan, and
                                                                                                                                                                                                                                     representatives from third party
878   UBER00076728      2/6/2017   4:18 PM   Google Calendar [calendar-             Josh Andrews                                                                                                                     Calendar File   Calendar invitation for 2/6/2017 meeting at 4:00-
                                             notification@google.com]                                                                                                                                                                5:00pm with representatives from third party
                                                                                                                                                                                                                                                               ).

879   UBER00076729      2/6/2017   4:18 PM                                          Josh Andrews                                                                                                                     Calendar File   Calendar invitation for 2/6/2017 meeting at 4:00-
                                                                                                                                                                                                                                     5:00pm with representatives from third party


880   UBER00076717      2/6/2017   4:20 PM   Google Calendar [calendar-             Josh Andrews                                                                                                                     Calendar File   Calendar invitation for 2/6/2017 meeting at 4:00-
                                             notification@google.com]                                                                                                                                                                5:00pm with representatives from third party
                                                                                                                                                                                                                                                               ).

881   UBER00076718      2/6/2017   4:20 PM   David Richter                          Josh Andrews; David Richter                                                                                                      Calendar File   Calendar invitation for 2/6/2017 meeting at 4:00-
                                                                                                                                                                                                                                     5:00pm with representatives from third party


882   UBER00076719      2/6/2017   8:11 PM   Google Calendar [calendar-             Josh Andrews                                                                                                                     Calendar File   Accepted calendar invitation for 2/6/2017
                                             notification@google.com]                                                                                                                                                                meeting at 4:00-5:00pm with representatives
                                                                                                                                                                                                                                     from third party

883   UBER00076721      2/6/2017   8:11 PM   Brendan Mulligan                       Josh Andrews; Brendan Mulligan                                                                                                   Calendar File   Accepted calendar invitation for 2/6/2017
                                                                                                                                                                                                                                     meeting at 4:00-5:00pm with representatives
                                                                                                                                                                                                                                     from third party

884   UBER00076722      2/6/2017   9:20 PM   Google Calendar [calendar-             Josh Andrews                                                                                                                     Calendar File   Accepted calendar invitation for 2/6/2017
                                             notification@google.com]                                                                                                                                                                meeting at 4:00-5:00pm with representatives
                                                                                                                                                                                                                                     from third party                            ).

885   UBER00076724      2/6/2017   9:20 PM   Anthony Levandowski                    Josh Andrews; Anthony Levandowski                                                                                                Calendar File   Accepted calendar invitation for 2/6/2017
                                                                                                                                                                                                                                     meeting at 4:00-5:00pm with representatives
                                                                                                                                                                                                                                     from third party

886                     2/6/2017             Anthony Levandowski                    Andrew Beck; Jeff Miller; Ophir Samson;                                                                      737 Harrison Street, Meeting        Meeting regarding ecosystem and platform for
                                                                                    Lior Ron; Eric Meyhofer                                                                                      San Francisco                       self-driving vehicles, including hardware
                                                                                                                                                                                                                                     standards.

887   UBER00076484      2/6/2017             Anthony Levandowski                    Claire Delaunay; Mason Feldman; David                                                                                            Document        Document regarding competition for open source
                                                                                    Weikersdorfer; Raffi Krikorian; Ophir                                                                                                            AI using camera and laser based driving.
                                                                                    Samson; Jeff Miller




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928   UBER00076804      2/15/2017              Kim Fennell                          Anthony Levandowski; Brian McClendon;                                                                        1455 Market Street,   Calendar File   Calendar invitation for 2/15/2017 meeting with
                                                                                    Kim Fennell; Manik Gupta; Michael                                                                            San Francisco                         third party vendor            (invited
                                                                                    Tocce; Michael Weiss-Malik; Lior Ron;                                                                                                              representatives Harold Goddijn, Anders
                                                                                    Linda Nellis                                                                                                                                       Truelsen, and Willem Strijbosh) regarding LiDAR
                                                                                                                                                                                                                                       data and data processing at 3:30-5:00pm.
929   UBER00012263      2/15/2017   9:44 PM    Eric Meyhofer                        Scott Boehmke                                Anthony Levandowski                                                                   E-Mail          Email regarding            r and LADAR calibration
                                                                                                                                                                                                                                       with Anthony Levandowski.
930   UBER00012478      2/15/2017   12:39 PM   Scott Boehmke                        Eric Meyhofer; Anthony Levandowski                                                                                                 E-Mail          Email regarding Luminar and LADAR calibration
                                                                                                                                                                                                                                       with Anthony Levandowski.
931   UBER00086676      2/15/2017              Austin Russell [Luminar]                                                          Anthony Levandowski                                                                   E-Mail          Email regarding feature update to Luminar
                                                                                                                                                                                                                                       LiDAR system.
932   UBER00076187      2/16/2017   6:37 AM    Anthony Levandowski                  Eric Meyhofer                                Scott Boehmke                                                                         E-Mail          Email regarding ladar and sensor from third
                                                                                                                                                                                                                                       party          .
933   UBER00076174      2/16/2017   6:38 AM    Anthony Levandowski                  Eric Meyhofer                                Scott Boehmke                                                                         E-Mail          Email regarding ladar and sensor from third
                                                                                                                                                                                                                                       party
934   UBER00236593      2/16/2017   3 16 PM    Anthony Levandowski                  Eric Meyhofer; Anthony Levandowski                                                                                                 Text Message    Text message with Anthony Levandowski
                                                                                                                                                                                                                                       regarding third party           LiDAR.
935   UBER00076323      2/16/2017   6:25 PM    Anthony Levandowski                  Justin Kintz; Jeff Miller; Sherif Marakby;   Travis Kalanick                                                                       E-Mail          Email regarding communication with Kyle Vogt
                                                                                    Eric Meyhofer                                                                                                                                      from third party Cruise.
936   UBER00076225      2/16/2017   6:25 PM    Anthony Levandowski                  Justin Kintz; Jeff Miller; Sherif Marakby;   Travis Kalanick                                                                       E-Mail          Email regarding 2/16/17 meeting with Kyle Vogt
                                                                                    Eric Meyhofer                                                                                                                                      from Cruise.
937   UBER00063730      2/16/2017   6:25 PM    Anthony Levandowski                  Justin Kintz; Jeff Miller; Sherif Marakby;   Travis Kalanick                                                                       E-Mail          Email regarding laser development in market.
938   UBER00012255      2/16/2017   6:38 AM    Anthony Levandowski                  Eric Meyhofer                                Scott Boehmke                                                                         E-Mail          Email regarding             laser.


939   UBER00301508      2/16/2017   7 02 PM    Anthony Levandowski                  Don Burnette; Anthony Levandowski                                                                                                  Text Messages   Text messages with Anthony Levandowski
      UBER00301509                                                                                                                                                                                                                     regarding laser.
      UBER00301510
      UBER00301511
      UBER00301512
      UBER00301513
      UBER00301514
      UBER00301515
      UBER00301516
      UBER00301517
      UBER00301518
      UBER00301519
      UBER00301520
      UBER00301521
      UBER00301522
      UBER00301523
940   UBER00012251      2/16/2017   9:54 PM    Matt Sweeney                         Eric Meyhofer; Scott Boehmke; Chelsea        Eric Meyhofer; Anthony Levandowski                                                    E-Mail          Email referencing that Anthony mentioned new
                                                                                    Maughan Kohler                                                                                                                                     LiDAR they were characterizing.




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941   UBER00098347      2/16/2017      11:25 PM   Anthony Levandowski                    Max Levandowski                                                                                                          Text Messages   Text messages regarding LiDAR prototype.
      UBER00098348
      UBER00098349
      UBER00098350
      UBER00098351
      UBER00098352
      UBER00098353
      UBER00098354
      UBER00098355
      UBER00098356
      UBER00098357
      UBER00098358
      UBER00098359
      UBER00098360
      UBER00098361
      UBER00098362
      UBER00098363
      UBER00098364
      UBER00098365
      UBER00098366
      UBER00098367

942   UBER00076073      2/17/2017      8:02 PM    Anthony Levandowski                    Adam Kenvarg                                                                                              Lunch Tables   Calendar File   Accepted calendar invitation to 2/17/2017 LiDAR
                                                                                                                                                                                                                                  update meeting at 12-12:30 pm.

943   UBER00076074      2/17/2017      8:02 PM    Anthony Levandowski                    Adam Kenvarg; Anthony Levandowski                                                                                        Calendar File   Calendar invitation to 2/17/2017 LiDAR update
                                                                                                                                                                                                                                  meeting at 12-12:30 pm.



944                     2/17/2017      2:55 PM    Anthony Levandowski                    Adam Kenvarg                                                                                                             Text Message    Text message where Anthony Levandowski
                                                                                                                                                                                                                                  states that he will be attending LiDAR lunch
945   UBER00076331      2/18/2017      2:41 AM    Anthony Levandowski                    Emil Michael                                                                                                             E-Mail          Email regarding 2/16/17 meeting with Kyle Vogt
                                                                                                                                                                                                                                  from Cruise.
946   UBER00076060      2/18/2017      7:34 AM    Anthony Levandowski                    Amit Singhal; Manik Gupta                                                                                                E-Mail          Email regarding 2/16/17 meeting with Kyle Vogt
                                                                                                                                                                                                                                  from Cruise.
947   UBER00301539      2/20/2017      9 18 PM    Anthony Levandowski                    Don Burnette; Anthony Levandowski                                                                                        Text Messages   Text messages with Anthony Levandowski
      UBER00301540                                                                                                                                                                                                                attaching testing videos.
      UBER00301541
      UBER00301542
948   UBER00076329      2/21/2017      12:46 AM   Anthony Levandowski                    Chelsea Kohler                                                                                                           E-Mail          Email regarding LiDAR video.


949   UBER00076038      2/21/2017      6:25 AM    Anthony Levandowski                    Lior Ron                                                                                                                 E-Mail          Email regarding LiDAR data and third party
950   UBER00076275      2/21/2017      12:39 PM   Anthony Levandowski                    Eric Meyhofer                                                                                                            E-Mail          Email regarding free space detector.



951   UBER00012724      2/21/2017      10:05 PM   Adam Kenvarg                           Otto MechEs [Ottomes@uber.com]                                                                                           E-Mail          Email with notes from February 21, 2017
                                                                                                                                                                                                                                  meeting with Anthony and Eric regarding LiDAR.

952                     September                 Anthony Levandowski                    Cameron Poetzscher                                                                                                       Meeting         Meeting with Anthony Levandowski regarding
                        2015                                                                                                                                                                                                      potential purchase of lasers.


953                     Just after                Anthony Levandowski                    Nina Qi                                                                                                                  Meetings        Meetings with Anthony Levandowski regarding
                        September                                                                                                                                                                                                 potential purchase of lasers.
                        2015
954                     Just after                Cameron Poetzscher; Brian McClendon;                                                                                                                            Meeting         Meeting discussing outreach by Anthony
                        September                 Nina Qi                                                                                                                                                                         Levandowski to Brian McClendon regarding
                        2015                                                                                                                                                                                                      LiDAR company and potential investment.
955                     October 2015              Anthony Levandowski                    Brian McClendon                                                                                                          Meeting         Meeting with Anthony Levandowski discussing
                                                                                                                                                                                                                                  potential involvement with Uber on LiDAR.




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956                     Before August           Anthony Levandowski                Lior Ron                                                                                                                            One-on-one      Conversations with Anthony Levandowski where
                        2016                                                                                                                                                                                           conversations   Anthony mentioned LiDAR, in connection with
                                                                                                                                                                                                                                       setting of milestones for payment related to the
                                                                                                                                                                                                                                       transaction.




957                     Before August           Anthony Levandowski                Don Burnette                                                                                                 The Rails              One-on-one      Conversations with Anthony Levandowski where
                        2016                                                                                                                                                                    100 Mayfield Ave,      conversations   Anthony mentioned LiDAR , including while Mr.
                                                                                                                                                                                                Mountain View                          Levandowski and Mr. Burnette were Google
                                                                                                                                                                                                                                       employees. Likely also had conversations with
                                                                                                                                                                                                Cowper Street, Palo                    Anthony Levandowski where Anthony mentioned
                                                                                                                                                                                                Alto                                   LiDAR at Cowper Street or 737 Harrison Street
                                                                                                                                                                                                                                       while Otto employees, but has no independent
                                                                                                                                                                                                737 Harrison Street,                   recollection of any specific conversation.
                                                                                                                                                                                                San Francisco


958                     Before August           Anthony Levandowski                Claire Delaunay                                                                                              The Rails              One-on-one      Conversations with Anthony Levandowski where
                        2016                                                                                                                                                                    100 Mayfield Ave,      conversations   Anthony mentioned LiDAR , including general
                                                                                                                                                                                                Mountain View                          discussion of use of LiDAR in work while Mr.
                                                                                                                                                                                                                                       Levandowski and Ms. Delaunay were Google
                                                                                                                                                                                                Cowper Street, Palo                    employees. Likely also had meetings with
                                                                                                                                                                                                Alto                                   Anthony Levandowski where Anthony mentioned
                                                                                                                                                                                                                                       LiDAR at Cowper Street or 737 Harrison Street
                                                                                                                                                                                                737 Harrison Street,                   while Otto employees, but has no independent
                                                                                                                                                                                                San Francisco                          recollection of any specific meeting.

959                     Before August           Anthony Levandowski                David Weikersdorfer                                                                                                                 One-on-one      Conversations with Anthony Levandowski where
                        2016                                                                                                                                                                                           conversations   Anthony mentioned LiDAR .



960                     Before August           Anthony Levandowski                George Lagui                                                                                                 Cowper Street, Palo One-on-one         Impromptu conversations with Anthony
                        2016                                                                                                                                                                    Alto                   conversations   Levandowski where Anthony mentioned LiDAR.
                                                                                                                                                                                                                                       No independent recollection of any specific
                                                                                                                                                                                                                                       meeting.



961                     Before August           Anthony Levandowski                Nancy Sun                                                                                                    737 Harrison Street, One-on-one        Conversations with Anthony Levandowski where
                        2016                                                                                                                                                                    San Francisco          conversations   Anthony mentioned LiDAR, including one
                                                                                                                                                                                                                                       conversation regarding selection of electrical
                                                                                                                                                                                                                                       CAD tool for electrical engineering team for use
                                                                                                                                                                                                                                       on boards that would support LiDAR
962                     Before August           Anthony Levandowski                James Haslim                                                                                                                        Phone Calls     Phone call from Anthony Levandowski regarding
                        2016                                                                                                                                                                                                           LiDAR on personal cell phone.

963                     Spring 2016             Anthony Levandowski                Carl Wellington; Brian Zajac; Scott                                                                          3011 Smallman,         Meeting         Meeting regarding NextGen layout and
                                                                                   Boehmke                                                                                                      Pittsburgh                             requirements.
964                     March 2016              Anthony Levandowski                Brian McClendon                                                                                                                     Phone Calls     May have had phone calls with Anthony
                                                                                                                                                                                                                                       Levandowski where Anthony mentioned LiDAR.
965                     March or April          Anthony Levandowski                Dan Ratner; Thomas Smith                                                                                     Cowper Street, Palo Conversation       Conversation regarding LiDAR component.
                        2016                                                                                                                                                                    Alto
966                     March or April          Anthony Levandowski                Somchaya Liemhetcharat and others                                                                            Pittsburgh             Meeting         May have had meeting with Anthony
                        2016                                                                                                                                                                                                           Levandowski where Anthony mentioned LiDAR.

967                     April 2016              Anthony Levandowski                Gaetan Pennecot                                                                                                                     Conversation    Conversation with Anthony Levandowski
                                                                                                                                                                                                                                       regarding leadership over FAC lens project.
968                     Early May               Anthony Levandowski                Scott Boehmke; Dan Gruver; Dan Ratner                                                                        737 Harrison Street, Meeting           Meeting with Anthony Levandowski regarding
                        2016                                                                                                                                                                    San Francisco                          development of LiDAR sensor.




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969                     May 2016              Anthony Levandowski                James Haslim                                                                                                                        Conversation         Weekly conversations with Anthony
                                                                                                                                                                                                                                          Levandowski that likely involved discussion of
                                                                                                                                                                                                                                          LiDAR status.
970                     May 2016              Anthony Levandowski                Brian Zajac; Carl Wellington; Robert Doll;                                                                   Pittsburgh             Meeting              Meeting regarding laser specifications.
                                                                                 John Bares; and others
971                     May 2016              Anthony Levandowski                Ben Becker; James Haslim; and others                                                                         737 Harrison Street, Meeting                Meeting with former employees of Tyto LiDAR.
                                                                                                                                                                                              San Francisco
972                     May or June           Anthony Levandowski                Filip Trojanek and others                                                                                    737 Harrison Street, Meeting                Conversation with Anthony Levandowski related
                        2016                                                                                                                                                                  San Francisco                               to work mounting sensors on vehicle.



973                     May to                Anthony Levandowski                Adam Kenvarg; James Haslim; Florin                                                                           737 Harrison Street, Meetings (recurring)   Weekly LiDAR team meetings with attendance
                        November                                                 Ignatescu; Dan Gruver; Dan Ratner;                                                                           San Francisco                               by Anthony Levandowski on approximately two
                        2016                                                     Gaetan Pennecot; Mike Karasoff; Nancy                                                                                                                    occasions in May/June 2016 and October 2016.
                                                                                 Sun; and potentially others

974                     May to                Anthony Levandowski                Thomas Smith                                                                                                 737 Harrison Street, One-on-one             Conversation regarding power systems for
                        November                                                                                                                                                              San Francisco          conversation         LiDAR.
                        2016
975                     June 2016             Anthony Levandowski                Mike Karasoff; James Haslim; Nancy                                                                           737 Harrison Street, Meeting                Meeting regarding timing and receiver boards.
                                                                                 Sun; and potentially others                                                                                  San Francisco
976                     June or July          Anthony Levandowski                Eric Berdinis and others                                                                                     Fishbowl,              Meeting              Meeting with team leads regarding LiDAR use
                        2016                                                                                                                                                                  737 Harrison Street,                        on vehicles.
                                                                                                                                                                                              San Francisco
977                     June or July          Anthony Levandowski                Claire Delaunay; James Haslim; David                                                                         737 Harrison Street, Meetings               Meetings regarding LiDAR installation on
                        2016                                                     Weikersdorfer; and potentially others                                                                        San Francisco                               vehicle.
                                                                                 from Otto hardware team.



978                     June or July          Anthony Levandowski                Mike Karasoff                                                                                                737 Harrison Street, One-on-one             Conversation with Anthony Levandowski
                        2016                                                                                                                                                                  San Francisco          conversation         regarding link between board and model.


979                     August 2016           Anthony Levandowski                Gus Fuldner                                                                                                  737 Harrison Street, One-on-one             May have had conversation with Anthony
                                                                                                                                                                                              San Francisco          conversation         Levandowski where Anthony mentioned LiDAR
                                                                                                                                                                                                                                          during tour of truck.
980                     Summer 2016           Anthony Levandowski                Dan Ratner; Mike Karasoff                                                                                    737 Harrison Street, Conversation           Conversation with Anthony Levandowski
                                                                                                                                                                                              San Francisco                               regarding light pumps, in person at Dan Ratner's
                                                                                                                                                                                                                                          desk.

981                     Summer 2016           Anthony Levandowski                Gaetan Pennecot                                                                                                                     Conversation         Conversation with Anthony Levandowski
                                                                                                                                                                                                                                          regarding receipt of FAC lenses.
982                     September             Anthony Levandowski                Otto engineer team                                                                                           737 Harrison Street, Meetings               Meetings regarding demonstration truck and
                        2016                                                                                                                                                                  San Francisco                                          LiDAR.

983                     June or July          Anthony Levandowski                Mike Karasoff                                                                                                737 Harrison Street, One-on-one             Conversation with Anthony Levandowski
                        2016                                                                                                                                                                  San Francisco          conversation         regarding link between board and model.



984                     October 2016          Anthony Levandowski                Dan Ratner                                                                                                   737 Harrison Street, One-on-one             Conversation with Anthony Levandowski
                                                                                                                                                                                              San Francisco          conversation         regarding CAD models, in person at Dan
                                                                                                                                                                                                                                          Ratner's desk.

985                     October or            Anthony Levandowski                Brian Zajac; Eric Meyhofer; and others                                                                       50 33rd Street,        Meeting              Meeting regarding discussion of Uber ATG
                        November                                                                                                                                                              Pittsburgh                                  needs and LiDAR development by third party
                        2016                                                                                                                                                                                                              manufacturer/supplier.
986                     October or            Anthony Levandowski                Philipp Haban                                                                                                50 33rd Street,        One-on-one           Conversation regarding LiDAR design.
                        November                                                                                                                                                              Pittsburgh             conversation
                        2016
987                     October or            Anthony Levandowski                Michael Tocce and others                                                                                     737 Harrison Street, Conversation           Conversation regarding LiDAR team support.
                        November                                                                                                                                                              San Francisco
                        2016
988                     November or           Anthony Levandowski                Mike Karasoff                                                                                                737 Harrison Street, Conversation           Conversation regarding LiDAR scan.
                        December                                                                                                                                                              San Francisco




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989                      December               Anthony Levandowski                John Bares                                                                                                                         Meeting             Meeting regarding potential supply agreement
                         2016                                                                                                                                                                                                             for lasers.

990                      Fall 2016              Anthony Levandowski                Carl Wellington; Brian Zajac; Scott                                                                          3011 Smallman,        Meetings            Meetings regarding changes to LiDAR system.
                                                                                   Boehmke                                                                                                      Pittsburgh

991                      Fall 2016              Anthony Levandowski                Carl Wellington; Brian Zajac; Scott                                                                                                Phone Calls         Phone calls regarding changes to LiDAR
                                                                                   Boehmke                                                                                                                                                system.

992                      Late 2016              Anthony Levandowski                Gus Fuldner                                                                                                  1455 Market Street,   One-on-one          Conversation regarding LiDAR and insurance.
                                                                                                                                                                                                San Francisco         conversation

993                      Early 2017             Anthony Levandowski                David Richter; Jeff Miller; Ophir Samson;                                                                    1455 Market Street,   Meetings            Meetings regarding                       from third
                                                                                   and others                                                                                                   San Francisco                             party


994                      Early 2017             Anthony Levandowski                Ophir Samson                                                                                                 1455 Market Street,   One-on-one          Conversations regarding                       from
                                                                                                                                                                                                San Francisco         conversation        third party              at Ophir Samson's desk.




995                      Early 2017             Anthony Levandowski                David Richter                                                                                                                      Phone Calls; Text   Phone calls and text messages regarding
                                                                                                                                                                                                                      Messages                          sensors from third party            on
                                                                                                                                                                                                                                          personal cell phone. Mr. Richter no longer has
                                                                                                                                                                                                                                          recollected text messages on personal cell
                                                                                                                                                                                                                                          phone.
996                      Early 2017             Anthony Levandowski                Don Burnette                                                                                                                       One-on-one          May have had approximately five conversations
                                                                                                                                                                                                                      conversations       regarding LiDAR. No recollection of any
                                                                                                                                                                                                                                          specific conversation.
997                      January or             Anthony Levandowski                Carlos Vallespi-Gonzalez                                                                                     50 33rd Street,       One-on-one          Lunch meeting conversation regarding use of
                         February 2017                                                                                                                                                          Pittsburgh            conversation        LiDAR in weather.



998                      January 2017           Anthony Levandowski                Carl Wellington                                                                                              50 33rd Street,       One-on-one          Impromptu conversation with Anthony
                                                                                                                                                                                                Pittsburgh            conversation        Levandowski, including picture of point cloud
                                                                                                                                                                                                                                          from                           LiDAR.
999                      January 2017           Anthony Levandowski                Carl Wellington                                                                                              Denver International Meeting              Meeting regarding LiDAR system and coverage.
                                                                                                                                                                                                Airport




1000                     January 2017           Anthony Levandowski                Brian Zajac                                                                                                                        Text Messages       May have had text messages from Anthony
                                                                                                                                                                                                                                          Levandowski where Anthony mentioned LiDAR
                                                                                                                                                                                                                                          on personal cell phone. Mr. Zajac no longer has
                                                                                                                                                                                                                                          recollected text messages on personal cell
                                                                                                                                                                                                                                          phone.
1001                     February 2017          Anthony Levandowski                Carl Wellington; Scott Boehmke; Dan                                                                                                Meeting             Meeting discussing              LiDAR
                                                                                   Tascione                                                                                                                                               specifications and capabilities.


1002                     February 2017          Anthony Levandowski                Carl Wellington; Scott Boehmke; Dan                                                                                                Document            Document reflecting discussion in comments
                                                                                   Tascione                                                                                                                                               regarding              LiDAR specifications and
                                                                                                                                                                                                                                          capabilities.




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1003   UBER00065221      2/23/2017              Travis Kalanick                       Travis Kalanick; Eric Meyhofer; Neil                                     SFO | 1455 Market - 04th War Room   1455 Market Street,   Calendar File     Calendar invitation for 2/23/17 Birdhouse Jam
                                                                                      Stegall; Matt Burton; Rajiv Krishnarao;                                  (12) (R)                            San Francisco                           meeting at 12:30-2:30am.
                                                                                      David Richter; Lior Ron; Raffi Krikorian;                                [uber.com_373837383539312d313330
                                                                                      Anthony Levandowski;                                                     @resource.calendar.google.com]
                                                                                      bwest@xchangeleasing.com; Claire
                                                                                      Delaunay; Jeff Miller; Austin Geidt; Matt
                                                                                      Williams; Gautam Gupta; Jeremy Fine;
                                                                                      talwar@xchangeleasing.com; Emil
                                                                                      Michael; Matt Sweeney; Sherif Marakby;
                                                                                      Noah Zych
1004   UBER00098292      2/23/2017              Dan Gruver                                                                                                                                                               Meeting (notes)   Notes from 2/23/2017 Lidar TPM/Status
                                                                                                                                                                                                                                           meeting.




1005                     2/24/2017   6:00 PM    Ognen Stojanovski                     Anthony Levandowski                                                                                                                Text Message      Text message from Ognen Stojanovski
                                                                                                                                                                                                                                           regarding videos with LiDAR team and
                                                                                                                                                                                                                                           requesting phone call with Anthony
                                                                                                                                                                                                                                           Levandowski.
1006   UBER00011465      2/24/2017   9:15 PM    Gaetan Pennecot                       Anthony Levandowski                                                                                                                E-Mail            Email regarding Fuji data.
1007   UBER00011466      2/24/2017   9:15 PM                                                                                                                                                                             Attachment        Attachment regarding Fuji data.
1008   UBER00011467      2/24/2017   9:15 PM                                                                                                                                                                             Attachment        Attachment regarding Fuji data.
1009   UBER00011468      2/24/2017   9:15 PM                                                                                                                                                                             Attachment        Attachment regarding Fuji data.
1010   UBER00011469      2/24/2017   9:15 PM                                                                                                                                                                             Attachment        Attachment regarding Fuji data.
1011   UBER00011470      2/24/2017   9:15 PM                                                                                                                                                                             Attachment        Attachment regarding Fuji data.
1012   UBER00011471      2/24/2017   9:15 PM                                                                                                                                                                             Attachment        Attachment regarding Fuji data.
1013   UBER00011472      2/24/2017   9:15 PM                                                                                                                                                                             Attachment        Attachment regarding Fuji data.

1014   UBER00086647      2/24/2017   10:22 PM   Anthony Levandowski                   Lior Ron                                                                                                                           E-Mail            Email regarding Fuji lens data.

1015   UBER00086648      2/24/2017   10:22 PM                                                                                                                                                                            Attachment        Attachment regarding Fuji lens data.

1016   UBER00086649      2/24/2017   10:22 PM                                                                                                                                                                            Attachment        Attachment regarding Fuji lens data.

1017   UBER00086650      2/24/2017   10:22 PM                                                                                                                                                                            Attachment        Attachment regarding Fuji lens data.

1018   UBER00086651      2/24/2017   10:22 PM                                                                                                                                                                            Attachment        Attachment regarding Fuji lens data.
1019   UBER00086652      2/24/2017   10:22 PM                                                                                                                                                                            Attachment        Attachment regarding Fuji lens data.

1020   UBER00086653      2/24/2017   10:22 PM                                                                                                                                                                            Attachment        Attachment regarding Fuji lens data.

1021   UBER00086654      2/24/2017   10:22 PM                                                                                                                                                                            Attachment        Attachment regarding Fuji lens data.




1022                     2/24/2017              Anthony Levandowski                                                                                                                                737 Harrison,         Meeting           ATG all hands meeting, including presentation
                                                                                                                                                                                                   San Francisco                           by Anthony Levandowski from 737 Harrison
                                                                                                                                                                                                                                           regarding LiDAR.
                                                                                                                                                                                                   50 33rd Street,
                                                                                                                                                                                                   Pittsburgh


                                                                                                                                                                                                   Zoom

1023                     Around                 Anthony Levandowski; Lior Ron         Jessica Yox; James Haslim                                                                                    737 Harrison,         Conversation      Conversation with Anthony Levandowski and
                         2/24/2017                                                                                                                                                                 San Francisco                           Lior Ron regarding video of equipment used to
                                                                                                                                                                                                                                           calibrate LiDAR.

1024   UBER00069520      2/25/2017   7:19 AM    Shalin Mantri                         Anthony Levandowski;Travis Kalanick                                                                                                E-Mail            Email regarding 2/24/2017 ATG all hands
                                                                                                                                                                                                                                           meeting and presentation by Anthony regarding
                                                                                                                                                                                                                                           LiDAR.
1025   UBER00086642      2/26/2017   1:44 PM    Anthony Levandowski                                                                                                                                                      Document          Document regarding 2/27/17 Mobile World
                                                                                                                                                                                                                                           Congress keynote, including discussion of laser
                                                                                                                                                                                                                                           and camera technology.




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       (as applicable)                                                                                                                                                                                                               Communication

1026   UBER00086531      2/26/2017   6:41 PM    Anthony Levandowski                   Shari Doherty                                                                                                                                  E-Mail            Email regarding 2/27/17 Mobile World Congress
                                                                                                                                                                                                                                                       keynote, including discussion of laser and
                                                                                                                                                                                                                                                       camera technology.
1027   UBER00065245      2/27/2017   2:33 AM    Anthony Levandowski                   Shalin Mantri; Travis Kalanick                                                                                                                 E-Mail            Email regarding ATG all hands meeting,
                                                                                                                                                                                                                                                       including presentation by Anthony Levandowski
                                                                                                                                                                                                                                                       regarding LiDAR.
1028   UBER00098303      2/27/2017   6:34 PM    Dan Gruver                            Sarah Abboud                                 Mason Feldman                                                                                     E-Mail            Email regarding LiDAR R&D slides for ATG all
                                                                                                                                                                                                                                                       hands presentation by Anthony Levandowski.


1029   UBER00086495      3/1/2017    3:10 AM    Anthony Levandowski                   Carl Wellington; Tony Stentz                 Tony Stentz; Carl Wellington; David                                                               E-Mail            Email regarding report on virtual bumper events
                                                                                                                                   Stager; Don Burnette; John Bares; Tom                                                                               relating to pedestrians and laser points.
                                                                                                                                   Petroff
1030   UBER00065573      3/1/2017    3:45 AM    Anthony Levandowski                   atg-fte@uber.com                             Travis Kalanick                                                                                   E-Mail            Email regarding city deployment update
                                                                                                                                                                                                                                                       referencing          LiDAR blueprint and planner
                                                                                                                                                                                                                                                       tuning, builds, and testing.

1031   UBER00086497      3/2/2017    1:43 AM    Anthony Levandowski                   David Richter                                Lior Ron                                                                                          E-Mail            Email regarding TetraVue LiDAR.




1032   UBER00087056      3/2/2017    10:38 AM   Anthony Levandowski                   Max Levandowski                                                                                                                                Text Messages     Text messages from Anthony Levandowski
       UBER00087057                                                                                                                                                                                                                                    regarding            lasers on personal cell
       UBER00087058                                                                                                                                                                                                                                    phone.
       UBER00087059
       UBER00087060

1033   UBER00098292      3/2/2017               Dan Gruver                                                                                                                                                                           Meeting (notes)   Notes from 3/2/2017 Lidar TPM/Status meeting.




1034   UBER00098305      3/3/2017    4:36 PM    Sonny Saldua                          Rhian Morgan                                 Mason Feldman; Dan Gruver; Eyal                                                                   E-Mail            Email regarding LiDAR sync including reference
                                                                                                                                   Cohen; James Haslim; Lior Ron; Nancy                                                                                to future communication between Anthony
                                                                                                                                   Sun; Soren Juelsgaard; Thomas Smith                                                                                 Levandowski, Lior Ron, and Sonny Saldua.

1035   UBER00086517      3/8/2017    8:31 PM    Google Calendar [calendar-            Adam Kenvarg                                                                                                                                   Calendar File     Declined calendar invite for 3/10/17 LiDAR
                                                notification@google.com]                                                                                                                                                                               update meeting at 12:00-12:30pm.

1036   UBER00086518      3/8/2017    8:31 PM    Anthony Levandowski                   Adam Kenvarg; Anthony Levandowski                                                                                                              Calendar File     Calendar invite for 3/10/17 LiDAR update
                                                                                                                                                                                                                                                       meeting at 12:00-12:30pm.




1037   UBER00065202      3/8/2017               Travis Kalanick                       Travis Kalanick; Jeff Miller; Matt Burton;                                           SFO | 1455 Market - 04th War Room   1455 Market Street,   Calendar File     Calendar invitation for 3/8/17 Birdhouse Jam
                                                                                      Don Burnette; Paw Andersen; Josh                                                     (12) (R)                            San Francisco                           meeting at 10:30pm-12:30am.
                                                                                      Andrews; Jeremy Fine; Emil Michael;                                                  [uber.com_373837383539312d313330
                                                                                      Rajiv Krishnarao; Anthony Levandowski;                                               @resource.calendar.google.com]
                                                                                      Eric Meyhofer; Brian Cullinane; David
                                                                                      Richter; Neil Stegall; Matt Williams; Noah
                                                                                      Zych; Austin Geidt; Betsy Masiello


1038   UBER00065203      3/8/2017               Travis Kalanick                       Travis Kalanick; David Richter; Matt                                                 SFO | 1455 Market - 04th War Room   1455 Market Street,   Calendar File     Calendar invitation for 3/8/17 Birdhouse Jam
                                                                                      Burton; Don Burnette; Austin Geidt; Paw                                              (12) (R)                            San Francisco                           meeting at 10:30pm-12:30am.
                                                                                      Andersen; Emil Michael; Brian Cullinane;                                             [uber.com_373837383539312d313330
                                                                                      Anthony Levandowski; Jeremy Fine; Neil                                               @resource.calendar.google.com]
                                                                                      Stegall; Jeff Miller; Eric Meyhofer; Matt
                                                                                      Williams; Betsy Masiello; Noah Zych;
                                                                                      Rajiv Krishnarao; Josh Andrews




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1039   UBER00086492      3/9/2017    1:19 PM    Anthony Levandowski                    Michael Karasoff                     James Haslim                                                                                   E-Mail            Email regarding Fuji proto build update.




1040   UBER00098292      3/9/2017               Dan Gruver                                                                                                                                                                 Meeting (notes)   Notes from 3/9/2017 Lidar TPM/Status meeting.




1041   UBER00098368      3/10/2017   12:53 PM   Anthony Levandowski                    Max Levandowski                                                                                                                     Text Messages     Text messages with photo from Anthony
       UBER00098369                                                                                                                                                                                                                          Levandowski related to LiDAR on personal cell
       UBER00098370                                                                                                                                                                                                                          phone.
       UBER00098371
       UBER00098372

1042   UBER00087026      3/10/2017   2:38 PM    Anthony Levandowski                    Max Levandowski                                                                                                                     Text Messages     Text messages with photo from Anthony
       UBER00087027                                                                                                                                                                                                                          Levandowski related to LiDAR on personal cell
       UBER00087028                                                                                                                                                                                                                          phone.
       UBER00087029
       UBER00087030
1043                     3/10/2017              Anthony Levandowski                                                                                                                                 Palo Alto              Meeting           Uber Technology Day at at Palo Alto office,
                                                                                                                                                                                                                                             including keynote speech by Anthony
                                                                                                                                                                                                                                             Levandowski regarding self-driving vehicles and
                                                                                                                                                                                                                                             LiDAR technology.


1044   UBER00086588      3/12/2017   7:57 AM    Google Calendar [calendar-             Dan Gruver                                                                                                                          Calendar File     Declined calendar invite for 3/14/17 LiDAR
                                                notification@google.com]                                                                                                                                                                     standup meeting at 10:00-10:30am.


1045   UBER00065491      3/13/2017   5:10 PM    Google Calendar [calendar-             Anthony Levandowski                                                                                          50 33rd Street,        Calendar File     Accepted calendar invite for 3/13/17 AL leads
                                                notification@google.com]                                                                                                                            Pittsburgh                               meeting at 12:00-12:30pm.


1046   UBER00065510      3/13/2017   6:05 PM    Google Calendar [calendar-             Anthony Levandowski                                                                                          50 33rd Street,        Calendar File     Accepted calendar invite for 3/13/17 AL leads
                                                notification@google.com]                                                                                                                            Pittsburgh                               meeting at 2:00-2:30pm.




1047   UBER00065522      3/14/2017   3:37 PM    Google Calendar [calendar-             Anthony Levandowski                                                                                          1455 Market Street,    Calendar File     Declined calendar invite for 3/28/17 ATG Staff
                                                notification@google.com]                                                                                                                            San Francisco                            Meeting at 11:00am-12:00pm.


                                                                                                                                                                                                    50 33rd Street,
                                                                                                                                                                                                    Pittsburgh


                                                                                                                                                                                                    737 Harrison Street,
                                                                                                                                                                                                    San Francisco



1048   UBER00065533      3/14/2017   3:37 PM    Google Calendar [calendar-             Anthony Levandowski                                                                                          1455 Market Street,    Calendar File     Accepted calendar invite for 3/28/17 ATG Staff
                                                notification@google.com]                                                                                                                            San Francisco                            Meeting at 11:00am-12:00pm.

1049   UBER00012238      3/15/2017   7:40 PM    Rajiv Krishnarao                       Anthony Levandowski; Eric Meyhofer                                                                                                  E-Mail            Email regarding      LiDAR purchase in
                                                                                                                                                                                                                                             response to email from Anthony Levandowski.

1050   UBER00012249      3/15/2017   7:46 PM    Anthony Levandowski                    Eric Meyhofer; Rajiv Krishnarao                                                                                                     E-Mail            Email regarding        platform and lasers.




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       (as applicable)                                                                                                                                                                                               Communication

1051   UBER00065269      3/15/2017   8:13 PM   Anthony Levandowski                 Travis Kalanick                                                                                                                   E-Mail            Email regarding 2017 OKRs referencing
                                                                                                                                                                                                                                       objectives for         LiDAR build rates and
                                                                                                                                                                                                                                       prototype vehicles.



1052                     3/15/2017             Anthony Levandowski                 Chengjie Zhang; Lisa Weitekamp;                                                                              Butcher and The                        AV MAPS team dinner, including discussion
                                                                                   Michael Weiss-Malik; Travis Kalanick;                                                                        Rye,                                   regarding LiDAR development.
                                                                                   Bob Hansen; Jeffy Johns; Nikhil Murarka;                                                                     212 6th Street,
                                                                                   Hersh Mehta; Robert Zlot;                                                                                    Pittsburgh
                                                                                   Gordon Bailey; Dmytro Konobrytskyi

1053   UBER00087061      3/16/2017   11:11AM   Anthony Levandowski                 Max Levandowski                                                                                                                   Text Messages     Text messages with Anthony Levandowski
       UBER00087062                                                                                                                                                                                                                    regarding Fuji channels on personal cell phone.

1054   UBER00086519      3/16/2017   6:13 PM   Google Calendar [calendar-          Adam Kenvarg                                                                                                                      Calendar File     Declined calendar invite for 3/17/17 LiDAR
                                               notification@google.com]                                                                                                                                                                update meeting at 12:00-12:30pm.

1055   UBER00086520      3/16/2017   6:13 PM   Anthony Levandowski                 Adam Kenvarg; Anthony Levandowski                                                                                                 Calendar File     Calendar invite for 3/17/17 LiDAR update
                                                                                                                                                                                                                                       meeting at 12:00-12:30pm.


1056   UBER00098292      3/16/2017             Dan Gruver                                                                                                                                                            Meeting (notes)   Notes from 3/16/2017 Lidar TPM/Status
                                                                                                                                                                                                                                       meeting.



1057   UBER00087063      3/17/2017   3:50 PM   Anthony Levandowski                 Max Levandowski                                                                                                                   Text Messages     Text messages with Anthony Levandowski
       UBER00087064                                                                                                                                                                                                                    regarding Fuji channels and point cloud on
       UBER00087065                                                                                                                                                                                                                    personal cell phone.

1058   UBER00086513      3/17/2017   5:27 PM   Google Calendar [calendar-          Adam Kenvarg                                                                                                                      Calendar File     Declined calendar invite for 3/17/17 LiDAR
                                               notification@google.com]                                                                                                                                                                update meeting at 12:00-12:30pm.

1059   UBER00086514      3/17/2017   5:27 PM   Anthony Levandowski                 Adam Kenvarg; Anthony Levandowski                                                                                                 Calendar File     Calendar invite for 3/17/17 LiDAR update
                                                                                                                                                                                                                                       meeting at 12:00-12:30pm.


1060   UBER00012245      3/17/2017   5:55 PM   Jeff Miller                         Brian Zajac                                Ophir Samson; Anthony Levandowski                                                      E-Mail            Email regarding        LiDAR purchase and
                                                                                                                                                                                                                                       3/13/2017 meeting with Anthony Levandowski
1061   UBER00086538      3/20/2017   6:05 AM   Google Calendar [calendar-          David Stager                                                                                                                      Calendar File     Accepted calendar invite for 3/20/17 Fuji laser
                                               notification@google.com]                                                                                                                                                                presentation at 7:00-8:00pm.
1062   UBER00086541      3/20/2017   6:05 AM   Anthony Levandowski                 David Stager                               Anthony Levandowski                                                                    Calendar File     Calendar invite for 3/20/17 Fuji laser
                                                                                                                                                                                                                                       presentation at 7:00-8:00pm.



1063   UBER00086542      3/20/2017   6:05 AM   Google Calendar [calendar-          David Stager                                                                                                                      Calendar File     Accepted calendar invite for 3/20/17 dinner with
                                               notification@google.com]                                                                                                                                                                truck team, freight team, laser team, and PIT
                                                                                                                                                                                                                                       crew, including conversation related to LiDAR, at
                                                                                                                                                                                                                                       9:00-11:00pm.
1064   UBER00086546      3/20/2017   6:05 AM   Anthony Levandowski                 David Stager                               Anthony Levandowski                                                                    Calendar File     Calendar invite for 3/20/17 dinner with truck
                                                                                                                                                                                                                                       team, freight team, laser team, and PIT crew,
                                                                                                                                                                                                                                       including conversation related to LiDAR, at 9:00-
                                                                                                                                                                                                                                       11:00pm.
1065                     3/20/2017             Anthony Levandowski                                                                                                                              555 Market Street,   Meeting           Fuji LiDAR leadserhip presentation for autonomy
                                                                                                                                                                                                San Francisco                          teams, including responses by Anthony
                                                                                                                                                                                                                                       Levandowski to questions from other audience
                                                                                                                                                                                                                                       members.




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       (as applicable)                                                                                                                                                                                                   Communication

1066   UBER00087066      3/21/2017   8:42 AM    Anthony Levandowski                   Max Levandowski                                                                                                                    Text Messages     Text messages with Anthony Levandowski and
       UBER00087067                                                                                                                                                                                                                        photos related to LiDAR design on personal cell
       UBER00087068                                                                                                                                                                                                                        phone.
       UBER00087069
       UBER00087070
       UBER00087071
       UBER00087072

1067   UBER00087073      3/21/2017   12:48 PM   Anthony Levandowski                   Max Levandowski                                                                                                                    Text Messages     Text messages with Anthony Levandowski and
       UBER00087074                                                                                                                                                                                                                        photos related to LiDAR and point cloud on
       UBER00087075                                                                                                                                                                                                                        personal cell phone.
1068   UBER00087076      3/22/2017   4:51 PM    Anthony Levandowski                   Max Levandowski                                                                                                                    Text Messages     Text messages with Anthony Levandowski and
       UBER00087077                                                                                                                                                                                                                        photos related to LiDAR and point cloud on
       UBER00087078                                                                                                                                                                                                                        personal cell phone.




1069   UBER00065204      3/22/2017              Travis Kalanick                       Travis Kalanick; Jeff Miller; Paw                                        SFO | 1455 Market - 04th War Room   1455 Market Street,   Calendar File     Calendar invitation for 3/22/17 Birdhouse Jam
                                                                                      Andersen; Neil Stegall; Don Burnette ;                                   (12) (R)                            San Francisco                           meeting, including discussiong of LiDAR
                                                                                      Matt Williams; Jeremy Fine; Josh                                         [uber.com_373837383539312d313330                                            purchases and canonical routes, at 8:00-
                                                                                      Andrews; Matt Burton; Anthony                                            @resource.calendar.google.com]                                              10:00pm.
                                                                                      Levandowski; Eric Meyhofer; Rajiv
                                                                                      Krishnarao; Ophir Samson; Emil Michael;
                                                                                      David Richter; Noah Zych; Austin Geidt;
                                                                                      Betsy Masiello; Brian Cullinane


1070   UBER00098298      3/22/2017              Jeremy Fine                                                                                                                                                              Meeting (notes)   Notes from 3/22/17 Birdhouse Jam meeting,
                                                                                                                                                                                                                                           including discussiong of LiDAR purchases and
                                                                                                                                                                                                                                           canonical routes.

1071   UBER00086507      3/23/2017   7:38 PM    Google Calendar [calendar-            Adam Kenvarg                                                                                                                       Calendar File     Declined calendar invite for 3/24/17 LiDAR
                                                notification@google.com]                                                                                                                                                                   update meeting at 12:00-12:30pm.
1072   UBER00086508      3/23/2017   7:38 PM    Anthony Levandowski                   Adam Kenvarg; Anthony Levandowski                                                                                                  Calendar File     Calendar invite for 3/24/17 LiDAR update
                                                                                                                                                                                                                                           meeting at 12:00-12:30pm.




1073   UBER00087079      3/24/2017   10:30 AM   Anthony Levandowski                   Max Levandowski                                                                                                                    Text Messages     Text messages with Anthony Levandowski and
       UBER00087080                                                                                                                                                                                                                        photos related to LiDAR on personal cell phone.
       UBER00087081
       UBER00087082
       UBER00087083
       UBER00087084
       UBER00087085
       UBER00087086
       UBER00087087
       UBER00087088
       UBER00087089




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       (as applicable)                                                                                                                                                                                      Communication

1089   UBER00086512      4/3/2017    6:42 PM    Anthony Levandowski                   Adam Kenvarg; Anthony Levandowski                                                                                     Calendar File     Calendar invite for 4/21/17 LiDAR update
                                                                                                                                                                                                                              meeting at 12:00-12:30pm.



1090                     4/4/2017    3:37 PM    Anthony Levandowski                   Max Levandowski                                                                                                       Text Messages     Text messages with Anthony Levandowski and
       UBER00087095                                                                                                                                                                                                           photo related to LiDAR design on personal cell
       UBER00087096                                                                                                                                                                                                           phone.
       UBER00087097
1091   UBER00012235      4/5/2017    5:32 AM    Devdatta Gangal                       Travis Kalanick; Anthony Levandowski;   M Waleed Kadous; Matthew Prestopino;                                          E-Mail (meeting   Email with notes from 3/29/2017 and 4/3/2017
                                                                                      Cameron Poetzscher; Gus Fuldner;        Vasu Parameswaran; Ian Kleinfield;                                            notes)            meetings, including discussion by Anthony
                                                                                      Claire Delaunay                         Manik Gupta; John Bares; Sam                                                                    Levandowski of LiDAR-related technology.
                                                                                                                              Williams; Murari Srinivasan


1092   UBER00086605      4/5/2017    12:13 PM   Anthony Levandowski                                                                                                                                         Document          Document regarding ATG UberFreight overview
                                                                                                                                                                                                                              referencing development of LIDAR range-image
                                                                                                                                                                                                                              segmenter, LIDAR-based classifiers, sensor
                                                                                                                                                                                                                              testing, and multi-LIDAR localization.



1093   UBER00065569      4/6/2017    8:30 AM    Anthony Levandowski                   robot-direct-reports [robot-direct-     Travis Kalanick                        atg-internal@uber.com                  E-Mail            Email regarding weekly update, including LiDAR-
                                                                                      reports@uber.com]                                                                                                                       related and team updates.




1094   UBER00087098      4/6/2017    6:56 PM    Anthony Levandowski                   Max Levandowski                                                                                                       Text Messages     Text messages with Anthony Levandowski and
       UBER00087099                                                                                                                                                                                                           whiteboard photo related to LiDAR design on
       UBER00087100                                                                                                                                                                                                           personal cell phone.
       UBER00087101
       UBER00087102
       UBER00087103
       UBER00087104


1095   UBER00098306      4/6/2017               Anthony Levandowski                   Carl Wellington                                                                                                       One-on-one        One-on-one status converastion, including
                                                                                                                                                                                                            conversation      LiDAR technology updates.




1096   UBER00086599      4/7/2017    9:17 PM    Anthony Levandowski                                                                                                                                         Document          Document regarding 4/17 and 4/10 week
                                                                                                                                                                                                                              updates referencing                      LIDAR
                                                                                                                                                                                                                              test mules, Fuji prototypes, and cars with d
                                                                                                                                                                                                                                    LIDAR.

1097   UBER00086548      4/8/2017    1:31 AM    Google Calendar [calendar-            Dan Gruver                                                                                                            E-Mail            Declined calendar invite for 4/19/17 LiDAR
                                                notification@google.com]                                                                                                                                                      standup meeting at 2:00-2:30am.

1098   UBER00086526      4/10/2017   5:51 PM    Anthony Levandowski                   Dan Tascione                            Don Burnette; Chris Peplin; David                                             E-Mail            Email regarding LiDAR-related data on vehicles.
                                                                                                                              Stager; Owen Cheng; Paw Andersen

1099   UBER00012234      4/11/2017   2:34 AM    Anthony Levandowski                   Claire Delaunay                         James Haslim; Eric Meyhofer                                                   E-Mail            Email regarding        LIDAR.


1100   UBER00012233      4/11/2017   2:39 AM    Claire Delaunay                       Anthony Levandowski                     Eric Meyhofer; James Haslim                                                   E-Mail            Email regarding        LIDAR in response to
                                                                                                                                                                                                                              email from Anthony Levandowski.
1101   UBER00086505      4/11/2017   9:15 PM    Google Calendar [calendar-            Adam Kenvarg                                                                                                          E-Mail            Declined calendar invite for 4/14/17 LiDAR
                                                notification@google.com]                                                                                                                                                      update meeting at 12:00-12:30pm.
1102   UBER00086506      4/11/2017   9:15 PM    Anthony Levandowski                   Adam Kenvarg; Anthony Levandowski                                                                                     Calendar File     Calendar invite for 4/14/17 LiDAR update
                                                                                                                                                                                                                              meeting at 12:00-12:30pm.

1103   UBER00086515      4/11/2017   9:15 PM    Google Calendar [calendar-            Adam Kenvarg                                                                                                          E-Mail            Accepted calendar invite for 4/14/17 LiDAR
                                                notification@google.com]                                                                                                                                                      update meeting at 12:00-12:30pm.

1104   UBER00086516      4/11/2017   9:15 PM    Anthony Levandowski                   Adam Kenvarg; Anthony Levandowski                                                                                     Calendar File     Calendar invite for 4/14/17 LiDAR update
                                                                                                                                                                                                                              meeting at 12:00-12:30pm.




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       (as applicable)                                                                                                                                                                                               Communication

1105                     4/11/2017              Anthony Levandowski                                                                                                                                                  Meeting         Uber ATG presentation by Anthony
                                                                                                                                                                                                                                     Levandowski, including discussion related to
                                                                                                                                                                                                                                     LiDAR.

1106   UBER00065547      4/11/2017   9:30 PM    Anthony Levandowski                   David Richter; Jill Hazelbaker       Adam Whitfield; Don Burnette; Ray                                                         E-Mail          Email regarding Uber ATG presentation by
                                                                                                                           Roth; Suzy Sammons; Travis Kalanick                                                                       Anthony Levandowski, , including discussion
                                                                                                                                                                                                                                     related to LiDAR.

1107   UBER00086558      4/11/2017   11:13 PM   Google Calendar [calendar-            Dan Gruver                                                                                                                     E-Mail          Declined calendar invite for 4/18/17 LiDAR
                                                notification@google.com]                                                                                                                                                             standup meeting at 11:30am-12:00pm.


1108   UBER00012216      4/12/2017   3:01 AM    Anthony Levandowski                   atg-staff@uber.com                                                                                                             E-Mail          Email regarding visualization examples and
                                                                                                                                                                                                                                     4/12/2017 meeting with Anthony Levandowski
                                                                                                                                                                                                                                     and engineer regarding LiDAR intensity.

1109   UBER00012232      4/12/2017   4:12 AM    Paw Andersen                          Anthony Levandowski                                                                                                            E-Mail          Email regarding visualization examples and
                                                                                                                                                                                                                                     4/12/2017 meeting with Anthony Levandowski
                                                                                                                                                                                                                                     and engineer regarding LiDAR intensity.

1110   UBER00012231      4/12/2017   5:37 AM    Don Burnette                          Anthony Levandowski; atg-                                                                                                      E-Mail          Email regarding visualization examples and
                                                                                      staff@uber.com                                                                                                                                 4/12/2017 meeting with Anthony Levandowski
                                                                                                                                                                                                                                     and engineer regarding LiDAR intensity.

1111   UBER00012230      4/12/2017   9:36 AM    David Stager                          Don Burnette                         atg-staff@uber.com; Anthony                                                               E-Mail          Email regarding visualization examples and
                                                                                                                           Levandowski                                                                                               4/12/2017 meeting with Anthony Levandowski
                                                                                                                                                                                                                                     and engineer regarding LiDAR intensity.

1112   UBER00012229      4/12/2017   4:10 PM    Anthony Levandowski                   David Stager; Don Burnette           atg-staff@uber.com                                                                        E-Mail          Email regarding visualization examples and
                                                                                                                                                                                                                                     4/12/2017 meeting with Anthony Levandowski
                                                                                                                                                                                                                                     and engineer regarding LiDAR intensity.

1113                     4/12/2017   4:54 PM    Anthony Levandowski                   Peter Melick                                                                                                                   Text Message    Text message from Anthony Levandowski with
                                                                                                                                                                                                                                     screenshot of whiteboard notes related to LiDAR
                                                                                                                                                                                                                                     from 4/12/17 meeting.

1114   UBER00086578      4/12/2017   11:36 PM   Google Calendar [calendar-            Dan Gruver                                                                                                                     E-Mail          Declined calendar invite for 4/25/17 LiDAR
                                                notification@google.com]                                                                                                                                                             standup meeting at 11:30am-12:00pm.



1115                     4/12/2017              Anthony Levandowski                   Peter Melick; Eric Meyhofer                                                                                  50 33rd Street,   Meeting         Meeting regarding LiDAR simulation with
                                                                                                                                                                                                   Pittsburgh                        Anthony Levandowski participating via Zoom.


                                                                                                                                                                                                   Zoom
1116   UBER00012227      4/13/2017   4:30 AM    Brian Cullinane                       Anthony Levandowski; David Stager;   atg-staff@uber.com                                                                        E-Mail          Email regarding visualization examples and
                                                                                      Don Burnette                                                                                                                                   4/12/2017 meeting with Anthony Levandowski
                                                                                                                                                                                                                                     and engineer regarding LiDAR intensity.

1117   UBER00301544      4/13/2017   8 41 AM    Anthony Levandowski                   Don Burnette; Anthony Levandowski                                                                                              Text Messages   Text messages with Anthony Levandowski
       UBER00301545                                                                                                                                                                                                                  regarding LiDAR vendor.


1118                     4/13/2017   11:39 AM   Anthony Levandowski                   Peter Melick                                                                                                                   Text Messages   Text messages with Anthony Levandowski
                                                                                                                                                                                                                                     regarding introduction on laser sim and
                                                                                                                                                                                                                                     competition.


1119   UBER00012226      4/13/2017   12:55 PM   Eric Meyhofer                         Julie Viray; David Stager            Anthony Levandowski                                                                       E-Mail          Email regarding LiDAR SIM team and 4/13/17
                                                                                                                                                                                                                                     meeting with Anthony Levandowski, Eric
                                                                                                                                                                                                                                     Meyhofer, and Peter Melick regarding LiDAR
                                                                                                                                                                                                                                     SIM team work.

1120   UBER00012224      4/13/2017   2:59 PM    David Stager                          Eric Meyhofer; Paw Andersen          Julie Viray; Anthony Levandowski                                                          E-Mail          Email regarding LiDAR SIM team and 4/13/17
                                                                                                                                                                                                                                     meeting with Anthony Levandowski, Eric
                                                                                                                                                                                                                                     Meyhofer, and Peter Melick regarding LiDAR
                                                                                                                                                                                                                                     SIM team work.




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1121   UBER00012212      4/13/2017   6:40 PM    Anthony Levandowski                   David Stager                                 Eric Meyhofer; Paw Andersen; Julie                                                              E-Mail            Email regarding LiDAR SIM team and 4/13/17
                                                                                                                                   Viray; Brian Bailey                                                                                               meeting with Anthony Levandowski, Eric
                                                                                                                                                                                                                                                     Meyhofer, and Peter Melick regarding LiDAR
                                                                                                                                                                                                                                                     SIM team work.

1122   UBER00012210      4/13/2017   7:59 PM    Eric Meyhofer                         Anthony Levandowski                          David Stager; Paw Andersen; Julie                                                               E-Mail            Email regarding LiDAR SIM team and 4/13/17
                                                                                                                                   Viray; Brian Bailey                                                                                               meeting with Anthony Levandowski, Eric
                                                                                                                                                                                                                                                     Meyhofer, and Peter Melick regarding LiDAR
                                                                                                                                                                                                                                                     SIM team work.

1123   UBER00098292      4/13/2017              Dan Gruver                                                                                                                                                                         Meeting (notes)   Notes from 4/13/2017 Lidar TPM/Status
                                                                                                                                                                                                                                                     meeting.

1124   UBER00086501      4/14/2017   4:37 PM    Google Calendar [calendar-            Adam Kenvarg                                                                                                                                 E-Mail            Declined calendar invite for 4/28/17 LiDAR
                                                notification@google.com]                                                                                                                                                                             update meeting at 12:00-12:30pm.

1125   UBER00086502      4/14/2017   4:37 PM    Anthony Levandowski                   Adam Kenvarg; Anthony Levandowski                                                                                                            Calendar File     Calendar invite for 4/28/17 LiDAR update
                                                                                                                                                                                                                                                     meeting at 12:00-12:30pm.




1126   UBER00065205      4/18/2017              Travis Kalanick                       Travis Kalanick; David Richter; Rajiv                                             SFO | 1455 Market - 04th New York    1455 Market Street,   Calendar File     Calendar invitation for 4/18/17 Birdhouse Jam
                                                                                      Krishnarao; Jill Hazelbaker; Eric                                                 City (18) (R)                        San Francisco                           meeting at 9:30-10:30pm.
                                                                                      Meyhofer; Neil Stegall; Brian Cullinane;                                          [uber.com_2d33373634373637352d31
                                                                                      Josh Andrews; Betsy Masiello; Matt                                                3637@resource.calendar.google.com]
                                                                                      Burton; Noah Zych; Jeremy Fine; Emil
                                                                                      Michael; Matt Williams; Austin Geidt; Jeff
                                                                                      Miller; Don Burnette; Paw Andersen;
                                                                                      Anthony Levandowski

1127   UBER00086568      4/19/2017   10:24 PM   Google Calendar [calendar-            Dan Gruver                                                                                                                                   E-Mail            Declined calendar invite for weekly LiDAR
                                                notification@google.com]                                                                                                                                                                             standup meeting at 11:30am-12:00pm.


1128   UBER00076783      4/19/2017              Anthony Levandowski                   Eric Meyhofer                                                                                                                                Meeting (notes)   Notes from 1:1 meeting with Anthony
                                                                                                                                                                                                                                                     Levandowski, including discussion of GPU
                                                                                                                                                                                                                                                     module,                          .
1129   UBER00098292      4/20/2017              Dan Gruver                                                                                                                                                                         Meeting (notes)   Notes from 4/20/2017 Lidar TPM/Status
                                                                                                                                                                                                                                                     meeting.

1130   UBER00086525      4/23/2017   5:37 AM    Anthony Levandowski                   Scott Boehmke                                                                                                                                E-Mail            Email regarding              LiDAR.

1131   UBER00086535      4/23/2017   5:38 AM    Anthony Levandowski                   Prashant Chouta                                                                                                                              E-Mail            Email regarding              LiDAR.

1132   UBER00012220      4/23/2017   7:10 AM    Anthony Levandowski                   Prashant Chouta                                                                                                                              E-Mail            Email regarding              LiDAR.


1133   UBER00012222      4/23/2017   7:30 AM    Prashant Chouta                       Anthony Levandowski                                                                                                                          E-Mail            Email regarding              LiDAR in response
                                                                                                                                                                                                                                                     to email from Anthony Levandowski.


1134   UBER00076783      4/24/2017              Anthony Levandowski                   Eric Meyhofer                                                                                                                                Meeting (notes)   Notes from 1:1 meeting with Anthony
                                                                                                                                                                                                                                                     Levandowski, including discussion of SIM
                                                                                                                                                                                                                                                     transition.

1135   UBER00065577      4/25/2017   4:29 AM    Anthony Levandowski                   Anthony Levandowski                          Travis Kalanick                      atg-internal@uber.com                                      E-Mail            Email regarding 4/17 and 4/10 weekly updates,
                                                                                                                                                                                                                                                     Q1 retrospective, and Q2 OKRs referencing
                                                                                                                                                                                                                                                                          LIDAR test mules, Fuji
                                                                                                                                                                                                                                                     prototypes, and          LIDAR testing.

1136                     4/25/2017   9:06 AM    Anthony Levandowski                   Brian Zajac                                                                                                                                  Text Messages     Text messages with Anthony Levandowski
                                                                                                                                                                                                                                                     regarding LiDAR-related parts.

1137   UBER00086521      4/25/2017   6:53 PM    Google Calendar [calendar-            Alicia Poling                                                                                                                                E-Mail            Accepted calendar invite for 4/26/17 LiDAR sim
                                                notification@google.com]                                                                                                                                                                             planning meeting at 1:30-2:00pm.




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1138   UBER00086522      4/25/2017     6:53 PM   Anthony Levandowski                 Eric Meyhofer; Anthony Levandowski                                                                                                   Calendar File     Calendar invite for 4/26/17 LiDAR sim planning
                                                                                                                                                                                                                                            meeting at 1:30-2:00pm.

1139   UBER00086533      4/25/2017     6:53 PM   Google Calendar [calendar-          Eric Meyhofer                                                                                                                        E-Mail            Accepted calendar invite for 4/26/17 LiDAR sim
                                                 notification@google.com]                                                                                                                                                                   planning meeting at 1:30-2:00pm.

1140   UBER00086534      4/25/2017     6:53 PM   Anthony Levandowski                 Eric Meyhofer; Anthony Levandowski                                                                                                   Calendar File     Calendar invite for 4/26/17 LiDAR sim planning
                                                                                                                                                                                                                                            meeting at 1:30-2:00pm.



1141                     4/25/2017               Anthony Levandowski                 Carlos Vallespi                                                                                                Bar Marco,            Conversation      Conversation during Uber employee team dinner
                                                                                                                                                                                                    2216 Penn Ave                           with Anthony Levandowski, including discussion
                                                                                                                                                                                                    Pittsburgh                              of rain drops on LiDAR system.

1142   UBER00098292      4/25/2017               Dan Gruver                                                                                                                                                               Meeting (notes)   Notes from 4/25/2017 Lidar TPM/Status
                                                                                                                                                                                                                                            meeting.



1143   UBER00086598      4/26/2017               Eric Meyhofer                       Eric Meyhofer; Paw Andersen; Peter                                       uber.com_50495435303333726453743                            Calendar File     Calendar invite for 4/26/17 LiDAR sim planning
                                                                                     Melick; Brian Bailey; Anthony                                            26e64334f6c644861697270696e2d323                                              meeting at 10:30-11:00am.
                                                                                     Levandowski                                                              930393835@resource.calendar.google.
                                                                                                                                                              com

1144   UBER00086598      4/26/2017               Eric Meyhofer                       Eric Meyhofer; Paw Andersen; Peter                                       uber.com_50495435303333726453743 50 33rd Street             Calendar File     Calendar invitation for 4/26/17 Lidar Sim
                                                                                     Melick; Brian Bailey; Anthony                                            26e64334f6c644861697270696e2d323 Pittsburgh                                   Planning meeting at 5:30-6:00pm.
                                                                                     Levandowski                                                              930393835@resource.calendar.google.
                                                                                                                                                              com
1145   UBER00086547      4/27/2017     8:35 PM   Anthony Levandowski                 atg-internal@uber.com                                                                                                                E-Mail            Email regarding organizational changes related
                                                                                                                                                                                                                                            to LiDAR.
1146   UBER00086503      4/27/2017     8:40 PM   Google Calendar [calendar-          Adam Kenvarg                                                                                                                         E-Mail            Declined calendar invite for weekly LiDAR
                                                 notification@google.com]                                                                                                                                                                   update meeting at 12:00-12:30pm.
1147   UBER00086504      4/27/2017     8:40 PM   Anthony Levandowski                 Adam Kenvarg; Anthony Levandowski                                                                                                    Calendar File     Calendar invite regarding weekly LiDAR update
                                                                                                                                                                                                                                            at 12:00-12:30pm.



1148   UBER00069409      4/27/2017     9:25 PM   Eric Meyhofer                       Anthony Levandowski                    atg-internal@uber.com                                                                         E-Mail            Email regarding organizational changes related
                                                                                                                                                                                                                                            to LiDAR and 4/28/17 all-hands meeting with
                                                                                                                                                                                                                                            Anthony Levandowski in San Francisco.

1149                     4/28/2017                                                                                                                                                                  San Francisco         Meeting           All-hands meeting with Anthony Levandowski in
                                                                                                                                                                                                                                            San Francisco, including discussion of
                                                                                                                                                                                                                                            organizational changes related to LiDAR.
1150   UBER00076783      5/1/2017                Anthony Levandowski                 Eric Meyhofer                                                                                                                        Meeting (notes)   Notes from 1:1 meeting with Anthony
                                                                                                                                                                                                                                            Levandowski, including discussion of SIM team
                                                                                                                                                                                                                                            update.

1151                     5/12/2017               Anthony Levandowski                 Oleg Khainovski                                                                                                777 Harrison,         One-on-one        Conversation with Anthony Levandowski
                                                                                                                                                                                                    San Francisco         conversation      regarding no involvement in LiDAR.



1152                     February or             Anthony Levandowski                 Jeremy Fine; Adam Whitfield; and                                                                               1455 Market Street,   Conversations;    Conversations with Anthony Levandowski in
                         March 2017                                                  potentially others                                                                                             San Francisco         Phone Calls       person and on phone calls for slide related to
                                                                                                                                                                                                                                            LiDAR on presentation prepared for Travis
                                                                                                                                                                                                                                            Kalanick.

1153   UBER00098307      February or                                                                                                                                                                                      Document          Slide related to LiDAR on presentation prepared
                         March 2017                                                                                                                                                                                                         for Travis Kalanick.

1154                     March 2017              Anthony Levandowski                 Carl Wellington; James Haslim; Scott                                                                                                 Conversations     Conversations with Anthony Levandowski
                                                                                     Boehmke                                                                                                                                                regarding the Waymo litigation and LiDAR.

1155                     April 2017              Anthony Levandowski                 Wes Doonan                                                                                                                           Phone Call        Phone call with Anthony Levandowski regarding
                                                                                                                                                                                                                                            LiDAR units for testing.
1156   UBER00016400      Undated                 Anthony Levandowski                                                                                                                                                      Document          LiDAR sketch.




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1157   UBER00016401      Undated          Anthony Levandowski                                                                                                                                      Document            LiDAR sketch.


1158   UBER00016402      Undated          Anthony Levandowski                                                                                                                                      Document            LiDAR sketch.


1159   UBER00016404      Undated          Anthony Levandowski                                                                                                                                      Document            LiDAR whiteboard drawing.


1160   UBER00016405      Undated          Anthony Levandowski                                                                                                                                      Document            LiDAR whiteboard drawing.


1161   UBER00016407      Undated          Anthony Levandowski                                                                                                                                      Document            LiDAR whiteboard drawing.


1162   UBER00016406      Undated          Anthony Levandowski                                                                                                                                      Document            LiDAR sketch.


1163   UBER00016408      Undated          Anthony Levandowski                                                                                                                                      Document            LiDAR sketch.


1164   UBER00016403      Undated          Anthony Levandowski                                                                                                                                      Document            LiDAR sketch.


1165   UBER00076709      Undated          Dan Gruver                                                                                                                                               Document            Photonics West 2017 vendor list, including input
                                                                                                                                                                                                                       from Anthony Levandowski.




1166                     Undated          Anthony Levandowski                Travis Kalanick                                                                                                       One-on-one          Conversations with Anthony Levandowski where
                                                                                                                                                                                                   conversations       Anthony mentioned LiDAR, including one
                                                                                                                                                                                                                       tuturoial explanation of how LiDAR works and
                                                                                                                                                                                                                       other mentions of laser and laser data during
                                                                                                                                                                                                                       discussions related to perception.
1167                     Undated          Anthony Levandowski                Asheem Linaval                                                                                                        One-on-one          Conversations with Anthony Levandowski where
                                                                                                                                                                                                   conversations       Anthony mentioned LiDAR .


1168                     Undated          Anthony Levandowski                John Bares                                                                                                            Phone Calls         Phone calls from Anthony Levandowski where
                                                                                                                                                                                                                       Anthony mentioned LiDAR on personal cell
                                                                                                                                                                                                                       phone.
1169                     Undated          Anthony Levandowski                Dan Gruver                                                                                                            Phone Calls; Text   Phone calls and text messages from Anthony
                                                                                                                                                                                                   Messages            Levandowski where Anthony mentioned LiDAR
                                                                                                                                                                                                                       on personal cell phone.
1170                     Undated          Anthony Levandowski                Eric Meyhofer                                                                                                         Phone Calls         Phone calls from Anthony Levandowski where
                                                                                                                                                                                                                       Anthony mentioned LiDAR on personal cell
                                                                                                                                                                                                                       phone.


1171                     Undated          Anthony Levandowski                Nina Qi                                                                                                               Phone Calls; Text   May have had phone calls and/or text messages
                                                                                                                                                                                                   Messages            from Anthony Levandowski where Anthony
                                                                                                                                                                                                                       mentioned LiDAR on personal cell phone.


1172                     Undated          Anthony Levandowski                Cameron Poetzscher                                                                                                    Phone Calls; Text   May have had phone calls and/or text messages
                                                                                                                                                                                                   Messages            from Anthony Levandowski where Anthony
                                                                                                                                                                                                                       mentioned LiDAR on personal cell phone.



1173                     Undated          Anthony Levandowski                Jeff Holden                                                                                                           Phone Calls; Text   May have had phone calls and/or text messages
                                                                                                                                                                                                   Messages            from Anthony Levandowski where Anthony
                                                                                                                                                                                                                       mentioned LiDAR on prior personal cell phone.
                                                                                                                                                                                                                       Mr. Holden no longer has possession of that
                                                                                                                                                                                                                       prior personal cell phone.




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1174                              Undated                       Anthony Levandowski                   Lior Ron                                                                                                                              Phone Calls; Text    May have had phone calls and/or text messages
                                                                                                                                                                                                                                            Messages             from Anthony Levandowski where Anthony
                                                                                                                                                                                                                                                                 mentioned LiDAR on personal cell phone, in
                                                                                                                                                                                                                                                                 connection with setting of milestones for
                                                                                                                                                                                                                                                                 payment related to the transaction .

1175                              Undated                       Anthony Levandowski                   Colin Sebern                                                                                                                          Meetings             May have had meetings with Anthony
                                                                                                                                                                                                                                                                 Levandowski where Anthony mentioned LiDAR.
                                                                                                                                                                                                                                                                 No independent recollection of any specific
                                                                                                                                                                                                                                                                 meeting.

1176                              Undated                       Anthony Levandowski                   Mason Feldman                                                                                                                         Phone Calls          May have had phone calls from Anthony
                                                                                                                                                                                                                                                                 Levandowski where Anthony mentioned LiDAR
                                                                                                                                                                                                                                                                 on personal cell phone. No independent
1177                              Undated                       Anthony Levandowski                                                                                                                                                         Phone Calls          Phone calls from Anthony Levandowski where
                                                                                                                                                                                                                                                                 Anthony mentioned LiDAR on third party cell
                                                                                                                                                                                                                                                                 phone.
1178       RON0000754             Undated                       Lior Ron                                                                                                                                                                    Document             Document reflecting discussion with Anthony
                                                                                                                                                                                                                                                                 Levandowksi regarding LiDAR.


1179       RON0000795             Undated                       Lior Ron                                                                                                                                                                    Document             Document reflecting personal notes or
                                                                                                                                                                                                                                                                 discussion with Anthony Levandowksi regarding
                                                                                                                                                                                                                                                                 LiDAR.
1180       RON0006653             Undated                       Lior Ron                                                                                                                                                                    Document             Document reflecting discussion with Anthony
                                                                                                                                                                                                                                                                 Levandowksi or James Haslim regarding
                                                                                                                                                                                                                                                                 software and laser prototypes.
For entries that reference documents produced in this litigation, the "Date" and "Time" columns were populated using document metadata. Because documents were processed in Greenwich Mean Time or Pacific Time, and with custodians in different time zones, there may be date and time
discrepancies. Available date and time metadata has been produced with documents for further clarification.


Nothing in this communications log is an admission by Defendants of the relevance or admissibility of any information, for any purpose. Defendants reserve all objections as to competency, relevance, materiality, privilege, or admissibility related to the use of any information in this communications




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